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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CBB Acquisition Company, LLC

2.   All other names debtor
     used in the last 8 years
                                  DBA Builders Blinds
     Include any assumed          DBA Coverall Interiors
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7950 Belfort Pkwy., #1600
                                  Jacksonville, FL 32256
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Duval                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.buildersblinds.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor    CBB Acquisition Company, LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                           Chapter 7
                                           Chapter 9

     A debtor who is a “small              Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   CBB Acquisition Company, LLC                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    CBB Acquisition Company, LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 24, 2020
                                                  MM / DD / YYYY


                             X   /s/ Randolph M. Levinson                                                 Randolph M. Levinson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Richard R. Thames                                                     Date June 24, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard R. Thames
                                 Printed name

                                 Thames Markey & Heekin, PA
                                 Firm name

                                 50 North Laura Street
                                 Suite 1600
                                 Jacksonville, FL 32202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     904-358-4000                  Email address      abd@tmhlaw.net

                                 0718459 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                                  CBB Acquisition Company, LLC
                                         Balance Sheet
                                              as of 04/30/2020

                                                                         Apr 30, 20
ASSETS
       Current Assets
                Checking/Savings
                           Cash                                                       50,697.47
                Total Checking/Savings                                                50,697.47
                Accounts Receivable
                           Allowance for Bad Debt                                -142,558.25
                           Accounts Receivable                                  1,126,887.50
                Total Accounts Receivable                                         984,329.25
                Other Current Assets
                           Due from DCI Partners                                  317,221.95
                           Inventory                                              251,737.17
                           Prepaid Expenses                                           53,089.81
                Total Other Current Assets                                        622,048.93
       Total Current Assets                                                     1,657,075.65
       Fixed Assets
                Product Displays                                                      16,558.98
                Software                                                              17,119.23
                Vehicle                                                               23,094.64
                Capitalized Lease Vehicles                                      2,083,702.93
                Computers & Office Equipment                                      250,366.92
                Warehouse Equipment                                               258,135.13
                Leasehold Improvements                                            168,782.52
                Office Furniture                                                      57,257.99
                Accumulated Depreciation                                       -1,524,931.75
       Total Fixed Assets                                                       1,350,086.59
       Other Assets
                Acquisition Cost                                                      67,744.46
       Total Other Assets                                                             67,744.46
TOTAL ASSETS                                                                    3,074,906.70
LIABILITIES & EQUITY
       Liabilities
                Current Liabilities
                           Accounts Payable
                                   Accounts Payable                             2,559,636.32
                           Total Accounts Payable                               2,559,636.32
                           Other Current Liabilities
                                   Capitalized Lease Liability                    919,504.02
                                   Accrued Liabilities                          1,215,801.57
                                   Customer Deposits                                       4.21
                                   Sales Tax Payable                              189,111.25
                                   Line of Credit                               5,022,241.21
                           Total Other Current Liabilities                      7,346,662.26
                Total Current Liabilities                                       9,906,298.58
                Long Term Liabilities
                           Deferred rent liab., LT portion                            99,531.00
                           Due to Member-Sr Subordinate                         1,928,432.50
                           Due to Member-Subordinate                            3,355,234.79
                           PPP Loan                                               438,200.00
                Total Long Term Liabilities                                     5,821,398.29
       Total Liabilities                                                       15,727,696.87
       Equity
                Equity - CBB Acquistitions LLC                                   -300,096.00
                Equity Growth                                                   1,795,096.00
                Retained Earnings                                             -13,726,111.49
                Net Income                                                       -421,678.68
       Total Equity                                                           -12,652,790.17
TOTAL LIABILITIES & EQUITY                                                      3,074,906.70
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                              CBB Acquisition Company, LLC
                                 Profit & Loss Statement
                                                 Apr-20

                                                                              Apr 20

       Ordinary Income/Expense
                      Income
                               Builder Revenue                                         286,186.40
                               Multi-Family Revenue                                     85,001.50
                               Retail Revenue                                           14,696.39
                      Total Income                                                     385,884.29
                      Cost of Goods Sold
                               Builder Materials COGS                                  125,722.13
                               Multi-Family Materials COGS                              35,936.36
                               Retail Materials COGS                                     4,280.67
                               Other Installation Costs                                  2,157.42
                               Repairs                                                   2,857.30
                               Shipping                                                 18,906.94
                               Install Costs                                            48,742.93
                               Manufacturing & Production                               20,577.16
                      Total COGS                                                       259,180.91
              Gross Profit                                                             126,703.38
                      Expense
                               Payroll Expenses                                         75,301.03
                               Other Employee Expenses                                  22,605.89
                               Vehicle Expenses                                          9,376.30
                               Sales and Marketing                                       1,122.83
                               Travel                                                      953.03
                               Professional Costs                                       20,345.54
                               Rent                                                     35,354.84
                               Utilities                                                 8,134.15
                               Facility Costs                                           17,224.61
                               Corporate Expense - Management                                0.00
                      Total Expense                                                    190,418.22
       Net Ordinary Income                                                              -63,714.84
       Other Income/Expense
              Other Expense
                      Income Tax Expense                                                     0.00
                      Interest Due to Members                                                0.00
                      LOC Interest                                                      37,830.95
                      Interest Expense                                                       0.00
                      Depreciation Expense                                              13,334.00
                      Amortization Expense                                               3,300.00
              Total Other Expense                                                       54,464.95
       Net Other Income                                                                 -54,464.95
Net Income                                                                             -118,179.79
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                                       CBB Acquisition Company, LLC
                                           Cash Flow Statement
                                                            Apr-20

                                                                                                Apr 20

                OPERATING ACTIVITIES
                         Net Income                                                                      -118,179.79
                         Adjustments to reconcile Net Income
                         to net cash provided by operations:
                                 Accounts Receivable                                                      23,479.25
                                 Accounts Receivable:AR Square Up                                          3,886.41
                                 Due from DCI Partners                                                   -303,999.00
                                 Inventory:Container Inventory                                            49,818.71
                                 Inventory:Incompletes/ Reschedules                                        -2,800.00
                                 Inventory:Next Month Installs:Blinds                                     -29,983.86
                                 Inventory:Shutters:Raw Materials                                          1,976.68
                                 Inventory:Vertical Stock                                                 -10,618.09
                                 Prepaid Expenses:Prepaid Insurance                                        6,138.92
                                 Prepaid Expenses:Prepaid Misc                                             2,923.70
                                 Deposits                                                                 11,475.00
                                 Accounts Payable                                                         -71,118.64
                                 Accrued Liabilities                                                      -10,716.63
                                 Accrued Liabilities:Accrued Payroll                                       -2,135.89
                                 Customer Deposits:AR Square (Contra)                                      -3,710.24
                                 Sales Tax Payable                                                         7,727.83
                                 Line of Credit:Rosenthal ($1,000,000)                                    18,362.13
                Net cash provided by Operating Activities                                                -427,473.51
                INVESTING ACTIVITIES
                         Accumulated Depreciation                                                         13,334.00
                         Acquisition Cost:Accumulated Amortization                                         3,300.00
                Net cash provided by Investing Activities                                                 16,634.00
                FINANCING ACTIVITIES
                         PPP Loan                                                                        438,200.00
                Net cash provided by Financing Activities                                                438,200.00
        Net cash increase for period                                                                      27,360.49
        Cash at beginning of period                                                                       23,336.98
Cash at end of period                                                                                     50,697.47
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 ,"*        1065                                                 U.S. Return of Partnership lncome
 oepanmmtdtM TraGr.ry
 lnt&rul Rr€nqo S€wicc
                                                   For celendar yesr 20{8, or     tlx yelr beglnnldg
                                                                                                                                                                                                  2@18
 A       Prlncipal buslness activlly                     Nam€ of partnbrBhlp                                                                                                                               ldrntlllcrllon number
MPG TTOME'FURN]                                          DcI INVESfMENT PARTNERS tIJC                                                                                                             -8035979
 E       PrindpalproduclotseM'co                        .Nurnbsr. str€et. and r@m or sulte no, It a P.O. box' gee inlbuc,llons.                                                         E   Df,ta business startBd
                                          Type
                                            ol
                                                        15?58 ?HE               GREENS WAY
          UFACTU             G
                                           Prlnt
                                                        Clty orlolrrn                                                  Stafti                            ZtPcod€                            aL/26/2AO7
 c       Buglneg$ cod€ nurnber                          JACKSONVILLE                  BEACTI                           FL                                32250-                         F   ]ictal assets (see
                                                        Fol€lgn counw nsmc                         Forolgnprovirrce/rtatcrtounty FoGlgnpostrlcodc                                           lnstrucllona)

32 1900                                                                                                                                                                                               1              1


 G        Chec* applisable       boxes: (tl            lnitial   return   (2)         Final     return   (3)           Name             change    1cl   flnooors drange                     1st   I            nmenaed ietum
 H        Check accounUng         method: (1)          Cash               (21                            (3)           Other            (sp-eq'n       >. -- --_--_-_ -
 I        NumbErof      SchedulesKl.Athchonetoreacfipersonwhowas6partneratanytlm€duringlhetaxyear.                                                                 >.--,---_-
 J        Check if Scfiedutes C and M-3 are attached                                                                                                                                                                         '>Ll
Caution: lnclude only trada or business incorne and expenses on lines 1a through 22below. See lnstructions for more lnformation
              1a Gross       receipts    orsales.                                                                                       1a
                  b Retumsandallowances. . . . :                           .                                                                                                    iffi{i
                  c Balance. Subtract line 1b fiom line 1a .                                                                                                                     1c               L2, L7 9,989
  o
              '2    Gostof goods sold (attach Form 112$A)                                                                                                                         2                9,7r.3, 15C
  E           3     Gross proflt. Subtract line 2 fforn line,lc .                                                                                                                 3                2, 466, 839
  o
  tJ
  g
              4     Ordinary income (loss) trom oth.er partnerships, estates, and trusts (attach statement)                                                .                      4
              5     Netfarm profit(loss) (attach Schedule F (Form 1040)                                                                                                           6
              6     Net gain (loss) from Form 4797, Parl ll, line 17 (attach Form 4797)                                                                                           6
              ?     Other income (loss) (attach statement)                                                                                                                        v
                                                                                                                                                                                  8                   2, 466,835
              I     Salades and wages (otherthan to partners) (tess employment credits)                                             .                                             9                   L, 463, 932
     z      10      Guaranteed paymentrs to parlners                                                                                                                             {0
  11                                                                                                                                                                             ,t,l                            6,569
  st        1t      Repalre and malntenance
  g         12      Baddebts                      .i ..,           .                                                                                                             t2                            150,00c
  E         t3      Rent                                                                                                                                                         ,3                            526,7 13
  ,E
            14      Taxas and lisenses                                                                                                                                           ,t4                           422, 47'1
  g
  a         15  lnterest (see lnstructions)                                                                                                                                      t5
  .E
  g         l6a Depreciation (if required, attach Form 4562)
  o               b Less depreciatlon reported on Form 1125.A and elsewhere on relum                               .                                                            16c                            394,935
  o         17      Depletion (Do not deduct oll and gas depletion.)                             ..                                             ..r            ;
                                                                                                                                                                                 ,17

  o         18      Rolirement plans, etc.                                                                                                                                       18
  :'
 !t
            {9      Employee benelit programs                                                                                                                                    ts
  o         2A      Other deduc*ions (attacfr statement)                                                                                                                         2A                   L,       t72,941
 o          21      T6Cl deducdone. Add the amounts shown in lhe far riqht column for lines                                                  I thmush     20                     2rl                  4, 1-3?, 51:
                                                                                           21                  8                                                                 22               -L,670,           67   4

            23      lnterest due under the look-back method-completed long-term contracts (attach Form 8697)                                                                     23
  c.        24      lnterest due under the look-back method-income forecast method (attach Form 8866) .                                                                          24
  o
  E         25      BBAAAR imputed underpayment (see instructions) .                                                                                                             28
  G
  a.        26      Othertaxes(seeinstructions).                                                      ....i                     .                                                26
  E
  q         27      Total balance due. Add lines 23 through 27                    .                                                                                             27
  o         28      Payment (see lnstructions) .                                                                                                                                28
  xo        29      Amount owed. lf line 28 is smaller than line 27, enter amount owed                                    .                                                     29
  F         30      OvemavmenL lf llne 28 ie laroer than line 27. enler overoavment .                                                                                           30
                       Under p€nallies                             have               retum,                                                             to           my
                       knorrledgg and        it ls bue, cofiect, and oomplete. Declaration of preparer (other tftan parher or llmirbd llability company membea) is based on all
                       lnformailon oiwhlch.preparer has any knowledge.
Sign                                                                                                                                                                              May th€ IRS dlscuss lhls lctum with
Here                                                                                                                                                                              lho otsoaror itEkn b€ld? Ss6

                              X                                                                                                                v
                                                                                                                                             ) 'Date
                                                                                                                                                                                  rrsrruaionr.
                                                                                                                                                                                                      ffiv"" fl              no
                              Stgnature ol parlrner or llmfted liability company member
                                   prepare/t name                               Prepare/s signature
                                                                                                                                                                                Ch€d(                     if
Paid                    rRANK S TOI,FORD                                                   KS     TOTFORD                                                091A         /2                                         P004    4   91   1

Preparer                                                           ITT                                                                                                                            >'22-3677 427
Use Only                                      0                    DY BI,VD           SU          6                                                                                               904-      -304
                                                 LLE                                                                                            FL                              zlP               322L0-
For Paperwork Reduction Act Notice, see soparate instructlons,                                                                                                                                       rorm {065 (zora)
BCA
                                  Case 3:20-bk-01951                  Doc 1           Filed 06/24/20                  Page 9 of 158
Form 1065          DCI INVES'.1!,1!;NU vAK .tt\&!(b !!u
 Schedule B                                    n                                                                                                                 Yes      No
                                                     Check the                   box:
  1        What gpe of entity is ffling this return?
                                                                        b         Domestic limited PartnershiP
    a          Domestic general PartnershiP
                                                                        d         Domestic limited liitbility partnership
    c X        Domestic llmited liability company
                                                                        t          Other >
    e      Foreign PartnershiP
   2 At ihe end of the tax Year:                                  (including anY entitY treated as a partnership)' trust' or
    a Did anY foreign or domestic corporation, PartnershiP                                                            or more in the
                                                  govemment own, directlY or indirectlY' an inlerest of 50%
      tax-exemPt organization, or anY forelgn                                                                    lf "Yes," attach
                                                                                 ownership,  see  ,instruotions.
      profil loss, or caPital ofthe partnorshlP? For rules of constructive
                                                           50% or More of the      PartnershiP
      Schedule B-1 , lnformatisn on Partners Owning                                                                       caPltal of
                                     own, directly or indirec'tly,  an interest ol 5O% or more in the profit, loss, or
    b Did anY individual  or  estate
                                                                        instructions. lf Yes," attach   Schedule    B-1 I nformation
                                                                   see                                                  '
      the partnershlP? For rules of constructive ownershiP,
      on Partnors            50% or More of the
           At the end ofthe tax Year' did the PartnershiP:
   q
                                                           indirectlY, 50% or more of lhe total voting
                                                                                                       porler of all olasses of stock
       a   Own directlY 20% or more' or ownt direcllY or                                                   see instructions' lf Ye$,"
                                                                      For rules of construclive ownership,
           enlitled to vote of anY foreign or domestic corPorat.lon?
                                        below.
                                                                                                                          (ltl) counw of            (lv) Percanlage
                                                                                     (ll) Employer ldenlificailon
                                                                                                                           lncgtporation          Owned ln Votlng Stock
                             (l) Name of Corporation                                      Numb€t 0t any)
                                                                                                                                                                      0.0
                                                                                                                                                                          000
                                                                                                                                                                          .00
                                                                                                                                                                      n   000
                                                                                                                                                                      0.0
                                                                                                                       in the        loss,
       b    Own directlY an inlerest of 2oo/o or more' or
                                                           own, directly or indirectlY, an interest of 5Ao/o or more
                                                               (includlng an enlity   treated   as a partnershlp) or in  the boneficial
            or capital in anY foreign or domestic partnership                                                                   below
                     of a trust? For rules of constructive             see in struc,tisns. lf 'lYes
                                                                             (tl) EmploYer                (ill, Type ot        (ivl Coulllry of      Percentrago O,vned ln
                                                                             ldenlilication                  Entity             Orgnnlzalion                     or
                            tl) Name of Entlty
                                                                            Numb€r (if sny)
                                                                                                                                                                       0. 000
                                                                                                                                                                         ,000
                                                                                                                                                                       0.000
                                                                                                                                                                        .000
                                                                                                                                                                       0.000
                                                                                                                                                                 Yes       No
                                                                        conditions?
   4        Does lhe PartnershiP satisff all four of the following
                                                                    less than $250,000.
       a    The partnershiP's total receipts for the tax Year were
                                                   end  ofthe tax yearwere   less than $1 mlllion'
       b    The partnershiP's tolal assets  at the
                                                                     to the partners on or before the due dale (including extensions)
       c    Schedules K-1 are filed with the retum and furnished
            for the PartnershiP return-                                                                                                                                      X
       d                                   and is not required to file Schedule M-3 '
            the partnersnip is not filing-not                                                          F on page 1 of Form 1 065;
            lf "Yes,n the partnership is         required to complete Schedutes L' M-1 ' and M-2; ltem
                Item L on            K-1                                                                                                                                     x
       5    ls
                                                                     debt that was cancelled , was forgiven, or had the terms
       6    During the tax year. did the PartnershiP have any                                                                                                                x
                       so as to reduce the              amount of the debt?
                                                                    Form 8918, Material Advisor Disclosure Statement, to Provide
       7     Has this PartnershiP filed' or is it required to file,
             information on                   transaction?
                                                                                                                             over a financial
                                                           partnershlp have an interest ln or a signature or o$rer authority
       I    At any tlme during calendar year 2018' did the
                                                                  securitles sccount, oI other finandal  account)? See  instruc{lons  for
            account ln a foretgn country (such as a bank account,                                                      (FBAR),{f   "Yes'"
                                                                 114, RePort of Forelgn  Eank  and  Financial Accounts
            exceptions and filing requlrements for FInCEN Form
             enter the name of the                                                                          grantor of, or
                                                   partnershiP receive a distribution from , or was it the
       At any time during the tax Yea r, dld the
       9
                                                                                                  Annual   Return To Report
                                                                   maY have    to file Form 3520,
       transferor to, a foreign trust? lf 'Yes," the PartnershiP                                                                                                               x
                                     Trusts and           of Cerlain           n Gifts. See instructions
       Transactions With Forei
                                                          mad  e  (and not  revoked),   a section 754 election?
   10a ls the PartnershiP making' or had it PreviouslY
       See instructions for details regarding a section 754 election'                                            734(b)? lf 'Yes"'
    b Did the PartnershiP make for this tax year an and  optional basis adju stment under section 743(b) or                                                                    X
                                                              allocation of  the  basis      stment.  See instructions
       attach a ststement             the                                                                                                                        1065
                                                                                                                                                          rorm             1zota1
                                 Case 3:20-bk-01951                   Doc 1        Filed 06/24/20             Page 10 of 158
                                                                                                                              LW   WWJ-r   ' -
                          DCI    INVESTMENT          PARTNERS       l'LC
Fotm 1065
Schedule B                 Other lnformation                                                                                                       Yes      No

                                              the basis of PartnershiP assets under
                                                                                    section 743(b) or 734(b) because of a
   c    ls the Partnershlp required to adjust                                     basis reduction (as defined under section
        substantial built-in loss(as defined under section 7a3(d)) or substanlial                                   ee                                      x
                                                                                                 of lhe basis
                                                                                              property received    in a
                                                              the PartnershiP distributed any
 11 Check this box if, during the current or Prior tax year,
    llke-kind exchange or conlributed such ProPerS
    owned bY the PartnershiP throughoutthe
                                                        to another entitY (other than disregarded
                                                 tax Year) '
                                                                                                   entities whollY
                                                                                                                                           rn
                                                                                                              or other
                                       did the partnershiP  distribute to anY Partner a tenanclJn-common
 t2 At any time during the tax Year,                                                                                                                           X

                                                                     Return of U.S. Persons With RespedTo Foreign
 l3 lf the PartnershiP is required to file Form 8858, lnformatisn                               8858 attached' See
                                                  Branches (FBs), enter the number of Forms
     Disregarded Entlti es (FDEs) and Foreign                                                               0
                                                                              number  of Forms 8805'  Foreign   Partner's
 14 Does the partnershlP have any foreign partnera? tf 'Yes, " enter
                                                                          the
                                                                                                            0
                                      of             1
                                                                                          Foreign PartnershiPs'
                                                of U,S, Persons With Respect to Certain
  15    Enter the number of Forms 8865, Return
                 to    return.         )                                                      instructions .
                                                                                                                                                        X
                                                        require You to tile Form(s) 1099? See
 {6a    Did you make anY  PaYments in 2018 that would                                                                                                   x
                          will                 F
                                                                                             To Certain Foreign
                                                       Return of U.S. Persons With ResPect
  17    Enter the number of Form(s) 5471. lnformation
                     attacfred to this return.             0 )
  18           the                                                                                       it to fite Form 1042
                                                    partnershiP make anY payments that would requlre
  19     During the partnershlP's tax year, did the
                                     3
                                                                                                        See the lnstructions for
                                                           required to file Form 8938 for the tax Year?
  20     Wasthe partnerehiP a sPecified domestic entitY
                                                                                                                        v21
                                                                                  in
  21     ls                                                                                                            is
                          tax year,                      pay or accrue any interest or
  22
                                      tf
                                                         o
                                                          enter     total        of
               267A?                                                                                             or anY farming
                                                                163{) for anY real propertY trado or business
   23      the partnershiP have an etection under sec-tion                                                                                                     x
                                                                                              does not own a Pass-through
                                                 following condilions and the partnershiP
   24 Does the partnershiP satisfu one ofthe                                                           instructions
                                                            excoss business interest exPense? See
       entity with annent Yoar, or Prlor Year, carryover                 (determined  under  sectlon  448(cD   for the 3 tax Years
                                               annual gross receipts
     e The partnershiP's aggregate average                                                               shelter' or
                                                              million' and the PartnershiP is not a tax
       preceding the cunenl tax year do not exceed $25                                               trade  or business, (2) an
                                                        expense from ('t) an electing real ProPertY
     b The partnershiP onlY has business interest
                                                   utilltY businesses undefsection 1630X7)'
       olecting farming business' or (3) certain
                                                                                                                      See instructlons.
                                                   centratized        partnershiP audit regime under section 6221(b)?
   25       ls the PartnershiP electing out of ihe                                                  tolal from Schedule B-2' Part lll,
                                                                              Enter the
            lf
              nYe6," the              must complete Schedule B-2 (Form 1065).
                             PartnershiP
            line   3. >
                                                of
                                                in*truollons)
  DeslgnaUott of PartnorshlP RoPratentadvc {see                                          by this return'
                            for the         representativo (PR) for the tax year covered
                                           PartnershiP
  Enter below the lnformauon
                                                                                            U,S. l,axpayer
                                                                                            ldenuflcation
  Name of
                                                                                                       P       )
  PR                      RANDOI,PH M I,EVTNSON
                              24ABO HARBOUR VIEW DRIVE                                       U,S. phono
                                                                                                                   )
  U.S. addr€ss of PR
                              PONTE VEDRA BEACH FL 320                       2-
                                                                                             U.S. taxpayer
   tf ths PR is an                                                                           identiJication
   entity, name of                                                                           number of the
   the designated                                                                            designated
   iodivldual for
                                                                                             U.S. phone
                                                                                             number of
   U.S. address of
   designated
                                                                                             designated
                                                                                                               )
                      )                                                                                                                                            x
                                                     to certiff as a Qualified Opportunity Fund?
     26       ls the partnershiP attaching Form 8996
              lf                                                                                                                                 rorm   1065   (zota)
                                        Case 3:20-bk-01951                 Doc 1        Filed 06/24/20           Page 11 of 158
                                  rNVES              PARTNER
 1086                   DC
                                                                                                                                                       -1   ?0    7
                                                   (loss) (page I line 22)                                                                    2
                  {     Ordinary buslness
                                                      (loss) (altach Form 882s)
                  2     Net rental real esbate inome
                                                   (lqss)
                  3a    Other gro9s rental income
                                                               (attach staternent)
                   b    Expenses ftom other rental aelivities                        3a
                                                         Sublract line 3b from line                                                           4
                   c    Othor net rental income (loss).
                  4     Guaranteed payments
a
a
                                                                    j.,'

o                        nterest income
                                                                 a    Ordinary dividends '
J                 6     Dividends ahd dMdend equivalents:
                                                                  b Qualifled dlvideiids '
 I                                                                c Quallfied ditriderids '                                                   7
 o
 o
 G                7   RoYalties                                               (Form 1 085))
                                                                                                                                              I
                                              gain (loss) (attach Schedule D
                   8 Net short-term caPital                                  (Form 1 065))
                                             galn (loss) (attach Schedule D
                   9a Net long-term capital
                                                (loss)
                    b Colloctibles l28w gain
                                              1250  gain (attaoh statement)
                    c UnrecaPtured section
                                         galn  (oss)  (attach Form 4 757)
                  10 Net section 1231
                                     (loss)       instructions) Type
                  l1 Other
                                                               4562)
                  l2            179 deduction (attach Form
                  13a Contrlbutions '
                     b lnvestment interest exp€rce                                                                 .(2)   Amount   )      1
                                                           (r Type                                                                            {
                     c Section 59(eX2) expendituree:
                                                              Type
                     d Other deductions (see instructions)
                  1 4a Net earnings
                                     (loss) from                                                                                              1
                                                 lncome                                                                                                     466   I
+                    b Gross farming or fishing
?
ln
                                                    (soctlon
                      t5a Low-income housing credit
                                                    (other)
                        b Low-income housing credit              (rental real estate)         (attach Form 3468 if applicable)
     tl,
                        c Qualiffed rehabllitation expenditures instruclions)         Type
                                                                                                                                              1
     tt0,                        rental real estate credits (see
                        d Other                                                           Type
     o                                                                                                                                            5f
                             oth?r rental credits (see instructions)
                                                u.s, possession
                        b    Gioes ih'@me from all sout@s
      $                                                       level
      tr                6    Grosg income sourced at Partner
      o                                            sourced at partnershiP   level
                             Forelgn gross income                          a Foreign branc*r category>- -
      cr
      (ll                d   Sectlon
                                                                                                 -    h CIher iiti*iilfi.''iiiiF'
       at
                         f   Passlvecategry > -------
                                                                 s Generalcatogory>-- ----- --
       E                                                            at partner level
                             Deduclione allscated and apportloned
       IE
      t-                                                                           I Other
                         i   lnterestexPense >                         partnershiP  level'to foreign source lnclme
                                                       apportioned at                                   >
       EN
       o                     Deductions allocated and                            lForelgn branchcategory
        o                k       Seilion 951Acategory>-'------'                                              o Other (attedr stalemontf
                                                                       n   Generat categorF   ----
       t!                m       Passivecategory   > ---
                         p Total ioreign taxes .(check one):
                                                                            Faidfl      Accrued      u..
                                                                           (attach statement)
                         q Reduclibn in taxes
                                                                                                                                                  t               9 64
                                                  adJustment
                       17a Post-1986 depreciation
            r(
      -Ou,               b AdJusted gain or loss
     OF  tr                                               gas)
     EeE                  c Depletion (other than oil and
     fi 5s                d oit, 98S,and geothermal   propertles-gross income                                                                     1
                                                                                s
     EEg                  e oil, gas'          geothermal propertles-ded uction
     eEg                     I
            g           18a Ta:<'exemPt interesl income
             o             b Other tax-exomPt income                                                                                              1

             (6
             L
                           c Nondeductible exPenses                        securities
                        rg"
                        --   il'itiJi"u"ns of cash and marketable
             o
            g              b Distributions of other property
             q,
                        20a lnvestment income              '

                             b lnvestmenl expenses '
                                                                                                                                                             rorm 1      (201s)
             o               c             and
                                      Case 3:20-bk-01951               Doc 1             Filed 06/24/20                        Page 12 of 158

Form 1065 (201              DC                      T     PAR       TLC

                                                                                                subtract lhe dum                                 of
                                                    K, lines 1 through 11. Frorn the resull,
   I        Net lncome (loss). Combine Schedule                                                                                                                    1                  67              7

            Schedule K, llnes 12                                                                                                                          (Vt Ex€mpt                       (vi)
                                                             (ll) lndividual    (lli) lndividual     (iv) ParlnershiP
   2        AnalYsia bY               (t) CorPotate              (aotive)
                                                                                                                                                          Organlzation            NomlneelOther
            partngr !ype:
       a General        Partners
                                                                  -1      0 6'J
                                                                                                                                                                         of tax
                                                                                                                 tax
 Schedule L
                                        Assets                                                                                              3
   1  Cash
                                                                                     1               7
   2a Trade notes and accounts receivable                                                                                                   'l
    b Lese allowance for bad debts                                                                                         6
   3 lnventories
   4 U;S. govemment obllgations
   5 Tax:gxemptsecurities                                                                                                  2E!8lS
   6 Olher current aggets (attach statement)to partners)
   ir Uo"nt io partners (or persons related              '
    b Mortgsge and  realestAte  loans
   g Other investment$ (attach statement)                                             2         61
                                                                                                         ,|                                                2      1 37
       9a Buildih$s and other depreciable assets                                      1         51                     L,709."?:91                          1                                             A    5

        b Less accijmqJdted depreclation
   tOa       DePletable aesete
        b    Less accurnulAletl depletiorl
   11        Lqnd (net of arly amortization)
   f   2" tnuogiUt" assets"(amortizable only)                                                                              x29,.!-9i                                                          t02              0

        b Lesg acctlmr,riqted amorlization
       {3    Other assgts (atthch statement)                                                                                                                                                  593             55
       14 Totalassets             .               i r r   '
                           Liabillties and CaPital
       15        Accounts PaYable                                                                                      2
                                                                     1 year
       {6        MortgagEi, notes, bonds payable in lessthan                                                           3
       17        Ottre-r cunent ilauttities (attach statoment)
       {8        AllnoffAiourFe loans
                                                           to pariners) '
       l9a       Loans from pgrtl€B (or persons related
                               notes'  bonds   payable  ln 1 year or more '
         b       Mortgages,
       2A        Oiher llabilitles (attach statement)                                                                          t_
                                                                                                                                                                                      -6          1           256
                                                                                                                                                                                      -6          79          256
       21        Parlnersi' caPital accounts                                                                                            I
                                                                                                                                                 por Retu.rn
       s chedule M'1                  Reconciliation of lncome (Loss ) per                                    M-3. See
                                                                 be                 file
                                      Note: The                                                                                                 lncluded
                                                                               67         6'1    6       lncome teooided on booke.lhis'Year nol
        1            lncome'(loss) per books                                                             on Schedule K llnes through
                                                                                                                                          (itemiee):
                                                       1, 2, 3c,
        2        lncome lncluded on Schedule K, lines
                                                         on                                          a    Tax-exemptlnterast $ -----------.----
                 6,0a.7, 8,0a,'10, and  11, not recorded
                  books this Year (ltemLe)                                                               'bil;AlA;;mduoeo on schedule K' llnes 1
                                                                                                 ?
         3        Guaranteed PaYments (other than health
                  insurance)
                                                      year nol
         C        fxpenses,recorded on books this                                                    a
                           on Schedule   K, lines 1 through
                  tnCtuOeU
                                                                                                                                    "'--;r--
                   13d, and 16P (itemize):                                                           I    Aoo tines g and 7
                                                                                                     I    lncome (loss) (AnalYsis of Net lncome                                                               674
                                                    $                                                                                                                     5                       .67 0
            b
                             1
                                                                          -L    ?0 67

       Sched ule M                                                                          I        6        Dislributions: a Cash
                                                                               L2'O
            I Balance,at beginning of Year                                                                                   b FroPertY
            2 CaPllalcontributed: a Cash                                                             7        Other decreases'(itemize)               :
                                              b   ProPertY
                                                                          -1   61          67
            3     Net income (loss) Per books                                                        I        Add lines 6 and 7
            4     Other increases (temize):                                                                                          of                                           5        -6         ?91 25
                              1           4                               -6   7           25
                                                                                                                                                                                      Form                (201 8)
             5
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                                Worksheet for States Not Gonformin                                                   to
                                                                                                                                            2A1
US                       Bonus De     tion or lncreas ed Section                                                             HN:20-8035 'r9
            DCI     INVESTM                              ERS
    Name:

                                          Foraccuracy,youMUSTusedeproclauonworksheetsforalldepreclableass€ts'
                                                                                                 gubtrecllons''
                                                                                            amounts are stiite
                                           Posttlve amounts are stats additlong' lilegative
                                                                                                                                            48 B9
                       adJus8nont' Federal               minus state deprbclatlon
A{
                                                              statb Eectlon 179
A2       Sectlon' lX9 adllstmenl Federal  seotion 179 mlnus                                                                                  I
A        Total depr€clatlon adlustment
                            gtate sale mlnus Federal aate' lngtallment sale
B        5ale3 adrustnent.
                                                year ol sale
         adlusUnenb are lncluded in lull ln the                                                                                         1         899


                                      of the Bonus Depreciation
States Adding BackAll or a Percentage
                                                   tax return from Form 4662 and Kls
     t   Speclal dePreclatlon deducted on the 2013
                                          the 2014 tax ratum from Form 4562 and Kls
     2   SP€clal dePreclation deducted on
                                              2015 tax ietum from Form'4592 and Kls
     3   Epeclal depreciation deducted on the
                                                   tax roturn from Form 4562 and K'!s
     4   Speqlal depreclation deductsd onthe 20:19
         $peclal depreclaUon deducted on the 2017
                                                    bxreturn from Form 4562 and Kls
     5                                                                  1562
                                              2018


StatesAddingBackAlloraPercentageoftheAdditionalsectionlTgDeduction
     I rsectlon 179 electfon on tho 2013 tax retum
     2 $ectlon 179 electlon on the 2014 tax return
     3 Sectlon 179 elecfon on the 2015 tax retum
     4 Sectlon 178 election on the 20{ 6 tax return                                                                                         14 944
     6 Sectlon 179 election on tho 2017 tax r8tum
     6                                         201




                                                                                                                                                 us179P$1
@ 2016 Univonal T8x S!€tomr, lnc' and/ot ls
                                            afiiliatas   sit   licensors' Al rights Fssr'r€d'
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us      '1065                                          lnfo                             an 20{        I                   Tax                                     8

                                                                                                                                                   20-8   39'19
           DCI   1         TMENT PARTNERS                                                                                         Fourlh quarter
                                                                                                Second quartor    Thlrd quarter
                                         Overpayment                      First quarter                                                 t
                     State retum                                                                                     t5           L2/        0
                                                                                                a6/              a'9 /    2
                      ls                          20                   04

Federal              Not

Abbama
Alaska
Arizona,
Arltansas
Califomia
Golorado
Connqcticut
Delaware
DC
Florlda
Georgia
Hawall
ldaho
lllinots
lndiana
 lowa
 Kansas
 f.entucfY
 Loulelana
 Malne
 Maryland
 Massachwe0s
 Mictilgan
 Minnesota
 Mlssis$iPPl
 Missouri
 Montbna
 Nebraaka
 NwHamPstrlo
 New JerseY
 New Mexico
  NewYork
  North Carqlina
  North Dakota
  Ohlo
  Oklahoma
  Oregon
  Pennsylvania
  Rhode lsland
  Souih Carollna
  Tennesseg
   taxas
  Ut{ih
  Vermont
  Virgirtia
  Wesl Vlrginia




                                                                                                                                                              USPSTINF
                                     md'o'   its dlisetoE and liccoso'E' All lights   ro$rusd
 @2017 tlnivsrsslTtx Systems, lnc'
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                                                                                                                                                2A48
U s 1065
                                                                                   Other Dedu ctions
                                                                                                                                        -B 03
                     INVES TMENT P                                      LLC
Name
Type:
 Accounting
 Advertising
 Amortizatlon
                                                                                                                                                151 123
 Answerlng servlce            '
 Autoand truckexPonses                 .''                                                                                                          ?05
 Bank charges
 Comm'ssions
 ComPuterexPense                  '                '
 Deltvery and freight             .

  Dues and subscriptions
  Promotlon
  Gifls.     .

  lnsurance
  Janitorial
  Laundry and cleaning
  Legal and Professional fees                  '

  Licenses and Permits
                                                                             at 50%
  Meals:
                                                                             al 7O% " DOT hours of service
                                                                             at 100o/o - See insiluctions '                                     638 ?95
                                                                                                                                                     631
  Miscellaneous
  Ofiic6 exPense
   Outside servico        ,



   Farking fees and tolls             ''   '
     Postage
     Pdntlng
     Saler exPense
                     '!                                                                                                                              636
     SecuritY:
     Supplles,.
     Tolsphone
     Temporaryh€lP.-.'"
     Tools   .

     Trade ghow exp€nse :
                                                                                                                                                     054
     Tralning and seminare             '

     Travel      .
                                                                                                                                                 131 86-l
     Uniforms
                                                                                                                                                       178
     Utilities.
     EMPLOYE E EXP ENSES




                                                                                                                                                  172 94't




                                                                                                                                                  USWPA$$1

                                      lrE arid'ot lts afiillat€3   and lkcnsofg' An righls r6€rv€d-
 O   2016 Univereel Tax Systsms'
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SCHEDULE 8.1                                    lnformation on Partners Owning 50% or                                                              OMB No, 1545-0123
(Form 1065)                                             More of the   PartnershiP
(R€v. Soplotnbst   20ln                                           to Form 1065.
                                                                   Atlactr
D.psdtnanl                                                                           lhe
lil{ml                                                                                                                               identlfl cation number (ElN)
Namo of PailnefshlP                                                                                                      0-803s 79
DCI                         T                          c
                                                                   (Form 1065, Schedule B' Question 3a)
Jffif               Entitles owning 5o% or More of the Partnership
                                                                                                   (including any entitY troated as e
                                                     foreign or domostlc corPoration, partnershiP
Complete colu mns (i) through (v) below fior anY                                                or  indirectlS an interest of,50% or more tn
                                                         foreign government that owns' dkeclly
partnershiP), trust, tax-exemPt organization, or anY
                                                 (sEe lnstructions).
the profit, loss, or caPital of the partn'etship                                                                                (v)
                                                                                                                              (iv)                   Parcenlage Ovrne{
                                                               0i) Employer
                                                           Identlflcatlon Number     (iii) Type or EndtY           Counry of Organlzatbn              in Profit. Lo88,.or
                          0) Namo ot Entity                                                                                                                Capltal
                                                                    (lf any)


                                                                                                                  US                                                60. L70
              GROUP LtC
                                                                                                                                                                     0.000

                                                                                                                                                                     0. 00

                                                                                                                                                                     0.000

                                                                                                                                                                     0.000

                                                                                                                                                                     0       0


                                                                                                                                                                     0.000


 E[                  lndividuals or Estates Owning 5A% or More of the
                                                                      Partnership (Form 1065, Schedule B' Question

                                                       individual or estate that owns, directly or indirectly,
                                                                                                                   3b)

                                                                                                               an inlerest ol 80% or more
  Gomplete columns (i) through (iv) below tor anY
                                         partnershiP (see instructione).
  ln the.profit, loss, or caPital ol the
                                                                                                                                                                            ln
                                                            (E) ldentilylng Number         (iii) Cquntty ol Cltlzanship (s€e lnstrucllon6)
                    .0) Name of lndlvldual or Estate               0f any)                                                                                 dr Capital


                                                                                                                                                                        0.000

                                                                                                                                                                        0.000

                                                                                                                                                                        0.00

                                                                                                                                                                        0.00

                                                                                                                                                                        0.0      0


                                                                                                                                                                         0.0     0


                                                                                                                                                                         0.000
                                                                                                                                     Schedule B-1 (Form 1065) (Rov.9'20171
   For Paperwork Reductlon Act Notiee, see the
                                               lnstructlons for Form 1065.
   BCA
                                            Case 3:20-bk-01951                                 Doc 1             Filed 06/24/20                                Page 17 of 158
                                                                                                                                                                                                                b5l'I.t         A
                                                                                                                                                                                                           oMB No. 15454123
                                                                                                                          [-l           rno r-t                   f]     nmended K'l

                                                                                                                               Part lll
Schedule K-l                                                                         2@18
(Form 1065)                                                                                                           1            Ordinary busines$ lnoom6 (loss)
                                                                                                                                                                                t5        Credlts
Department of ho TreasurY
                                                                        For calgldar yeat 2018, or
                                                                                                                                                               -208 834
lntemal Revcnuo SErvlcs
                                                                                                                      2                  renlal real estdte incomc! (loes)
           beginnlng              7/0             2   019              endlrig


Partner's Share of Income, Deductions,                                                                                3            Other n€t rentsl income (loss)
                                                                                                                                                                                {6        Fordlgn tratsactions

Gredits, etc.       > Seo btck of form and s€parate lnstructlons'
                                                                                                                      4            Guaranteed PaYtnents
      Part     I
  A                          employer ldentifEafon numbor
                                                                                                                      5            lnteresl lncome
            20 -8035979
                                                      andZlP code
  B         Plrtrl€rship's nsme, sddre6s, city, sbte,                                                                              Ordinaty dividerdg
                                                                                                                      64.
            DCI INVES?MENI                             PARTN.ERS I,LC

                                                                                                                      6b           Qualifod dhidends
            1.5258 TI{E GREENS WAY
                           ONVILLE BEACH FL 32 50-                                                                        6c                      equtualenh
   c        IRS Centgr rrrhere psrlnBrghlp nbd relum
                       n
                                                                                                                          7
   D                CtBck if this    16   a prblicly tmded patuetshlp (PTP)
                                                                                                                                                                                 t7       Altsmetivg mHtnum t.)( (AMT'J it€mr
                                                                                                                          I            Net short-tem capltal gain (loss)
      Part ll                                                                                                                                                                                                               -'151
   E         Perln./s ld€ntiMno number                                                                                    ga                 long-tenri capltal galn (lo6s)

                                                     ZIP code
             Parlne/s name. ddt€ss, city' Btate. and
   F                                                                                                                      gb           Colleo$bles e8%) galn (los!)
             SAI,VATORE ZIZ%A
                                                                                                                                                                                 l8        Ta(-cxemPt lncome and
                                                                                                                          9c           Unracaptuted s€c'uon 1250 Oaln
             641 I,EXINGTON AVE 17TH rL                                                                                                                                                    nonded uc{lble expensos

             NEW           ORK      N        10
                                                                                                                                                     1231 gain tloss)
                                                                                                                                       Net
                                                                                 Umiled partneror othet LLC
   G                Genoral Pattn€r or LLC
                                                                                 member
                    member{anagef
                                                                                                                                       othef lncomo (oss)
    x El            Domesllcparlner                                      l--l    roraign partnar


      t{     What    tyF    of   enw    ls this   Parfien              Indi        duaL                                                                                          19         Obtlbutions
             lf thl$ parher ls 8 tetitement plafl
                                                  (lM'SEP'Keoshlelc')' check here
      a
                                                        (see instruclions):
      J      Paftne/s shara of proflt loss' and cepital
                                   Baglnnlng                                             Endlng
                                                                                                         3.8              '12                     179   dedudhn
                                                              3.85                                                                                                                   2A     Other information
                                                          1
                                                                                                     1         00
                                                          L2.50                                          2.5     0        13            Oth6r deductlons



       K      Psrfie/s sharo       of liabllities;
                                                                                            Ending
                                                      Beglnnlng
                                                              69        74                          696    7     3

              Ckaliff€d nonrecorfso                                                                                                                          eamiogs 0oss)
                                                                                                                              14

                                                              300 83                                300        35

       L      Partnefs capital account analysis:
              Beginnhg capital account .                                 c                         -593, 663
              Capitat conbibuled dufhg the Year                          $

              Curentyear lncrease (decrea€e)                  '          $                         -208, 834
              Whdrawals & distribulions '
                                                                         $                         -9a2,       49'7                c
               Ending capital account.                                                                                         o
                                                                                                                                   o
                                                                                                                                   o
              f*-l     rax uasts            x         GAAP        f]    Sectlon 704(b) book                                     :)
                                                                                                                                a
              l-l      o,n", (*p,t,n)                                                                                           E
                                                                                                                                   o
               Oid ihe Parlner contrtbuta propetly
                                                   with a buili{n gatn or loss?                                                 LL

              f-l      v""                 E"o
                                 " gttach $latement (see                                                                                                                                            Schedule   K'l   (Form 1065) 2018
                                           lnstructlons fol Form 1066'                                          www.lts.gov/Fom1065
   For Paporwork Reductlon Act Nolice, see
   acA
                                   Case 3:20-bk-01951                            Doc 1         Filed 06/24/20                 Page 18 of 158
                                                                                                         nt                                                 2418
  us           1065                                                              K-l Attach
                            TORE ZI ZA
                                                                                                                                3.851 o/o             lD:
                   sAr
10a Unrecaptured sec'tion 1250 gain for lines 10 and
11 a Other portfolio lncome (loss)
      b    lnvoluntaryconversions                                                              " " " .' " "'
        (1) Form 4684 at28% rate . ' ' '
      c '1256 contracts and straddles
      d Mining exploration co8ts recapture
      e Cancollation of       debt.
      f    Other lncome (loss) .      .

           (1) Type and amount
                                      other
12a Section 179 doduclion for ordinary income or loss ' ' ' ' ' ' '
                                                        or loss
  b Section 179 deduction for renlal real estate income
'13        Other deductions
                                                                                                n Educational asslstance benefits - '     .



      a Cash contributions -       50o/o
                                                                                                o Dependent care beneftls
      b Cash contributions - 30%
                                                                                                p Preproductive period expenses . . .             ,




      c Noncash contributions -50o/o . . . . . . . .
                                                                                                q Commerclal revhalization deduction
                                                                                                    from rental real estato
      d Noncash contributlons- 30%' .' -. . . .
      e Cap. gain property to a 50% org. - 30%
                                                                                                r   Pensions and lRAs

      f Capttal gain Property '20To .         .                                                 s   Reforestalion expense deduction   '       '

      g Contrlbutions - 100%.
                                                                                                t   Roserved

      h lnvestment interestexpense. . - . .'            ..                                      u   Reserved

       iDeductions - royalty income .
                                                                                                v   Reserved
      t Sedion 59(eX2) exPondltures
      k Deduc{ions - portfolio - 2% lloor. . . . .,
                                                                                                w   Penalty on earlY
                                                                                                    withdrawal of eavings . .
      I Oeductions- pottfolio- other. . . .' . ..
                                                                                                    (1) Form 4884, line 32 '
      m
                                                                                                        O0ter.

14    a        Net earnings (loss) from self-employment
      b        Grossfarming orfishing hcome. .        .''''
      c
 15            Credits and credit recePture
      a Lowjncome housing credit's€G'tlon 42(iX5), Form 85BO - pre-2008 bulldings ' ' '
      b Low-incomo housing c(edit - other, Form 8586 - pra'2008 buildings
      c Low-lncome housing credlt - section 420(5)), Form 8586'post-2007 buildings ' '
      d Low-incomo houslng cr€dit - othor. Form 8588'post'2007 buildings
      e Qualifiedrehabiliiationexp€ndltuos-rental real estate ' ' ' ' ' ' '
      f Other rental real estate credits .
      g Other rental credlts
      h Undistrlbuted capital gains credit
      I Alcohol and cellulosic blofuel fuels crodit ' .
      J Work opportuni$ credit . .
      k Disabled access credit
      t Empowermenl zone and renewal communlty employment credit
                                                                                             lf Checked, credit is from an eligible small buslness:
       m       Credit for increasing research ectlvitl€g
           n   Credil for employer soclal security and Medicare taxes '            ''''''
           o   Backupwithholding.
           p   Olher credits - see.lnformation below
                                                                  partnership '
               Form 3468, line 11m, credit from an electing large
               Form 3468, lines 9 and t3. credit  from
                                                                                                     Form BSB1   .
               RESERVED
                                                                                                     Fotm BB82   .
               Form 8820
                                                                                                     RESERVED
               RESERVED
                                                                                                     Form 8908.
               RESERVED
                                                                                                     Form 8910.
                Form 8835
                                                                                                     Form 8938.
                Form 8845
                                                                                                     Form 8941    .
                Form 8874
                                                                                                                                                             us1065K2
                                                                      All tlghlr rssgrved'
  @ 2018 Univetssl Tax Syllcms, lnc. a;dro( ks effiliats and llccnws.
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u$ 1065                       201   I                                                          K-l Attachment                             P     e2
                  SATVATORE ZTZZA
                                                                                                                         3.851 %    tD:

16a              Nameof forelgn country orU.S. possession...                     '                       'i".' "'
         b       Gross income from all sources
         c       Grosg income sourced at partner level
                 Foreign gross income sourced at partnership level
         d       Section 95lAcategory
         0       Foreign branch category
         t       Passive category
         s       General category
         h       Other.   .                                                                           " """ "       '
                 Deductions allocated and apportioned at partner lovel
         I       lnterest exp€nse
aA.
5r
o
                 Othor.   .

                 Dedudions allocated and apportioned at partnership level to foreign soure lncome
'Sk
E                Section 951A category
Er               Foreign brandt category
$m               Passive category
8n
o                General c€tegory
ll-      o       Other.   .

                 Other information
         p       Total foreign taxes Paid
         q       Total foreign arcrued
         r       Reduction in taxes available for credit
         a       Foreign hading gross receiPts
         t       Extratenitorisl income exclusion . .' .
         u       Section 951A(cXlXA) tested income
                 Tested for€ign incoma tax
         ril     Sedion 965 information
         x
                                                                                                                                                -7 57
17       a       Post-1986 depreclation adjustrnent'
                                                                                                                                                -1   5'1
o                Ordinary income.
E
E'
                 Rental .
F        b       Adjusted galn or loss
=                Ordinary income
xIB              Rental
E
5
         c       Depl€tion othor than oil and gas
.q       d       Oll, gas, and geothermal properties - gross income
c        e       Oll, gas, and geothermal properties - deductions
E
         fotherAMTltems.Pr6-lgSTdepreciationadjustmentincludedinlinelTf
                 Ordinary incorne.
                 Rental   .



'18              Tax-exempt lnterest income and nondeductible expensss
   a             Tax-exempt interest income .
   b             Other tax€xempt interest income .
                 N
    1S       a   Dlsttibutlons of cash and marketable securities
             b   Dlstdbution subject to section 737
                              of
    20a          lnveslment income       .


             b   lnvestrnent expen6es
             c   Fuel tax cr€dit information . . .     .
c
gd               Quaiilied rehabilitation expensos, other than rental real estate . .
    CO

fe
g.
                 Basis of energY PropertY
cr               Recapture of low-income housing credit, section a2{X5) applies
                 Recapture of low-income housing credit - other
Es
6h               Recepture of inv€stmenl credit            '   .


             I   Recapture of othet credits .
                               intoresl -
                                                                                                                                              usl 06sK3
O   2018 UniversalTil Syst€ms. lnc. andltr its efiillates end      llensffi Allrighb   roserved'
                                      Case 3:20-bk-01951                             Doc 1    Filed 06/24/20   Page 20 of 158


       us 1065 (2018)                                                                       K-l Attachment                          Paqe 4
              SAIVATORE ZIZZA                                                                                    3.851 %    tD:


        Compute partne/s interut?                                                                        ffiv"r [*o               Amount


   A    869lnnlng balancE
   B    Partnefs contrlbutlons
   c    lncrdase ln shars of partnership ltabillties . . .            .

   D    Oidinary income.
   E    Separately staled incomo
   F    Sublotal
   G    Distrlbutions
   H    Decrease in share of partnership liabllities . .             ,

   I    Oiilinaryloss...                                                                                                            20I 834
   J    Soparately staled losses and deduclions . . . .                   .



   K    Nondaduc{lble exponses
   L    Otheradjubtments..            ..
   M              balance




@ 2Ol8 Unive6al   Tax Systems.   hc   andror llr sdinstss rnd lbenso8- AI dghtr r€s€rusd.                                             us'1065K5
                                          Case 3:20-bk-01951                                   Doc 1          Filed 06/24/20                            Page 21 of 158
                                                                                                                                                                                                      Ctt   JJ{e

                                                                                                                                   Final K-l              l-l    nmendEo   lct                     OMB No. 13454123


Schedule l(-1
(Form 1065|
                                                                                2@18                                                                                   l5        Credt3
                                                                                                                  1             Ordlnaty business lnoome (loss)
Depatgnent of th€ Treanury
                                                                    For:calerdar year 2018' or taxysar
lntemsl Revonue Serylce
                                                                                                 20               2             Netrenta! €al estate lnco{rts (loss)
           beginnlng                     1               8          sndkn

Partner's Share of lncome, Deductions'                                                                            3             olher net r6nhl ItEoiTs 0oss)
                                                                                                                                                                       rl6       'For€lgn tansacllons

CfgditS, etc.       ) Seebrckofformandssprrets                                                  lnstruotlons.

                                                                                                                  4              Guaanteed paytl€nt8
      Part       I
  A         Partnershlp's e{nPhyer idenlifcatlon number
                                                                                                                  6              lnt6rest.lncome
                     -80359?
  6                          nsme, addrBss, city, slal€' arid ZlP cods
                                                                                                                  8e             Ordinary dMdends
            DCI ]NVESTMENT                       PARTNERS LI'C

                                                                                                                  8b             Quafiied dividsndg
            15258 THE                 GREr';NS WAY
                        SONVILI,g                                    32250-
            "I                                                                                                    6c             Dividers €qutuslents
   c        IRS C€nter where partnershlp liled retum
            o         en
                                                                                                                  7              Royaltlss
                                                                    (PTP)
   D                  Check if this l8 a Frblicly haded ParttFrshiP
                                                                                                                                                                           17    Altsmaihie minimwn tax (AMTI nsmg
                                                                                                                  I              Net short-tsm capitralgaln (logs)
      Part ll                                                                                                                                                                                                      -946
   E        Pathe/sidenwingnumber
                                                                                                                      9a         Ne{ longFtorm caPital gain   (ht$)

   F        rarners name. address,            city. strate, and zlP code
                                                                                                                      9b         Coll€cdbl$ (28%) gain (loss)
             RANDOTPH              M     1E\TINSON

                                                                                                                                 Unrecaptured section 1250 galn            18     Tal-exempl income and
                                            VIEW DRIVE                                                                ,c
             24480           ITARBOUR                                                                                                                                             nondsducdbb exp€ns€5
                                DRA                  2082-
                                                                                                                  {0             Net sactlon 1231 gdln   (lo$)
   G                  General parlner or LLO          x Limtted partn€r or olher LLC
                     .membet-manager                                        mernber
                                                                                                                                  Oh€r lncomo (loEs)
   H [|               Dorn€slio Psr8rer                              l*J    Forotgn partner                           '11




   It        Wfrat type ot    antiv   ls thls p3rtne(?          I                                                                                                          19     Disiiiou'tions
                                                                         oheck h€re
   l2        llthls parh€r ls a €tlrernent dan (lRA/SEPlKeoqh/etc)'
             Partner:r share of Profit, losg, and caFital (seo ln6truc$ons):
   J
                                   Eeglnnlng                                           Endlng
                                                                                                    4.813                         Seclion 179 dedudion
                                                             4.813                                                                                                         20     Olher lnformaUon
                                                             0.                                           . 000
                                                               00                                   0.0       0       t3          OthEr deducoons



      K      Partneds share of liabilluos:
                                               Beglnnlng                                 Endlng


             Oualifisd oonacouse
                                                                                                                      14          Sef-€mploytnent samlrEs 0oss)



       L      Parinels capital account analysls:
                                                                                                      4    998
              Beglnning csptial account '                           E

              Capltal oontrlbuted dudng lhe year                     s

              Cunent yesr increasa (decrease) '
              Wthdrawals & dlstributions         .                   $
                                                                                                      4    998              g
                 Ending captlal    acrount.          '               $
                                                                                                                            o
                                                                                                                            d,
                                                                                                                            o
             f]        rax lasts          x    GAAP           J-l   Section zol(b; book                                     :)
                                                                                                                            a
                                                                                                                            g
             f]        ourer lexptain;
                                                                                                                            L
                                                                    gain          tr   loss?
                                                                                                                            o
       M         Did the pstlnet confibute proparty with a built.ln                                                         tL
             f]        v'"               lTlHo
                               attach statem6nl
                                                                                                                                                                                      Schedule K-l (Form 1065) 2018
                                                       for Form {065.                                        www.lr3.gov/Fom1065
  For Psporworl( Reductlon Act Notlce' eee hEtructlons
  BCA
                                    Case 3:20-bk-01951                                 Doc 1                Filed 06/24/20                 Page 22 of 158
 US 1065                                                                                l\.-:l AtlilU llllllrlll
                                                                                                                                                         3
                        DOIP        M IEV
10 a UnrcJeaptursd seclion 1250 gain for lhel 10and1lb....'
11 a Other Portfolio income (loss)
   b lnvoluntary converalons. . .
             (1) Fbrm 4684 a|2loh .ater i       .-.,' ! .'.,       !

     c       1256 conhacts and straddles
     d Minlng exploration oasF recapturo ' ' "                    ''
     e Cancellation of debt.
     f       other inconie (loss)' '
             (1) TVpe and amounl


{2   a       Section lTg deduclion for ordlnary'income or lose
     b       Section '179 deduttion for rental real €state lngoms or losE
t3           Other dedus{lons,
                                                                                                            n Educatibnal assistanebenefrts . .. .
     a Ca6h crntributlons - 50Yo
                                                                                                            o Deiiendent'car€i benafits
     b Cash contrlbutlons - 3096
                                                                                                            p Preptoduc'tive perlod expensas ' ' ' '
     c Noncash contdbutions' 50%
                                                                                                            q Oemm€rcl€l revitalizatton deductlon
                                                                                                                 from rental real estate
     d Nonca6h contributions' 31t/o . ' ,.., '               ',
     e Cap. galn property to a 50% org. - 30%
                                                                                                             r   Penslonsand       lRAs.'...       :.....'.
     f Capftal galn PoPottY'2O%
                                                                                                             8 Roforesta{lon expsnss deduclion . ' '
     g Contributiong - 10070. .' ..                                                                          t   RcseN€d

     h       Invootinont lnlar, stexpense. .          .
                                                                                                             u   Reserved

      I      Deductlons - royalty ln€omo
                                                                                                            v Reserved.,. r. r'.'., ir
     J                                 "'' "' :.
             Sectlon 59(eX2)€xpendltures- .
                                                                                                            w Peneltyonear.lY
     k  Deduc{lons -portlollo'2% foor.' "''''
                                                                                                                 withdratai of savlngs, .
      I lledudions-pgrtfolh-o(ngr\ - ' -. " ' '
                                                                                                                                               .
                                                                   t
                                                                                                                 (t.) Form 4684, line 32 .
     m


14   a Nqt eamings (oee)
     b G.rotq farmiqg or flshlng incomo ' . '
     G

15           eradlts       crodlt regapture
      a LowjncotYls houriing ctodit - sedlon 42.0(5)), Form 6586 pr*?00Sbuildlngs
      b Low-lncome houslng credlt -;otherl Fom 8586 ' prs'2008 bulldlngs '
      c Lcny-incom6 houslng crsdit'3edlon 42tix5))' Form 8f}86' post-2007 buildlngs
      d Lo$rlnoon€ houelng credlt'other, Form 8580-Po!tt2007 bulldlngs ' ' ' '
      € Qualifled rohabilttation expenditiros - tontal real eslatg '                     ''''
      f Other rentat real ectate crsdlts . . . . '
      s Other rental credits - . ..' .
      h Undlstributed capital gains credlt . .
         I    Alcohol and ccllulosic biofugl fuels cfedit.. . ' , , '
         t    Wort< opportuniU    credh.   .

         k    Disabled agcess oredlt


      m
         I    Empowerment zone and renowal communiiy employmentcrbdlt ' ' '
              Credit ior increasing rssearch         aciivitles         lf                                  ;;;. *;iiJo"' "" o*ii;'ffi t""".., n
         n CredltforemployersodalsecurifyandMedicaretaxes ' ' ' ' ' ' ' ' "
         o Backupwlthholding . . -. .
         p Othercredils,-seelnfomationbelow " 'l r ' r' ' " i ' i:" " " ';
                                                                 partnershlp                        '
              Form 3468, llne 11m, credit from an electing large                                        '


              Form 3488, lines I snd 13, credltfrom
                                                                                                                  Form 8881    .
              RgSERVED
                                                                                                                  Form 8882    .
              Fonn 8820
                                                                                                                  RESERVED
              RESERVED
                                                                                                                  Fqrm 8908 .
              RESERVED
                                                                                                                  Form 8910    .
              Form 8835
                                                                                                                  Form 8936.
              Form 8845
                                                                                                                  Form 8941 .
              Form 8874
                                                                                                                   Other
                                                                                                                                                              us1085K2
 @.2OtA Univraat tax Syslgm3, ,nc 6nd/tr       it3   affilhtca 6nd kstlEol'' Alt dghl€ rerorvgi''
                                          Case 3:20-bk-01951                                   Doc 1             Filed 06/24/20   Page 23 of 158
                                                                                                   K- I Attacnmenr                                  r   v-
us                 1065 2A18                                                                                                       4-   813   ID:
                        RAN          tPN M 1EVI
                                                       possession
16         a           Name of foreign cluntry or U.S.
           b           Gross income from all sources
           c           Gross income sourced at partner level      '         "" ""
                                                                    level
                       Foreign gross income sourced at partnership
           d           Section 951Acategory
           e           Foreign branch category
           f           Passive category
           g           General category
           h           Other
                                                               partner level
                       Deduclions allocated snd spportioned at
           I           lntetest expense
6.
5r
.E
(J
                       Other.    .

                       oeductions allocated and apportioned at partnership level
                                                                                 to foreign source lncome
(6_
ok
E
                       Section 951A category
EI                     Forei?n branch category

5m                     Passive category
9n
o                      General category
lLo                    Other.    .

                       Other information
           p           Total foreign taxes Paid
           q           Total foreign accrued
               r       Reduciion in taxes avallable fior credit
           6           Foleign hadlng gross recaiPts
               t       E*raterritorial income exclusion           ""
               u       Seclion 951A(c)(1XA) tested income '                  '

                       Tested foroign incorne t8x
               w Section 965 lnformatlon
               x            n                                                                                                                                46
 17 a                   Post-l 986 dePreclation adJustment.                                                                                                   6
 o                      Ordinary incomo .
 E
 d,
                        Rental .
F b                     Adiusted gain or loss
5
                        Ordlnary income
 xd3                    Rental
 E             c        Depletion other than oil and gas
 :J                                                           gross inctme
.E             d        Oil, gas. end geothermal propertios -
.g
 E
               e        Oil, gas, and geothemal properties - deductions
 o             fotherAMTitems.Pre..lgsTdepreciationadJustmentincludedinlinelTf'.
 .z
 ct                     Ordinary incomo   .

 E                      Rental.
 /.
 (D




 18                     Tax-exemPt interest income and nondeduclible exPenses
                   a    Tax-exemptinterest lncome. . .             .'
                   b    Other tax-exemPt interest income
                   c
     19 a                Distributions of cash and marketablo securities
                   b     Distribution subject to ssctton 737
                                          other
     20a                 lnvestment income .
                   b     lnvestment expenses
                         Fuel tax credit information . . . '
 rc
 .gd                     Qualified rehabilltation expenses, other than
                                                                       rental real estate                '   '
     all
     fe                  Basis of energY ProPertY

 €r
 bs
                         Recapture of low-lncome housing credit, section
                         Recapturo of low-income housing credit - other
                                                                         42(JX5) applies

  E
  6h                     Recapture of investment credit . '
                   I     Recapture of other credits .
                                   lnterest -                                                                                                           us1065K3
O      2018 Untuer6al Tax Syslsms, lnc,       sd/ot   its afiitiates 6nd   lbroots Allrighls reseryed.
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                                                                                                                                                      4
us 1065                             I                                                             K-l Attac                               P

                                                                                                                        4.8L3
                           PT{      M      1EVINSON
                                                                                                                                        -Amount
     Compute Pafine/s interest? . '                                                                            [|v"'       No


A    Beglnning.balanca.             '..                ',., ":
B    Partneds contributlons'
c    lncreaso in share of partnershp liabilities '
D    Ordlnary lncome.
E    Separalsly stated income
F    Subtotal
19   Distributione '":....
 H   Decrease in share of parlnershlp flabllitles
 I   Ordinary loss
J Separatety stated losses and deductions '
K Nondeductible expenses
 L Otheradjustments             .   .' .. . . .
 M




                                                                                                                                                  us1 065K5
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                                                                                                                              Final K-l               I--l    emenoeo K-l                   OMB No. 154:i4123


Schedule K-l
(Form t065|
                                                                                               I              1
                                                                                                                       Part lll

                                                                                                                        Odinary buslnees lncofiie (loss)              5     Credlts
Dopartment of tfte Treasury                                                                                                                        - 626 503
                                                                  For calendar y€81 2018. ortsxYear
Iritemel Rewnu€ Servbe
                                                                                                              2         Net rqltsl rcal estats income (loss)
                ot/2 18
          boginning          0endlng      1          2A

Partner's Share of lncome, Deductions'                                                                        3         Olhet net rental lncome (loss)               16     Forelgn ttangsc{ions

CrgditS, etC.       ) See backof form and separute lnskuctlons.
                                                                                                              4             Guaranleed PaYmente
      Part     I
  A         PartnerBliiCs emplgyer ldenfficatbn             nUmbr9r
                                                                                                              5             lilere8l lncom€
              0-80359?9
            PartnerEhip's name. addtess, city, statg' and ZIP
                                                              code
                                                                       LLC                                    6a            Odinary dlvidends
            DCI INVESTMENT PARTNERS
                                                                                                              6b            Qu6lified dlviderds
            15258 THE GREENS WAY
             ACKSONV           Ft
                                                                                                              6c            Divialend equivalenb
  c         lRs center where parlnershlp filed rdum

                                                                     (PTP)                                    f             Royalth*
   D        l-ll    Cnscrr it ttrls is a publicly traded pa{tn€tshlp

                                                                                                                                                                            Atbmslho mininum (er (AMT) itcmg
                                                                                                              I             Net $hort-lerm cepltal gain (loss)        77
      Part ll                                                                                                                                                                                        -1   1"3   5
   e        ParhaCa Henti,rylng numb€r
                                                                                                                  8a        Net lor€-lsrm.cspital galn 0o$)

   .F       Padngas nsme, a&lress, dty, shle, and Zlp code
                                                                                                                  9b        Collec.ilbles (28%) gain (lo3s)
             STEVE TUTTI,EMAN
                                                                                                                                           64{on 1260 galn           {8     Tax€xempt income and
             145      IIUDSON          sr      401                                                                9c        Untecaphlred
                                                                                                                                                                            nondgductibls erpemes
             NSW                     NY 10013-
                                                                                                              t0            Net.sacthn 1231 gaio (loss)
                    General Parlner or LLC
                                                                      X Limltsd Parlnor or ottler LLC
   G
                    mgnbor-managar                                        momber
                                                                                                                            Otherhcome (loEs)
   H        [-ill   oomogtc parbrer                               [--l    Forelgn partner                     1{



   l{        V\nEt typo otefltilY ls lhls Paftter?
                                                                                  I                                                                                   't9    Dlgbibqtions
    12       lf lhls pather lsretiromer{ plan (lFWSEPKeogVetd)' €fiek hetg
                                 I
   J         Partnefs shar6 ofprofll, los8, and cadtal (soo lnstdctlons):
                            Beglnntng                                  Endlng
                                                     5.77                                       s.1'l             12         Section      deduction
                                                                                                                                                                      20     Othet information
                                                    37 .5                                           500
                                                    3? .500                                    37   .5            {3         ohef   deducdons



    K        Partnetrs share of llabilities:
                                               Beglnnlng                              Endlng
                                                    2   090       2                    2     090         30
             0ualifi€d ooffecoursa
                                                                                                                  14         Sef€mployment eamings (loss)

                                                    1   097                             L    09? 165

      L       Partrtefs caplt8l account analysi8:
              Beginnlng caPital account '
                                                                                      -T 925 285
              Capital conlributed during ths year                 $

              Cunent year lncrease (decreas€)           .         $                         -626         03
              Whdrawals & distributlons '                         $
                                                                                      -2c 551,788                  .>
                                                                                                                    c
              Ending capilal account                              $
                                           .
                                                                                                                   o
                                                                                                                   o
                                                                                                                   o
             f]      ra, basts         X       GAAP         l-l   s"airnzol(o)ooo*                                 f,
                                                                                                                   a
                                                                                                                   g
             [--1    orrer lexPrainl

                                                                  gain or lose?
                                                                                                                       o
        M     Oid lhe Partnor contribute property wilh a built-in                                                      IL
                     Yeg                       No
                            'attach ststement                                                                                                                                    Schedule K-l (Form 1065) 2018
                                                      lor Form {085.                                     wwwirs.gov/Fotm1o85
  For Paporwork Reductlon Act Notlce' see lnotrucdons
  scA
                                     Case 3:20-bk-01951                         Doc 1 Filed 06/24/20                         Page 26 of 158
  US 1065                                                                       K- l Anacnmenr                                                          av r9

                  STEVE TUTTLET'IAN
                                                                                                                               5   -7't   6       ID:

10   a
     Unrecaptured sec{ion 1250 gain for lines 10 and 11b
11 a Other portfolio lncome (loss)
     b lnvoluntary @nversions
             (1)Form4684at29o/otala...'....                                   """'                 """;"
     c 1256 c€ntracts and straddles
     d Mining exploration costs recapture
     e Cancellation of debt .
     t       Other income (loss) .   .

             (1) Type and amount
                                     othsr
12   a Section       179 deduction for ordinary income or loss
     b Section       179 deduction for rental real estate income or loss
13           Other deductions                                                                 n Educatibnal aesistance       benefits . .     .

     a Caeh contribuflons'50%
                                                                                              c,   Dependent care ben€fits

     b Cqsh contributions - 30%
                                                                                              p    Preproductlve period sxpenses''''
     c Noncash conlrlbutions '5}olo , ,
                                                                                              q Comtneroial revitallzatlon doduction
                                                                                                   from rental leal gstate
     d Noncash contributions'30% ' .
     e Cap. gain property to a 50olo org- -        300/o .                                    r Penslons and lRAs
     t Capital gain Propqrty - 2A% . ' .                                                      s Reforestation expenee        deduction .      .


     s Contributione - 100o/o        .                                                        t Reservsd
     h lnvestment lnterest expense. . . .' . . . .                                            u Reserved
     I       Deductions - royalty lncome '
     t       Section 59(eX2) exPendftures                                                     v    Reserved

     k Deductions - Portfollo '2%froa;                                                        w    Ponal$ on oarlY
     I       Deductlons - portfolio - other                                                        withdrawal of savings .
                                              '
                                                                                                   (1) Form 4684, llne 32
     m       Amounts       lor
                                                                                                       Other.

14a Net eamlngs            (loss) from self-ernployment
     b Gross farmlng or fshing income . "             "   .   .


     c Gross                 lncome
15           Credits and credit recaptu(€
     a Low-incomehousingcfedil-section42(rx5),Form8588-pre-2008buildlngs...'..
     b Low-income housing credit'other' Form 8586 ' pre'2008 buildings
     c Low{ncome houslng cfedil - s€clion 42(i)(5)), Form 8586 - post-2007 buildings . ' . .                    .


     d Low-income houslng crodit - other, Form 8588 - post 2007 bulldings
     e Qualifled rehabllltation expendltures - rental real estate . '
     f Other rental real estate credits .
     s Other rental credits .
     h undistributed capital gains credit. .
     i Alcohol and cellulosic blofuel fuels credit                '   .


     .t Work opportunity
                          credit . .
     k Disabled access credit
        Empowerment zone and renewal community employment credit
         I
     m Credit for increasing rese'arch activities
     n  Credit for employer social s€curity and Medicare taxes ' ' ' ' ' ' '
     o Backup withholding
     p Other credits - see information below
             Form 3468, line 11rn, credit from an el€cting large partnership              '

             Form 3468. lines 9 and 13, credit from
             RESERVED                                                                               Form 8881 .     .


             Form 8820                                                                              Form 8BB2 .     .


              RESERVED                                                                              RESERVED
              RESERVED                                                                              Form 8908, .
              Form 8835                                                                             Form 8910 . ,
              Form 8845                                                                             Form 8936.      .


              Form 8874                                                                             Form 8941 .     .




                                                                                                                                                        us1065K2
@ 2ota Uniwmt Ts Syttstns. lnc. andlor ils slliliates and llceBors. All rhhl! tesetvsd'
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        us           1065 ( 2018)                                                           K-1 Attachment                            Paqe 2
     Partner: S               VE TUTTIEMAN                                                                            5   .17
     t6          a   Name of foreign country or U.S. possession . . , .         .

                 b   Gross income from all sources . ; . . .
                 c   Gross income Bourced at partner level
                     Foreign gross income sourced at partnership level
                 d   Section gSlAcategory
                 e   Foreignbrancficategory                                                         '.. '.... '...
                 t   Passive category
                 s   General category
                 h   Other.       .

                     Deduc'tlons allocatsd and apportloned at partner level
                 ,   lnterest oxpenss
     6.
     3r
    5()
                     Other.       .

                     Deductions atlocated and apportioned at partnership level to foreign source         inome
     Ir
    El
                     Section 951Acategory
                     Foreign branch category

    .6m              Passive catogory
    9n
    o                General category
    lLo              Other..                                                                         '...'.-.'..
                     Other information
                 p   Total foreign taxos paid
                 q   Total foreign accrued
                 r   Reduction in taxes available for credit
             s       Foreign tradlng gmss receipis
             t       Extraterritorial lncome exclusion . . . .   .


                 u   Sedion 951A(cXlXA) teeted lncome
                     Tesled foreign income tax
             w Section 965 information

    17       a       PosFl9BBdeprecrationadjusttnont.                                                                                  -1 135
    o                Ordinaryincome.....                                                                                               -1 135
    E
    o,
                     Rentel .
    tr b             Adjusted gain or loss
    =                Ordinary incomo
    x
    (g               Rental
    E
     : c             Depletion other than oll and gas
    .E d             Oil, gas, and geoth€rmal propertles - gross income
    .E e             Oil, gas, and geothermal proporties - deductions ,
       f             Other AMT items. Pre-1 987 depreciatlon adjusttnent included ln line 17f
                     Ordinary income      .

                     Rental   .

                     Other -
    18               Tax-€xempt interest income and nondeductible expenses
             a       Tax-exempt intetest income
             b       Other tax-exempt interest income      .

             c       Nondeductlble
         I   a       Dlstributions of cash and markeiablo securities
             b       Dlstribution subjed to section 737
             c                        of other
    2A a             lnv€stment income        .

             b       lnvestment expensss

    c
             c       Fuel tax credit information
    o        d       Qualifled rehabilitation expenses, other than rental real estate .       ,

    t0
    E        e       Basls of anergy property
    o
    .g       t       Recapture of low-income housing credit, section 42f)(5) applies
    o)       s       Recapture of low{ncome housing credit - other
    c
o            h       Recapture of investment credit . ,
             I       Recapture of other credlts
                     Look-back                                       contracts
O   2o1B UnivtrsalTsx Syslams, |rc. and/ot lts alliliales ard rEensoF. Alltights resered.                                              us 1 065K3
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        us      1065 (2018)                                                                   K-l Attachment                       Paqe 4
       Partner: STEVE T                                                                                            5.776                  9

            Compute partne/s inGrest?                                                                    . [iv"'   fJ *o         Amount

      A Beginning balance. . .            ,



      B Partne/scontribufions.. :.... i......,.
      C lncraase in share of parlnershlp liabilities               .

      D Ordinary incomd.
      E Separately stalod income
      F Subtotal
      G Distributions......
      H Decrease in share of partnership liabllities .
      I Ordin'dry loss . . r                                                                                                       526
      J Separately slated lossos and dedudions .                       .

      K Nondeductibleepenses
      L Other adJustrnents . .
                     balance




@ zOtg Univcrsa Tax Systsmr, lnc. rrd,/or its afituates rnd lic€nsrr. All,iohts r6seved.
                                                                                                                                   us1065K5
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                                                                                                                             Ftnal   K-l            [-_]   Amenoed   x-t                   OMB No. 1545{123


Schedule K-1
(Form 1065)
                                                                                  2@18
                                                                                                                 I        Odlnary buslness Income 0os8)          16        Cred|ls
Deparlment of tfi€ Treasury
lntemat R6venuo Sewlc€                                               For calendar Year 2Ol 8, or lax Yaar                                        -6?qriL3
                                                                                    L2                           2        Nst rental (eal esbte lncoms (los8)
        beglnnlog           0            1   2   018             ending

Partner's Share of lncome, Deductions,                                                                                    Olhsrnot rsntal lncomo 0oss)           '16       Forelgn transactbns
crgdits, etc. '
                                                                                                                 3
                    > sre back of form and reparlr                                              lnskuo,tlon!.

                                                                                                                 4        Guaranteed Payments
      Part   I
  A      Partoershlp's emplcryer klentificallon numbor
                                                                                                                 6        lntoreiil incom€
         2       8035979
  s      Partne'8hlp'g namo, add€ss, city, stater and ZIP code
                      INVESTMENT PARTNERS I,LC                                                                   6t       Ordinary dividends
         DCI
                                                                                                                 ab       Qudmed dtuldeflds
         15258 THE                GREENS WAY
                 KSONVI                      BEACH         Ft          225
                                                                                                                 8c       Dlvid€nd equivalents
  c      lRs oenterwherE parheEhip filed telum
                 en
                                                                                                                 7        Royalueg
  D     l-.l     Cne"r,   f nls   i8 a   plblw       baded psrlneGhlp (PTP)

                                                                                                                 8        Nei short-term capttal gsin (los$)         17    Altsmattva mhlrnum   tu   (AMT) items
    Part ll                                                                                                                                                      A                                          -7 57
  E      Partrier"fs ldentifflng number
                                                                                                                 9a       Net longFlerm cafital galn (loss)

  F      pannefs name, address, dty, state' 8nd ZIP cod€
                                                                                                                          Gollecilbles (28%) gain (toss)
         LAURE], RIDGE MANAGEMENT LLC                                                                            9b

                                                                                                                 9c       Unrecapluted scc{on 1250 gain          {8        Tax-€x€mpt hcom€ and
         68       FOREST AVE 3RD FIJOOR                                                                                                                                    nondeducllble expenses
         LOCUST                          YNYl
                                                                             Umited partnei or olher LLC         10       Net s€cflon 1231 galn (loss)
   G             General pattnor or LLC
                 m€mb€r-manager                                              m€mbar

   H    lTl      Domestlcpartner                                     [--'l   Fot"tgn prttn"t                     tl       Other income (loss)



   t1    What type of €ntilY is thls Partner?      Pa                    nershi
                                                                                                                                                                 lg        Dlsltlbuuons
   t2    Itthis partner ls I ctlibment  plan  (lRfuSEFKeogh,etc'), check here

   J     Partnefs shore ol profit. loss, aod capltal (see inoltudlons):
                             Beglnnlng                                               Endlng
                                                         3. B5t                                    3       1     12       S€ction 170 dedudion
                                                                                                  3? .50                                                             20    oher lnformatlon
                                                         37. 0
                                                          ?.500                                   3'7      0     t3       Othordsdudlong


   K     Partnols shats of liabllitles:
                                             goglnnlng                                   Endlng
                                                          090 22                          2     090 229
         Quallied nonrecourse
                                                                                                                 14       Self.employmeni eamlngs (loss)

                                                     L    09?                                     91 165

   L      ParlneFs capital account analyols:
         Beglnnlng caprtsl account '
                                                                 t                       -l'8     95    ,562
         Cspltal conftibuted du.hg the Year
         Cunent year lncrease (docrease) .
                                                                                                        s03
         Wthdtawals & disttlbutions              .               $

          Ending capitsl account         .                       $                       -2,5           ,065         be
                                                                                                                     o
                                                                                                                      o
                                                                                                                      6
                 Tax basls                   GAAP         [--l   secton zoc(b) book
                                                                                                                     3
                 Other (explaln)
                                                                                                                     a
                                                                                                                     &
                                                                                                                      o
          Dld the partner contribute poperty with a built'ln gain or loss?                                           IL
         l-l v",                    Elro
                 tf       " a{tach stat€ment
                                                                                                          www.irs.govlFotml06S                                                 Schsdule K-l (Form 1065) 2018
 For Pap€rworl( Redustlon Act Notlco, see lnstructlons tor Form {085'
 BCA
                                      Case 3:20-bk-01951                               Doc 1          Filed 06/24/20                  Page 30 of 158
  us           1065                                                                        -1      Aftacn          tl
                                                                                                                                        3.85      olo    lD:
                       UREI.     R                                       tLc
t0a           Unrecaptured sectlon 1250 galn for llnee 10 and 11b
11 a Other portfolio income (loss)
     b lnvolunlary converslons
              (1) Form 4684 ata8oh rate - .    .

     c        1 256 contrac{s and straddles

     d Mlnlng exploration costs.recapture ' . .
     o Canc€llationof         debt'                                                                  ":'! "
     f        Other income (loss) '   .

              (1) Type and amount
                 PTP           from
12a Section    179 deduction for ordinary income or loss    ''''''             "
     b Sectlon 179 d€duction for renlal real estate income or loss '
13            Other deductions
                                                                                                       n Educational assistance beneftte -...,
     a Cash contributions - 50%
                                                                                                       o Dependentcare benefits
     b Cash conlribulions - 30%
                                                                                                       p Preproductive perlod exponsos . " . .
     c Noncash contdbutions - 50% . .
                                                                                                       q Commerciil revltallzatlon deduc-tlon
                                                                                                            from rental rsal eatate
     d Noncash contributions - 30% ' .
     e Cap. galn pmper$ to a 50% org. - 30% ' . .
                                                                                                       r    Pensions aod lRAs

     f Capital gain properly- 20o/o. . -' ! . ; . r' .,                                                s    Reforestation expense deduction . .   .


     s Contributioni -         1oo%       .                                                            t    Reoerved

     h lnvostrnent intere$texpense . . . .              .                                              u Reserved
     i Dedqctions - royalty lncome
     j Sec{ion 59(eX2) o(Pendltures
                                                                                                       v    Reserved

     k D6du6llons . portfolio - 2oh lloar
                                                                                                       w    Ponalty on eadY
                                                                                                            wlthdrawal of savings .
      I       Deductions - Portfolio - other
     m                                                                                                      {t} Form 4684. line 32

14   a        Net eamings (losa) from self-employment.
     b        Gross farming or fishlng lnc'ome


15            Credlts and credit rscaPlu€
     a Low-lncome houslng credit - secilon 420X50' Form 8586 - pr$2009 bulldings ' ; " ! "
     b Low-lncome houslng credit' othe., Form B586 'pre-2008 bulldlngs                                                                                " r" "   '
                                                                                                       bulldlngs
     c Low-income housing credit'sestion 42(JX5)). Form 8586 - post'2007
     d Low-lncome housing credlt'other, Form 8588 - posi-2007 buildings
      e        Qualilied rehabilitation axpendltures - rental real estste ' '
         f     Other rental real estate credits .
      g        Other tental credits
      h        Undietributed capital gains ciedlt
         I     Alcohol anrl ccllulosic blotuel fucls cr€dit        "
         j     Work opportunitY credit
         k     Disabted acces6 credit
          I    Empowerment zone and rEnewal cornmunity employment credlt
     m         credit for increaslng research      actfuities             lf checked, credit is from an eligiblo small bueinese:                           I
         n     Credit fot employer soclal socurity and Medicare taxes '''
         o     Backup withholding .
         p     Other credits - see information below ' '
               Form 3468, line 11m, credit from an electlng large partnership
               Fonn 3468, lines 9 and 13, creditfrom
                                                                                                             Form 8881 . .
               RESERVED
                                                                                                             Form 8882 . .
               Form 8820
                                                                                                             RESERVED
               RESERVED
                                                                                                             Fonn 8908 .    .
               RESERVED
                                                                                                             Form 8910.     .
               Form 8835
                                                                                                              Form 8936.    .
               Form 8845
                                                                                                              Form 8941 .   .
               Form 8874
                                                                                                              Other
                                                                                                                                                                   us1065K2
 @ 2018 Unlwrsal Tax SyEtsms' lnc and/d       tt   aff{ial€s and llccnsors' All tights tss6fl6d'
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us {065                      201                                                           K-l Attachment
                 LAUREI' .RIDGE                                  ENT LLC
               Namo of forelgn countty or U.S. possession
               Gross lncome from all soures
               Gross income sourced at partnor level
               Foreign gross income gourced at partn€r8hlp level
               Ssction   gs1Acategory.                                                             :,   "' ''
               Forelgn branch category
               Passive category
               General cstegory
               Other..                                           ...:...
               Deductions allocated and apportioned at partner level
         I     lntsrsstexpense.....
6.
5r
o
               Other.    .

               Deductions allscated and apportloned at partnership level to forelgn source
                                                                                           lncome
(s-
.nR
c              Sectlon 951Acategory
8t             Fore$n brancft category
6m             Passfue category
En
o              G€neral category
L!o            Other..                                                                                  """'
               Other informatlon
         p     Totalforelgntaxespald...           i'.'   ....      .


         q     Total foreign accrued
         r      Reduction in taxes available for credit
         a      Foreigntradhg gross receipts..' .' .
         t      Extratenitorial income excluslon   -.!   "
         u      Section S51A(cX1XA)    tested lncomo .

                Testsd foreign  incomo  tax
         w      Section 965 lnformation
                                                                                   Other
17       a Foat'l986depreciaffonadiu3fnenL .i1:,...
U'
E               Ordinary income     .
o,
:F b            Rental   .
                Adiustedgainorloss.          ';.. ' ' -.;... '.. '. '
=               Ordinary lncome
x
G               Rental
E        c      Deptetlon other than oil and          gas          ''''
                                                                        i                      '
=
.E       d      Oll, gas, and geothermal properties - gross incomo
.g
 E
         e      Oll. gas, and geothermal propertles - deductlons '
o            fotherAMTltems.Pre.lgsTdepreciatlonadJustmentincludedlnlinel7f
('              Ordinary income     .
    c
    dJ          Renlal   .

a
                Tsx€xempt interest lncome and nondeduc-tible expenseg
                Tax€xgmpt lnterest income .
                Other tsx-exempt interest lncome             .



                Distributions of cash and ma*etablE securities
                Dietrlbution subject to section 737


    a
    20          lnveslrnent income .
    b           lnvestrnent expens€s

 c c            Fuel tax credit information . . . .
.9
 (!
    d           Qualified rehabitltation expenses' other than rental real estate ' ' ' '
 E e            Basis of energY ProPertY
 o
.: f            Recapture of low-income housing credit, sedion 42(iX5) sppllos ' '
 o g
.c
                Rscapture of low'lncome houslng cr€dlt - other
o h             Recapturo of lnvestmsnt credit . .
    i           Recapture ofother credits         .

                Look-back
                                                                                                                                             us1065K3
O    2018 UnivoGal Tax Systsms,   lm sd/or   lts affillat63 snd liensort' All tights t?srcd.
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 U      1065                I                                                                   K-'l          ts                                 e4
                                                                                                                         51      ID:
           IAUREL RIDGE

     Compute pa.tneis interest?. . - .             .                                                          81""" fl *o              Amount



A    Beginnlngbalan@..',.
B    Partfler's contrlbullons .
C    lncrease ln sharo of partnsrship liabillties                .

D    Ordinaryinoofio,...
E    Separatelystated       incoms,...          .,,. . i...
F    Subtotal
 G   Distrlbutions
 H Decreaserin share of partnershlp llabllitbs                                                                                            62        3
 I Ordlnaryloss.....'
 J Separately Stated lossss and deductions                       .

 K Nondeductibleexpensos
 L Otheradiustments' ..;......-




                                                                                                                                               us1065K5
O 2oto Unhersd   Tax Syrlems;   lflc. andlot i9 8mfiotss   sd   lbsnsors' All d0hts r€€6tvsd'
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                                                                                                                            Flnal   K-l            fl     l."no"o    rt                      OMB No. 1545,0123

                                                                                                                     Part lll
Schedule K-1
(Form 1065|
                                                                            2,@18
                                                                                                            {            Ordlnsry buslnera lncome (oss)         t5        Credlte
0epattment of lho Treasury
tnt€mal Rovenue SeMce                                          For calandar Year 201 8, oI lax Year
                                                                                          2                 2            Net rental teal estate income (lo8s)
        b€glnnlng                 1           018             ending

Partner's Share of lncome, Deductions,                                                                      3            Olhet net rental Income (loss)         16        Forelgn bansactbns

Credits,          etc.
                    >
                                                                                                            4            GuaranteEd PaYm€nts
      Part   I
  A       Partnershlp's emPloYer idenlmcaton number
                                                                                                            6            lnterest locome.
          20*803 979
  B       ParlnechiCg name, addr6s' city. sbte, and ZIP codo
                                                                                                            0a           Ordinary dlvidendg
          DCI INVSSTMENT PARTNERS LLC
                                                                                                            6b           Oualifiad dlviJends
          15258 THE GREENS WAY
          JAC    VIL! BEACH EL 32250-
                                                                                                            6c           Dividend gquivalentg
  c       IRS cer(er where'pattnershF nled t€lum
                      n
                                                                                                                         Roysl6es
                 Chack ll lhis ls a publl4i ttaded partnerhip
                                                              (PTP)
  D

                                                                                                                                                                          Altsmawr mhttnuo     tar(   (NvlT) ilems
                                                                                                            .8           Net shott-term capltal galn {loss)         17
      Part ll                                                                                                                                                   A                                       -lL'    822
   E      Partne/s ldentltylng numbsr
                                                                                                            ga           Net longt€tm capltel gah (loss)

   F      Harmers nam€, addres!,, city, state, end ZIP code
                                                                                                            0b           Collgctibles (28%) galn (loss)
          TEVCO GROUP LI,C
                                                                                                                         Unrecaptuted sedion 1 250 galn             18    Tax€xempt incomo and
           24480' IIARBOUR VIEIiI                        DRM                                                9c
                                                                                                                                                                          nondoductible expensos
                          V             BEACH                      8
                                                                                                            10           Net secdon 1281 gain (loss)
   G             Gen€ral partnor or LLC                                UmlH partneroto$er         LLC

                 m€mbor-manager                                        memb€l
                                                                       Folehn partlsr                       ll            Ottrei tncome 1toss1
   H EI          DomestbPartrer


   ll     Whsltype cf.antity ls thls partner?
                                                                   ner
                                                                                                                                                                    {0     Dlstribtttiofls
   t2     It thls partnera roursment plan (lRA/SEP/Keoghletc"), chack h€re
                              h
   J      Parlne/s ahars of Prollt. losq and oapital (8ee lnstructlon8):
                                  Bsglnnlng                                     Endlng
                                                6        16                               60.168            12            Soc,tloh 179 dedud{on
                                                                                                                                                                    20    Olher Intomation
                                                    0.00                                      0
                                                     -   000                                      000       13            Oh€r depuc{ons



   K       Partne/s 6har6 of llabi[lhs:
                                          Beglnnlng                              Endlng


           Ouallfisd oonrocoutso
                                                                                                                14        Setf-€mployment eamlngs     0os)


   L       Partneds capiial gccount analysls:
           Beginning caphhl account       '
                                                              t
           Capital contributed durlng the year                s
           Current year loctease (decrease) .
                                                                                                        )
           Wthdrawals & disfibutione '
                                                                                                                 .>
                                                                                                                  C
           Ending capit'al account.
                                                                                                                 o
                                                                                                                 o
          n      Tax basis            x   GAAP       [-l      Section7o4(b] book                                 o
                                                                                                                 :)
          n      Oiher (explaln)
                                                                                                                 a
                                                                                                                 g
                                                                                                                     o
                                                             galn or loss?
      M    Did the padner contibuta prop€rly with a built-in                                                     tL
           [-l v."                    []*o
                 tf       " attacfi statamenl
                                                                                                                                                                               Schedule K-l (Form 1065) 2018
  For Paperwork Reductlon Act Nollce' 5es                lnstructionsforForml0SS.                   wvvw'irs,gov/Form1065
  8CA
                                      Case 3:20-bk-01951                                  Doc 1                 Filed 06/24/20            Page 34 of 158
                                                                                                                         t.L
 us            106
                                                                                                                                                  .168

10a                        sgcllon 1250 gdln for
11 a Other portfolio income (loss) ;                '   .'   '

   b lnvoluntary converaiong
     (l) Form'4664 dl28% rate                   "' "'
      c 1256 contracis.and 8traddl68''''
      d Mining exploration cbsl$' tecapture
      e Cancellatlon of debt      .

      t       Other income (loqs) .   .




{2    a gectlon 179 deduc{lon lor ordlnary lncolne 9r loss
                                                                                   or loss ' ' '
      b Sectlon 179 deductlon for rental reel egtate Income                                                     n Educatignal assistance ben6fits    ''''
't3     othor deduc,tlons
                                                                                                                o Dependent caro bensfftt
      a Cash contrlbutione' 50%                                                                                                                           "
                                                                                                                p Preproductive poriodexpensea       ''
      b Cash contnbutions' 30%         "' "''l i "'                                                             -q Commerdd     rovitallzatlon deductibn
      c       Noncash sontrlbullons -50%  ..''''''
                                                                                                                    from rental real estats
      d       Noncash contributions' 30%''''''''                                                                i   P€nslons and lRAs. .'   'i ,    ""
      e Gap. gain pioperly lo a 50% org' - 3070
                                                                                                                                              "       '

                                                                                                                s   Relorestatlon elgenss deducton , '
      f Cepltal gain,PrqFe,.fly - 207o '                                                                        t Rg.geruedi,..i'!.                           """"'i
      g Oontributlons' 100%. .' "'                                                                              u   Reserved
      h lnvsstment inlaost exPense
          i    Deduclions'roy€lty lncgme '
          J    Section 5S(eX2) expendituec
                           -Pottfolio- 2%floor'                  "'' "''                                        w   Ponalty on early
          k    Deduc0gng
                                                                                                                    withdrawal of aavings.' '
                                                                                                                    (l) Form 4684, line32


          a    Net eamlngs (loss) ftom




              o Backupwithholding...'
              p Other'credits'see information                below.    .
                                                     electing large partnersnip ' '                     '
                Form 3468, llno 11 m, credit tom an
                                                                                                            '

                Form 3468, llnes 9 and '13, credlt kom
                                                                                                                      Form 8881 '
                 RESERVED
                                                                                                                      Form 8882 '
                 Form 8820
                                                                                                                      RESERVED
                 RESERVED
                                                                                                                      Form 8908 '
                 RESERVED
                                                                                                                       Form 8910   .
                 Form 8835
                                                                                                                       Form 8936.
                 Form 8845
                                                                                                                       Form 8941 .
                 Form 8874
                                                                                                                       Other
                                                                                                                                                                       us1065K2

      @ 2018 Universat Tar Sysiem3,       lm   andot itr alfliat63 snd licsls(s. AI rlghls tgtet\/'d;
                                                   Case 3:20-bk-01951                               Doc 1        Filed 06/24/20   Page 35 of 158
          us 1065 (2018)                                                                                   K-l Attachment                                Page 2
          Partner: TEVCO GROUP LLC                                                                                                  6   - 168 o/o   lD
          16a         Name of foreign country or U.S. possession . .                         ,
                b    Gross incom€ from all sour@s
                c    Gross income sourced at partnsr level . . ,
                     Foreign gross income soul@d at partnership lovel
                d    Section 951A category
                e    Forelgn branch category
                J    Passive category
                g    General category
                h    Other.              -

                     Deductions allocated and apportloned at partner levsl
                I    lnterest expense
       o.
      5t) 5r         Other.              .

                     Deduc{ions allocated aod apportioned at partnership level to forelgn source income
      $r,
      gr
                     Section 951r{ catogory                 .

                     Forelgn brancfi category
      .$m            Passive category
          9n
          o
                     General cetegory
      tLo            Other.              .

                     Other information
            p        Total foreign taxes paid
            g        Total foreign accrued
            r        Reduc'tion ln taxes avallable for c{edlt
            s        Forelgn trading gross rec€lpts
            t        Extratenitorial income exdusion . . .                    .

            u        Section 951A(c)(1)(A) tested income                          .

                     Tested foreign income tax
            w Sedion 965 information
            x        Other                                                             ......Other
      17    a        Post-l9S6depreciation adjustment.                                                                                                   *t   1   822
      o
     E              Ordinary lncome                ,                                                                                                     -11 822
     ct
     :c             Rentsl           .
    F       b       AdJusted gain or loss
                    0rdinary lncome
     x
     (g             Rentel
     E      c       Depletlon other than oil and gas
     5
    .E      d       Oil, gas, and geothermal properties - gross income
    .E      e       Oil, gas. and geothermal properties - deduc,tions
     E
     o,     t       Other AMT items. Pre-1 987 depreciation adjustment included in line 17f
     s              Ordinary income                .
                    Rental       .

                    Other    -
     18             Tax-exempt interest income and nondeductible exp€nse6
            a       Tax-exempt interest income                      .

            b       Other tax-exempt interest income                      .

            c
     t9     a       Distributions of cash and marketable securit'res
            b       Dislribution subject to ssction 737
            c                                of
    20  a           lnvestment income                  .

        b           lnvestmentexpen8es

     c  c           Fuel tax credit intormation
     o
     (t d           Qualified rehabllitation exponses, othsr than rental real estate .                       .


    E e             Basisofenergypropefi
     o
    5 f             Recapture of low-income housing credit, section a2O(5) applies.
    €.,
    c
        g           Recapture of low-income housing credit - other.
    o h             Recapturs of investrnent credit . . . .
        I           Recapture of other credits                  .
                    Look-back interest -
O   2018 Unive{sal     Tu Systms.             lE   and/o{ lls sffiliat69 snd llcnsoG. Al{ dghB raseryed,                                                  us   1065K3
                                      Case 3:20-bk-01951                               Doc 1    Filed 06/24/20    Page 36 of 158


        us 1065 (20{8}                                                                        K-1 Attachment                               Paqe 4
                                         P                                                                          60.   r.   I   ID:


          Comput€ partne/s interett? .            .                                                        fi    v"' fl*"                Amount

    A     Beginning balance
    B    Partne/g contributions . .
    c    lncrease ln ehare of partnershlp llabllltigs             .

    D    Odlnarylncome.,...
    E    Soparatoly rtated lncome
    F    S!.bt9!al
    G    Distrlbutions.i.....
    H    Decrease in share of partnershlp llabititles
    I    Ordinary     loer.   .   .

    J    Sepa.ately strated loeses and deductions.
   ,K    Nondeductlble expenses
    L    Otheradjustmante.,..




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                                     Case 3:20-bk-01951                                    Doc 1                      Filed 06/24/20                     Page 37 of 158
                                                                                                                           I I      ri-rrc"t                 L_l   Amended K-l                   OMB No. 164H)tzu


Schedule K-l
(Form {065}
                                                                                  2@18
                                                                                                                       1         Ordinsry buslness income (oss)          {5      Credits
Departmont of th8 Treasury
lnt€mal Revenus SeMc€                                                 For cslandsr Y€ar 201    I,   or tax Yesr                                          -208/ 8q4
                                                   01B                              1                     0            2         Net reotal teal   $tate hcome (loss)
        bsginnlng                  01          2                   endlng

Partner's Share of lncome, Deductions'                                                                                 3         Oth€r net rental lncone 0ogs)            16     Foreign hansactlon8
crgdits, gtc.                                   >      see back of sorm end separate lnctructlons.

                                                                                                                       4         Guaranteed Payments
      Part   I
  A                                  ldenllllca{on numbor
                                                                                                                       6         lnterest lncome
         20-80359?9
  B      Partrlershlp! nsme, add.ess, dty, state' and ZIP code
                                                                                                                       6a        Ordlnary divldends
         DCI        INVESTMENT PARTNERS I,LC
                                                                                                                       8b        Oualilled dMdends
         15258 ?HE GREENS WAY
         J          SONVTLI,E BEACII                                    2250-
                                                                                                                       6c        Dlvidend equivalonts
  c      IRS C€otsr where Padnershlp filed roturn
                    n
                                                                                                                       7         Royaltles
  D              Check if th'a l8 a publiclv raded partnechlp (PTP)

                                                                                                                       I         Net shod-term capl{sl gain (lo€s)        17     Ah€matlva   mlllnm   l6x (AMT) ilems
    Part ll                                                                                                                                                               A                                  -lJ' 135
                                                                                                                                                                                                                  r
  E      Partnefsidentifvlndnumber
                                                                                                                       9a        NEt long-tem capital gain (loss)

  F      Padneds neol€, address. city. sbta, and ZIP code
                                                                                                                       9b        Collec{ibles (28%) gah (loss)
         THE }IOCHMAN FAMITY PARTNERSHIP
                                                                                                                                                          .l260 gain      {8     Tax-exempt incomo and
                                                                                                                       9c        Unr€capturqd sec{ion
         541 LEXINGTON AVE 1?TH                                        T'L
                                                                                                                                                                                 nondeductible exp€n869
             YORK    toa22-
                                                                             Limtted partieror olher LLG               10        Net sec{ion 1231 gain 0oss)
   G             General Partner or LLC
                 membet-rnanagor                                             memb€r
                                                                                                                       1l        Othe( income (loss)
   H     lT-l    Domeetlcpartnor                                      l--l   Forolgn Partner


   l1    lMrat fype of.entlty ls &i9 partner?                    PA              shi
                                                                                                                                                                          19     Olsltlbulions
   t2    lf lhis paftier ls   a retir.enrentplan (lRA/SEPlKeoghlete), oh€ck hete
   J     Partnef6 thare.of       pofl'       loss, and capltat (see lnstructlons):
                              Boglnning                                              Endlng
                                                        s .77                                         5.776            12        S€ction 179 deductlon
                                                                                                      2. 500                                                              20     Other informallon
                                                       1.2   ,50
                                                       12-50                                        12.        0       t3        Olher deducuofis



   K     .Partn€f s share d' liabiliiies:
                                              aeglnnlng                                 Endlng
                                                                 6 7A                           696           .t5
         Oralifisd nonaocourss
                                                                                                                       l4         Self-employmant eamings (lo8s)

                                                         400 B3                                     00 s35

   L      Farlne/s capihl account analysls:
          Eeglnning capital account.                               $                       -711 0?0
                                                                                                                                                                 for
          Capltal contrlbuted dutlng tho year'-
          Currentyear irrrease (decreass) .                        s                           -20 B. 834
                                                                   I                                              )
          tuthdravrals & dlstrlbutions             .

                                                                   $
                                                                                           *9             904               c
          Ending caPltal account         .
                                                                                                                           o
         I       Tax basis          x         GAAP           n     section 704(b) book                                     f
                                                                                                                            6'
                                                                                                                            ah



         n       Other (explaln)
                                                                                                                           (/)
                                                                                                                           g
                                                                                                                            L
                                                                                                                            o
          Did lhe oarlner contrlbule prop€rty wilh a built-in gain or loss?                                                IL
         I Y*                      E]*o
                         attach statemont
                                                                                                                                                                                     Schedule K-{ (Form 1085) 2018
 For PapeMork Reductlon AGt Notlcs, see                       instrucllonsforForm1065.                        www.lrs.gov/Form1065
 acA
                                    Case 3:20-bk-01951                              Doc 1 Filed 06/24/20                        Page 38 of 158
  us 1065                                                                           K-'l Auaenmenr                                                   av   ao


               THE                                   ILY                       IP                                                 s-776        ID:

l0a Unrecaptured sectlon 1250 gain for llnes 1 0 and 11b
11 a Other portfolio income (loss)
   b Involuntary conversions
         (1)Form4684atZlohiale                                                   :''   '....... ';'
     c 1256 contrac{s and straddles
     d Mining exploration costs recapture
     e Cancellation of debt .
     f Other income (loss) . .
         (1) Type and amount
            PTP
12a Soction    179 deduction for ordinary income or loss
     b Sectlon 179 deduclion for rental real estate income or loss                      .


13       Othor dedudions                                                                          n Educational assistance beneflts . . .
     a Cash conributions - 50%                                                                    o Dependent care benefits
     b Cash contributions - 30%                                                                   p Preproductive period expenses . . .
     c Noncash conlributions - 50% .             .                                                q Commerclal revitalization deduction
     d Noncash contributions - 300/o . .                                                              from rental real estate
     € Cap. galn property to a 50% org, - 30% ' ,                     .                           r Penslons and lRAs
     t Capital gain property - 20% . , .                                                          6 Reforestatlon expenee deduction    .   .


     s Contributions - 100Y0 .                                                                    t Reserved
     h lnvestmont interestexpense..                  ., .... .'   .                               u Reserved
     i Deductions - royalty lncome ,
     t   Section 59(eX2) oxpendltures                                                             v   Reserved
     k Deducllons; portfolio-2% floor.                 .. . .,   ..   .                           w   Ponalty on eadY
     I Deduclions - portfolio - olher . .                                                             withdmwal of savings .
     m                                                                                                (1) Form 4684, llne 32
                                                                                                          Othsr.

14   a Net eamings (loss) from self-omployment. . . . . -
     b Gross farming or fishing income .
     c
15       Credits and ctedlt recaplure
     a Low-lncome houslng credlt. sectlon 42(iX5)' Form 8586'pre-2008 buildings '
     b Low-income houslng credlt - other. Form 8586'pre-2008 buildings
     c Low-income houelng credit - sec,tion 420X5))' Form'8586 - post-2007 bulldings
     d LowJncome housing credit - other, Form 8588 - post'2007 bulldlngs
     I Qualifiod rehabilitationexpenditures'rental real ostate. ' ' '...
     f Other rental roal estate credits .
     g Other rental credits
     h Undistributed capital gains credit . . '
     i Alcohol and cellulosic blofuel fuels credit . '
     J VUork opportunltycredit......
     k Disabled accoss credit
     I EmpowetTnent zone and rBn€wal community emPlo)nnent credit
     m   Credit for increasiilg research activities
     n   Credit for employer soclal securlty and Medicare taxss . . ' . . '                  .


     o   Backup withholding
     p   Other credits - soe lnformation below
         Form 3468, line 11m, credit from an elec{ing large partnership
         Form 34ts8, lines 9 and 13, credit from
         RESERVED                                                                                     Form 8881 ..
         Form 8820                                                                                    Form 8882 . .
         RESERVED                                                                                     RESERVED
         RESERVED                                                                                     Form 8908.    .

         Form 8835                                                                                    Form 8910.    .


         Form 8845                                                                                    Form 8936.    .


         Form 8874                                                                                    Form 8941 .   .
                                                                                                      Other
                                                                                                                                                     us106st(2
O 2fl8   Unlver6al T8x Systms, lm- sndlof I'E afflliat88 8nd liereors' All dqhts res€rved'
                                         Case 3:20-bk-01951                                    Doc 1      Filed 06/24/20   Page 39 of 158

   us 1065                           I                                                                K-1 Attachment
                                                                                                                                .'716
                                                                                                                                                         2
              THE             HOCTtt.'AN              rtY        PARTNERS                  P                                5           %

  16a       Name of foreign country or U,S. possesslon ' . .
        b   Gross lncomo from all sourc€s
        c   Gross income sourc,ed at partner level . ' .
            Foroign gross income sourced at partnership level
        d   Section 9514 category            .


        6   Foreign brancfi category
        t   Passlve category
        s   General category
        h   Other.        .


            Deductlons allocated and apportioned at partner level
        i   lnt€r€st €xpense
  a.

  I5,
            Other,        ,



            Deductions allocated and apportioned at partnershlp level to foreign source incorne

   In
  $r
            Sec{ion 951Acategory
            Foreign brandt category

  .&m       Passive category
  9n
  o         General category
  tLo       Other.    .

            Othsr lnformation
        p   Total foreign taxes Paid
        g   Total foreign sccrued
        t   Reduction in taxes avallable for credit
        s   Foreign trading gross recslPts
        t   Extratenitorlal lncome exdusion. . . .                      .


        u   Section 951A(c)(1XA) testod lncome.                             .

            Tested foreign lncome tax
        w Sec,tion 965 information
        x Other
  17    a   Post-1986 depredation adjustment.
                                                                                                                                                 -1" 135
  o         Odinary income           .
                                                                                                                                                     1   5
   E
   d)
  .g        Rental    .

  F     b   AdJusted galn or loss
  sx        Ordinary income
  nt        Rental
  E     c   Dopletlon other than oil and gas
  :5
  .E    d   Oil, gas. and gaothermal properties - gross incoms
  .E    e   Oil, gas, and geothermal properties - deductions
  E
  o     f   OtherAMT ltems. Pre'1987 depreciation adjustment lncluded in line 17f
  o         Ordinary income          .
  c
  o         Rental .
            Other *                                                                                                                     Amount

  18        Tax-exempt interest income and nondeductible expenses
            Tax-oxempt interest income
        b   Other tax-exempt interest incorne                    .

        c
   19 a     Distributions of cash and marketable securities
        b   Distribution subject to section 737 .
        c   Distributions of
  20 a      lnvestment income            .

        b   lnvestmgnt expenses .            .


  c     c   Fuel tax crodit information . . . .
  .9    d   Qualified rehabilitatlon expenses, other than rental real estato
  s
  E     e   Basis of energy property
  o
  .E    f   Recapture of low-income housing credit, seclion 42O(5) applios
  o     s   Recapture of low-income housing credit'other
  E
  o     h   Recapture of investment ctedit . .
        I   Recapture ofother credits .
            Look'back interest -
                                                               trd   lbensols. All rights rssoryed.                                              us1065K3
@ 2OlB UntuersalTax Sy6tem5, lm. arKl/ot     its   aiilletes
                                         Case 3:20-bk-01951                                  Doc 1    Filed 06/24/20   Page 40 of 158


         us 1065 {201 8)                                                                             K-l Attachment                       Paqe 4
                 TTIE       HOCH                   FAM                        TNERSH     I   P                           5.776
          Compub parine/s interest?
                                                                                                                  $v".    n*o           Amount

     A    Beginning balance
     B    Partnels conthutions .               .

     c    lncrease in shars of partnership liabllitiea .                      .

     D    Ordinaryincomo.,..,.
     E    Separately stat€d income
     F    Subtotal     .:.,.r!
     G    Dislrlbutlon3
     H    Decrease ln ehare of partnerehip liabilities                    .

     I    Ordinaryloss...                                                                                                                 2      834
     J    Separately ctated losses and deductlons .                       .
     K    Nondeductible exponles .
     L    Otheradjustmenb.. . . . ; . . . . .
     M




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                                                                                                                         Final K-1                        Amended K-1                    OMB No. 15]1F0123


Schedule K-i
(Form 1065)
                                                                             2@18
                                                                                                         1            Odlnary business lncomo 0oss)             l5      Credits
c}epartnent ol tho Trea6ury
                                                            For €lendaryeaf 2018. ortaxYear
lntemal Ror€nuo Sewlcs
                                                                                  31                     2            N€t rental re€t €8bte income (los8)
        b€glrinlng          0               0               endhs

Partner's Share of lncome, Deductions'                                                                   3            Cxfier net rentil:inctrrle   (b$)          t6     Forslgn trangsdbns

credits, etc.                               }    See back ol furm and separstg         lltltruollos.
                                                                                                         4            Guarant€ed Paymentg
      Part    I
  A      Partnarshib!,snPloyer ldsnfficatlon number
                                                                                                         6            lnterest lncome
                          979
  s                                addres9, clty. state'              code

         DCl IN VE s TMEN r PARIN ERS LLC
                                                                                                         68           Ordlnary divldends


                                                                                                         6b           Qualmed dtuldendq
         1 5258         THE GREENS               WA Y
         J                                 BEA         Ft    32
                                                                                                         6c           Divid€nd oqulvalents
  c      IRS Cenler whste Psttnershlp fil6d.retum

                                                                                                         7            Royaltiea
   D              Checkif ttrie.lg a publidy traded parhetsttlp (PTP)
                                                                                                                                                                                   minimum la{ (A!rT} items
                                                                                                         I            .Net short{srm capltal geln 0oss)          17
      Pad ll                                                                                                                                                     A                                 :1. 806
   E     Partnefs lderdlfulnq number
                                                                                                         ,9a          Net long-t€rm capiisl galn (loss)

   F     Partrer's name. addeBs, city. state, and ZIP code
                                                                                                         :9b          Collectlbles (28%) gain (loss)
          DAVID C TRIEDEL
                                                                                                         8c           unrecaptured oedion 1250 galn              10     Tbx+xgmit lncoms and
          ?OO6' BRIARHI],L CT                                                                                                                                           nondeductlble expenseg
          TAMPA FIJ 33625-
                                                                                                                      ,Nel sec;tion 1231 galn (loss)
   G              G€{rersl partnet or'LLC                             Limlted Pattn€r orolher LlC
                  mefnberrmanager                                     memb€r
                                                                                                                       Otherlnmme (loss)
   H EI           Domestlc Parh€r                            f]       roretgnpartncr                     11




   It    tlerd type.ot enuly b thlc.parlnan
                                                                                                                                                                 19      Otstribrllons
   t2     It this partner 18 creurement dan (rRA/SEP/Keaghreh),
                                                                             ciok   here

   J      Psrbeds shata of profil loas. and capital (8€e lnstrudbns)l
                                B€glnnlng                                     Ehdlng
                                                                                           9.1      4    t2            Secibn t79 dsduclion
                                                  9 19
                                                                                                                                                                  2J     other lnloamauon
                                                  o                                            000
                                                  0 00                                     0.000 t3                    Olher deduction8



   K      Partner"g shar€ of lisbilities:
                                           Boglnnlng                            Endlng


          Oustf€d nonreoours
                                                                                                             14        Self-emdoymont earnlnge (loss)

                                                                                                                                                                                                         ii
    L     Parheds capital account analysis:
          Beginning capital      a@ount.           '        s
          Capilal conftbuled duting lho Year                $

          Cunont year lncrease (decrease)          .

                                                            $     I                                 )
          \A/lthdrawals & distributions      .


          Ending capilal sccount       .                    $                                                  c
                                                                                                              o
                                                                                                               0,
                                                                                                                  a
             X    rar   basls fl *ot fl                     sectlon 704(b) book                               3
                                                                                                              @
                   Olhier (€xplain)                                                                           E.
                                                                                                                  L
                                                                gain or loss?
                                                                                                                  o
             Dld lhe oartner contribute properly \,Wh a built-h                                               LL

          fl vu. E *o
                  tf      " attach etatement
                                                                                                 www.irs.gov/Form1065                                                        Schedulo K-1 (Form 1065) 2018
                                                           Form 1085-
  For Paporwork R€ductlon Act Notico' see lnstructlons for
  BCA
                                     Case 3:20-bk-01951                       Doc 1       Filed 06/24/20                   Page 42 of 158
  US


10 a Unracaptured scdlon     galn for llnes '10

11 a Otherportfollqlncome (oes)..', "'
   b lnvoluntary conversloos
             (l) Fofu 4884 8t28% fate      ..
     c       1256 conhac.ts and straddles. . . . '
     d Mining oxplordtlon'sosts        recapture '
                                                                                         rr';..!..!.r
     e Cancellatlon of debt
     f       Other income (losc) .
                                                                                         L i.....a;..


             (1) TWs and   amount                                     -      , ,                                 "
12   a       Sectlcjn 179 deduc{lon for ordlna.ry lncome or loes
                                                                 qr loss
     b       .$ectlon 179 dedudion br mntal t€al sstate.lncor.ne
13           Other dedudions
                                                                                           n       Educational asslstanca bonelits . . . '

     a Caeh conttibutlons' 6O%
                                                                                           o       Dependent care bengfrts .

     b Oash contrlbutions - 30% '
                                                                                           p       Preproductive period expenaes . . .   "
                                                                                           q      .Commercial revitalizatldn deduc{ion
     c Nsncash contributlons - 50%
                                                                                                   fiom rsnl6lr€el estate . .
     d Noncesh contributlons - 300/6 . '
     I Gap. gain proporty to a 50% org. - 30%               '.'                             r       Pensions and lFlAs

     I       Cspltal gsln ProB€itY; 20%
                                                                                           s        Refurestatiqn experrs€ deduction . .   .


     g Contributione.lOAo/9,, ' -                                                           t       Reserved.

     h lnveslment'lnioreet exp9nse                                                          u       Reserved

     I       Dedu0-tions-royallylncomg!....            -;. '- ';
     J       Section 59(e)(2) exPenditures .
                                                                                            v       Reserved

     k       Dsdgp0q4s - poiffo$o;2%'fioor . . .,. ".' . '.'
                                                                                          ur        Penalty on oarlY

     I       Dsducfigns-portfotQ.other.         !   i.... ! ',   r
                                                                                                    withdrawal of savings '
                                                                                                    It) Fonn 4884, llne 32

14   a Not €tamlngt               fom solf-imPloymsnt '
     b Gross fanning         or iahlng income . .


             Credlts and crBillt r,ecapturg
                                                                                  bulldings ' ' ' ' '
     a       Low{neome h9uglog:ct&dit - eedion,l2(li(5)), Form 8586 ':pra'2008
     b       Low-lncome houslngcredit-Other, Fonh 8586 -
                                                             pr*2008 bulldlttge
                                                                        pet'2007 buildrgs ' ' ' ' '                 ''
     c       Low-tncome houstng oredit. geclion 42(lx5))t Form.858er
                                                           - po6t-'2007 bulldings
     d tow.incoms         housing credlt 'other, Foim 8688
     e Quallfied iehabllltatlon       expenditures - rentral ieat sstsle
      f       Other rental real estats credlts
      g Other rental crcdits . . .     .


      h Undietributsd capital.galns         ctedlt.    .

         I    Aicohol and cellulosio biofuel fuols credlt '
         J WorkopPorlunitycredlt,'..'..
      k Disobled access credlt
      ; ::ffi:ff :::ffi ili":ffi1fr;:yi::::T::' T:: ii.i"o,"o. .*; i; ;;; n""ni"" """"'""'' n
         n Creditfor employer:sochl seflrity and Medicats taxes
         o Backupwilhholdlng. .'.r'.                      .."r:..'!"
         p Other cradita - see information below. :'" ''
                                                                 partnership
              Form 3488. llne 11m, credlt from an electlng large
              Form 3468; llnes,g and 13' credlt ftom
              RESERVED
                                                                                                        ;;;;;;
                                                                                                        Form 8882,
              Forrn &820
              RESERVED .,..........:                                                                    RESERVED
                                                                                                        Form 8908.
              RESERVED
                                                                                                        Form 8910   .
              Form 8835
                                                                                                        Form 8936    .
              Form 8845
                                                                                                        Form 8941    .
              Form8874..,.;.;
                                                                                                                                               usl065K2
 @ 2018 Uolvereal Tax SyJems, lnc. and/or itt atnbEs and lcrnsolc'
                                                                   A! rlghtr rorei/sd.
                                   Case 3:20-bk-01951                               Doc 1        Filed 06/24/20   Page 43 of 158
                                                                                            Attachment
                             DCTRI                                                                                 9. L94
16             Name of forelgn countrY or U.S. possesslon
               Gross lncome from all sources
               Gross income sourc€d at parlner level
               Foreign gross lncome sourced at partnershlp level
               Sediofl 9s1Acategory
               Foreign b.randt category
               PasshtecategorY                            i,'!'"
               Generalcategory..,..
               Oher..                                     ." ":'
               Deduc*ions'allocaled and apportloned at partnor level
       i       lntdfestexpenso                                             .".','       ";""
 o.
 5r
 tt
               Other.    .

               Deductions allocated and apportioned at partnershlp level to foreign
                                                                                    source income

 3r
 c             Section 95lAcategofy
 gl            Forelgn branch category
               Passive cetegory
.5m
 Pn
 o             Goneral,category.       "   .   .

l,.o           Olher.    .

               Olher information
               Total   foreigntaxesPaid '.., '; '
               Total foreign accrued
               Reduc'tlon in taxes available for credlt . .       .

               Forslgn tradlng goss receipts
               Extratqlritodol lhcome exclusioh. . -.. .'             -'
               Ssction g51A(cXlXA) lested lncome        .  " "
               Tested forelgn lncome tax
               Sectlon. 065 informatlon


 17            Post-l986 depredation adjustment......,
 o                                                                                                                                      806
 E             OrdinarYlncome.....
 c,
               Rental.
 tr
 E b
     Adjusledgainorloss.',ii'."rr"r'
 E             Ordlnary lncome
 x(!           Rental
 E
  a
      o        Depletlon other than oil,and gas . . : . .     "
 .E d          Oil. gaa, and geothetmal proporlies'gross income '
  c e
 .E            Oil, gas, and geothermal properties - deduc'tlons '
  (.t
 .:
      I        OtherAMT ltems. Pre-1987 depreciatlon edjustment lncluded in line 17f
  o            Ordinary income     .
  E             Rental   .
  d)
 v                                                                                                                          Amount

               Tax-exempt interest lncome and nondedudible exponses
           a   Tax-exempt intsrest lncome ' ' . '
           b   Other tax-exompt intsrest lncome


                Distrlbutlons of cosh and marketable sec{rities
                Dlstribution subjecl to section 737


  2g  a         lnvesiment income      -

      b         lnvestment expenseg

   C
      c         Fuel{ax credit lnformation
   o d
  ,j:           Qualified rehabilitation expensos' other than rental real estate            ''
   o
   c e          Basls of energY Ptoperty
   o
  .g f          Recapturo of lor'income houslng credit, seetion 42(D(5) applies

  Eo g          Recapture of lowlncome houslng credit - other
  o h           Recapiur€ of investment credit.       -

      I         Recapture of other credits

                                                                                                                                     us1065K3
@ 2016 Unlwrsst Tax Sysloms, lnc ars,or lts alllllele! and licansors' All rlghlsrewd.
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                                                                                                          ent                                  4
USl                   2       I                                                              K-1
                                                                                                                 9.194       ID:
            DAVI D        C FRIEDEL

     Combute Partne/s intercst? .         .
                                                                                                        ,..EIvee fl*o              Amount



A    Beglnnlng balance
B    PErtne/s contributions
c    lncrease ln share of partnership llabilities           '
D    Ordhery lncome '
E    SeparatelY stated Income
F    Subtotal
G    oistributions
H    Decrease in,eharo of partnership llabilities
I    Ordinarylosr...
J    Separately stated losses and d€ductione '
K    Nondedudlbleexpenses' :        . .' .
                                        "'             ""
L    Otheradjustmont6. ' ..




                                                                                                                                            us1065K5
@ 2010 Univorsst tax S!4stomr. lna and/or lG   dnidd   and llcensort' All tlghts reservad'
                                            Case 3:20-bk-01951                               Doc 1            Filed 06/24/20                     Page 45 of 158
                                                                                                                   I-l      rm"rr-r                I     I nmenaeo r-t                   OMB NP. 1q{5{,123


Schedule K-l
(Form 10651
                                                                                    2@18
                                                                                                               I         Ordinary busln€ss inclrn€ (los3)        15      Credl!s
Department of tlie Treasury
                                                                     For caiendar Yeat 2O1 8, or tax Yeal
lnternal Revenue Servfcs
                                                                                                  2018         2         Net rental real estaE lnmme (los8)
          b€glnnhg                         ),/           L           onding


FartneCs Share of lncome, Deductions',                                                                         3         Othernet tental incomo (loss)           t6      Forelgn tramac{ots

Cfedits, gtc'      > soobackotformandseparato lnstnjctlons.
                                                                                                               4         €uarahtoed Psymsnts
      Part   I
  A                                        ldentificatlon numb€r
                 ;8                                                                                            5         lntgrest incoine

           ParkErshlp'e natne, address, city. state, and ZIP cpda
                                                                                                                                  dlvidends
                       INVESTMENT PARTNERS TtC
                                                                                                               8a
           DCI
                                                                                                               8b        Oiralified dividerds
           1525b THE             GREENS WAY
             ACKSO              LI,E      FIr                            2    50-
                                                                                                               6c        Dividond equivalents
  c        lRs          whele patlnership fitsd retum
                 den
                                                                                                               7         RoValtles
   D      l-.l    Ctte"f it tt ls ls   I   publidv traded partne6hlp (FTP)

                                                                                                                                                                                            tax (ArvlT) itomE
                                                                                                               I         Not short-t€rm cepltal gain (toss)       17
      Part ll                                                                                                                                                     A                                        291
           Pd.!rq/s ldendfylng numb€r
                                                                                                               9a        Nel bng-term capital gain (loss)

   F       Partnsfs name, addrcs' city, 6'tate. and ZIP code
                                                                                                               9b        Collecdbles (28%) galn (loss)
           BII,T, STEPP
                                                                                                               8c         Un.ecaptuEd section 1250 gain           18     Tax-exeinpl income and
           ?701.. CIRCLEVIEW CT                                                                                                                                          nofl deductibl€. expqnses
           PIANO      ?50
                                                                                                               t0         Not secllon 1231 galn {loss)
   G              Gens(gl partneror LLC                                       Llmibd Partnet or other LLC
                                                                              member

   H       ITI
                  memb€r-maneger
                  oomesoc partner                                     n       Forelgn pariner.                 1t         Other income (los!t)



   ll      Whattypo of €ntlvis thls Partn€r?                     Ind!vldual                                                                                       19      Dlstlbutions
                                                                       oheck hete
   l2      lf:this parher ls a talrem€nt plan {lRA,SEPlKeogh'etc')'
   J       Pannars ehare otp.oit     lo$. and  capltal (see lnstrucllon!):
                               Beglnirlng                                              Endlitg
                                                             6. 'l                                 6.5?0       12         Section 179 deduc{on
                                                                                                                                                                   20     Olh4lnformalion
                                                             0 .00                                 0. 00
                                                             0. 0                                   -   000    {3         Olh€r deducttons



   K        Partnedssharsofliabtlitles:
                                      Beginnlng                                          Endlng


            Oudifed nonocoufs
                                                                                                                   M      Sef€mployment eamlngs (loss)



    L       Partnsfacapltalaccountanalysls:
            Beginnlng ca,ltol account            .                   $

            Caplhl ctnblbuted durlng the Year                        $

            Guffenl year increase (ded€asa) .
            Wthdrawals & dlslribudons                .
                                                                                                                    .>
                                                                                                                     C
            Ending capltal gccount          .
                                                                                                                    o
                                                                                                                    o
           E      Tax bagis            fl        enor         Tl     secrion 704(b) book
                                                                                                                    a
                                                                                                                    :)
           tl     Other (explsln)
                                                                                                                    a
                                                                                                                    E
                                                                                                                    u
                                                                                                                    o
                                                              galn or loss?
      M     Did the oartner conlribute ptoperty wih a builtln                                                       U-

            fl "",tf       'atlach
                                       Elno
                                                                                                         w!w/.lrs.gov/Form1065                                               Schsdule K-1 (Form 't0661 2018
  For Papenvork Reducdoo Act Nollcs, soe lnstrucuons for
                                                         Form 1066;
  BCA
                                              Case 3:20-bk-01951                               Doc 1 Filed 06/24/20                       Page 46 of 158
    US 1065                                                                                   ,K-'t Anacnment                                               ZgIU


                                                                                                                                              - 57 0
10    a Unrecaptured section 1250 gsin fot lines 10 and 11 b'
11    a Otherportfolio inoome (loss).....,.
      b lnvoluntary conversions
            (1) Form 4084 at 28% rate
      c     1255 contrads and streddles
      d Miniqg exploratlon costs recapture
      e Cancellation oJ debt .
      f     Otherlncomeflosa).. : ..,..
            (1) ]lr.pe and amount


12    a     S€ctlon 1 79 deducuon for ordlnary lncome or{oes
      b     Sectlon 179 deductlon for rental real ostate lncome or loss                          .

't3         Other deduc,tions                                                                               n Educatlonal asslstance b€hefits ' . ''    .

      a Cash cqniributions - 507o                 .                                                         o Dep€ndont care benelits
      b Cash contrlbutions . 30%
                                                                                                            p Preproductiveperlodoxpenses...'.
      c Noncash contribudona' 50a1o.,.... . . .                           ..'                               q Commerclal revltalization deductlon
      d Noncash Contributiont - 30% . .                                                                         lrom rental real estate
      e Cap. galn property to a 50% org . '3}o/o .                         '    .                           r   Penslons and lRAs
      f Capltal gain ppperlY- 2A% . ' ,                                                                     s   Rafgreslatlon eipense deductlon . . .   .


      s Contdbutiong. $AYo..                    !...,.        '
                                                                                                            t   Reserved
      h lnvegtmont interert expense. . .                          ....'   ...
      I D€ductlons - royalty lncome
      I     Ssdion S9(e)(2)expendltureE'^..'..                                                              v Rgserved
      k Dedustlons - Portblio- 2Vo tlaor ...' ..                                                            w   Penalty on eady
      I Deductions -portfolio' othet. . :'' .. .                                                                withdrawal of savings '
                                                                                                                (1) Fom 4084, line 32
                                                                                                                                 ard amount

14    a Net eamlngs (lossl ftom self+mployment.
      b Grose farmlng or fishing lncome '

            Credits and credil rocapture
      a Lowlincomg housing credlt - sectlon 420x5)), Form 8586 - pre-2008 buildingr . . . . .
      b Lowjncgme houslng credit - othqr, Form 8586 - pre'2008 bulldlngs
      c Lowlncome housing credit - sectlon 420(60; Fo.rm 8596 - pmt-2oo7.bulldings . . . .
      d Lo,'v-lncoine housing credit' olher, Form 8588 ' post-2007 bulldings
      e Quallfled rehabi$tatlon expenditures - rental real eatate
      f     Othsr rental,raal estat€ credits              .
      g Other rental credltg              .


      h, Undistdbuted            capltalgalnscredlt..,..
                                                       ?. : I
       IAlcohol and celluloslc blotuel fuels oredlt. .
      I Work opportunity cr€dlt
      k Dlsabled accees credit
      l Empowement zong and teneural community employment credit
      m Cndlt for increaslng research activitles
      n Credit for employer soclal security and Medicare taxes . . . . . '                              .


      o Backupwlthholdlng...
      p Other credits - see information below . .
        Form 3468. line llm. uedit from an elecfing laqe partnershlp                                    .


        Fonn 3468, lines 9 snd 13. credit from
             RESERVED                                                                                           Form 8881   .

             Form 8820                                                                                          Form 8882   .

             RESERVED                                                                                           RESERVED
             RESERVED                                                                                           Form 8908.
             Form 8836                                                                                          Form 8910.
             Form 8845                                                                                          Form 8936    .


             Form 8874                                                                                          Form 8941    .

                                                                                                                Other
                                                                                                                                                            us1065K2
@     2Ot   e Uniiiorcat   tsr Synsms,   klc. 6ndror lt3 aftlllstes and llcohsoF..All rlghts rc6€rvcd
                                    Case 3:20-bk-01951                         Doc 1        Filed 06/24/20   Page 47 of 158

us              1065                                                                              ment
                                                                                                              6.570
                Name of foreign counW or U:S. possession
                Gross lncoms:ftom all gources
                Gross lncome.sourced at partner level ' '
                Forelgn. gross'lncome soulced at partnership level
       d        Sedlon 95{Acategory       -

       e        Forelgn brancfi categorY
       I        Passlve categorY.
       s        Goneralcat€gory                                                 t"""
       h        O,ther - .-.
                Dedudions allocated and apportloned at partnerlevel
       I        tnterest sxpens€
th
c t             Other..                                                                        "'r""'
o                                                                         to for€ign sourcs lncomg
u               Deducfions allocated and apportioned at paltnefshiP level
                Sootion gslAcategory '
 {S
 u,
 cg     k
        I       Forelgn branch cat€gory
 c            category
.g m Paealve
 E n General cetegory
 o
IL o 6ther. .
                Other infonnation
        p       Total tuelgn taxea Pald
        q       Total foreign accrued '
        r       Reduclion in taxos availsble for credlt . . '
        6       Foeign tradlng gr'oss receipts.
        t       Extratenitorial lncorne exclusioll I I r . - . .
           u    Soation 951A(G)(1XA) testpd income. . .             '

        v       Tested forelgn lncome lax
        w        Sec'tion 965lnlormation... .    .'..   ..   ..''
        x                                                                                                                          29t
  1V             Post:1986 depredatlon adJustm€nt..           r'
 o               Ordlnary lncomg '
 E
 6,
                 R6ntal
 li
 2 b Adjustedgalnorloas ..,.r'r."',',,
 g Ordlnary lncome
  x6             Rental
  E
  a
            c    Depletlon other than oll and gas.
            d    Oil, gas. and geothetmalpropertles-gross               income'''''''
 .g
 E
  E
            e    Oil, gas, and geothomal pmpertles'dedudlons
  o         f    Oft;AMT llems. Pre-1987 depreciatlon adlustment included in line't7f
  (o             Ordhary lncome.
  c
  iD             Rental   .
                                                                                                                      Arnount

                 Tlx-exempt lntorost' income end nondeductible expenses
            a    Tax-exemPt intersst incom€ .
            b    Othsr tax.exempt interest lncome        .




      l9 a       Dislributlong of cash and marketable sec1rdties
            b    Distribution subiect to sedion 737


      20a        lnvestmentlncome '. '.
            b    lnv€etment expenses. :.' . . .
            c    Fuel tax credlt information . . , .
  c
  .gd
  fil
                 Qualified rehabilitation expenses' other than rental real
                                                                           estate ' '   '



      !e         Basis of energy ProPertY
  €r
  bs
                 Recaplure of lowJncomo houslng crodit' section 42O(5) applies
                 Recaplure of low-income housing credit'other
                                                                                        '


  s
  6h             Recaptur€ of investm€nt credit . '
            I     Recapture of other credlts
                  Look-back                                                                                                     ust065K3
                                                                           m3eiled.
@ 2018 UniwrtslTu Systeme, lnc and/ot ils gflfat€r and licensrs All righti
                                     Case 3:20-bk-01951                                 Doc 1       Filed 06/24/20   Page 48 of 158

                                                                                                  K-l Attachment                                   4
us 1065 { 20{8}
                                                                                                                       5.57Q     Vo
               BII,L      STEPP


       ComPute Partne,f$ interest?                                                                             $v"'    il   *o        Amount



A      Beginning balance
B      Psrtngfs contributionG'
c      lncrease in share of partnership liabilitles . . ' '                .



D      OrdinaryilcomB.....
E      Separately stated income
F      Subtotal
TJ     Distributlons
H      Decrease ih sharo of partnership iiaoilities . . . '
I      Ordinaryloss...
J      Separstely statod losses and deductions. . . '                      .

K      Nondeductibls expenses
L      Olheradiustments....
M




                                                                                                                                               us1065K5
@   20 l 8 Unlvorsel Tax Syttemg,   lna   androa its   aftifatos and lb6nsots' A! dghF r€5aNod'
                                          Case 3:20-bk-01951                      Doc 1          Filed 06/24/20                  Page 49 of 158
                                                                    Depreciation and Amortlzatlon
Form
            4562                                                    (lncludlng tnformation on Llsted Property)                                                             2@18
Oapehncfil otlhs lleo.l.,'Y
                                                                                  )    Attach to your tax return.                                                      Attadment
                                                                                              for                        the latest
Name(s) shown on rotum                                                           or activity to whlch thle form relates
 CI               E                PA           s   I,Lc            OTIIER DEPRECI                                                                 2   0-B 03
Part    I             Electlon To ExPense                                              n     Section 179
                                                                                Part
 1 Maximumamount(seeinstrucfions) . : . : . . ' '                                                                                                                          t
                                                                                                                                                                           2
 2 Total cost of section 179 proporty plaoed in seMce (seo instructions).                                                                                                  3
 3 Threshold cost of section 179 property before reduction inqlimitation (seo lnstructions)                                  .
                                                                                                                                                                           4
 4 Reduction in limitation. subtracl line 3 from line 2. lf zera                           less, enter'&'
      Doltarllimitation for tax year. Subtract lins 4 from line 1. lf zero or less, enter -0'- tf married
                                                                                                          filing
 S                                                                                                                                                                         5
                                                                                                     {b} Cost (business      use only)                 {cl   Eleded cost
 6

                                                                                                                                                                                            ,.i   ?
                                                                                                        7
 7  Listed propqrty. Enter the amount from line 29
                                                                                                                                                                           I
 8 Total elecled cost of sectlon f 79 pfoperty. Add amounte in column   (c), lines 6 and 7
 I  Tentative deduction. Entorthe sma[ler of line 5 or line 8
                                                                                                                                                                           I
                                                                                                                                                                        .to
10 Carryover of disallowed deduction from line 13 ofyour 2017 Form 4562.
1l Business income limttation. Enter the smaller of businese income (not less than zero) or line 5. See instructions                                           .   .    11
                                                                                                                                                                       12
'12 Section 179 exPense deductlon. Add lines I and 10, but
                                                              dont enler more than line 11
                       of                                                        9and1                       2                                13
Not6:
Part ll                                                                   and                            on
14 Special depreclation allowanoe                                                (other than listed property) placed in service
   during the tax year. See instruc-tions .
                                                                                                                                                                       1t
                                                                                                                                                                        15
15 Property subiect to sectlon 1         ) election                   .
                                                                                                                                                                        t6
Part lll

                                         in seMce in tax years beginning before 2018                                                                                       7
  7 MACRS deductions for assets
18 lfyou,are eldeting 10 groupany assets, placedln eervice during the taxyear into one or morq general
   assolaccounts ,rcheck   here
                                                                                      the
                                                           (b) Mon&ond           (c) gasl$tordepredalion
                                                                                                                 (d) R6covery
                                                            ysrp.hced            (busin$s/lnvestmsnt uss                         (6f Conv€ntion         (0Mehod         (gl 9sprsdatb{t deduction
                (al Chs6ificauon   of ProPa4Y                                                                        perlod
                                                             ln seryice           6ly-6ee    instrucilons)


                                                                                                                     5

       c
            1



                                                                                                                  25 vrs.                                    SIL
       h Residenlial          renlal                                                                             27.5 vrs.               MM                  s/L
                                                                                                                 27.5 vrs.               MM                  srL
                                   real                                                                           39 vrs.                MM                  S/L
                                                                                                                                         MM                  s1L
                                                                                                        Year
                                                                                                                                                             S/L
20
                                                                                                                   12 vrs.                                   S/L
       c                                                                                                           30 vrs.               MM                  s/L
                                                                                                                  40 vrs.                MM                  S/L
Part lV                                              rctions
                                                                                                                                                                       21
21 Listed          property. Enter amount from line 28
22 Total. Add amounts from line 12, lines 14 throug h 17, lines 19 and 20 in column
                                                                                    (g), and line 21. Enter
                                         your retum. Partnerships and S corporations-see                                                                               22         L4B 899
   here and on the appropriate lines  of
23 Forassets shown above and plaCed in ssrvice dUring the cunent year, enterlhe
           of                      to                                                                  23
                                                                                                                                                                           Form 4562 (2018)
For Paperwork Reduction Act Notice, see separate lnstructions.
6CA
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                                                                        2018 ASSbT DETAIL        REPORT


                Date               Bus. 1?9+                            Rec.        Prior CUrrent Next Prior Current Gain/            Safes   Date

:::::::::::- -:::: -::::-- ::: -:"::: -:i:::-::::::- lll: !I -3lll:- -31-11- --::i:- --Y:-- --Yl - -:::::- -:::::- ::::
Form: Bonus Deprec'iatLon / 1?9 Worksheet
Rental Propertl': N/A
 Depreciation C1ass: N/a
  In Service Year: 2009
oRGANTZA?rON 06/09 114?05          100            114705 AsOR[rZ        L5.0         65000 1647            7647
   In Service Year: 2010
TRADEMARK 01l10 181.968            t-00           181968 AI'{ORTTZ      15.0        100082 !2131           12131
   In Service Year: 2015
CoMPUTER- rN 02115     746         100               3?3 200       DB s.0 HY          6'39          34        20     266     34
   In Servioe Year: 2017                                                                                              co
CELL PHONT 05/ 1,1     586         100               293 200       DB    5.0   HY         35l_      86        52             86
OTTER BOX FO 06/17       64     100                    32 200      DB    s.0   HY           38      10         6       6     10
888 BESTBUY 0'7 /7'l    31-'7   100                  r.59 200      DB    5.0   HY         r.90      5L        30      32     51
CELL PHONE S ]"1/1?     L2O     100                                                       L20
LONG TERM DE 06l].7     966     100                  483 200       DB    5.0 tiY       579         r.48       89      96    r.4   I
srcNzoo     vrN 06/]-'7   237 4 100                 118 ? 200      DB    5.0 llY      1425         364       2]-8    238    364
srcNzoo     vrN 06/11     2543 100                  L2'7L 200      DB    5.0 r{Y      L526         390       234     254    390
srzNzoo     vrN9 06/1"7   2680 100                  L34 0 200      DB    5,0 HY       L608         4 r"1     246     268    411
srcNzoo     vrNs 06/11    2680 100                  134 0 200      DB    5.0 HY       1608         4L1       246     268    411
srcNzoo     vrN5 05/17    2580 100                  134 0 20a      DB    5.0 llY      1 608         4LT      246     268    4t_1

srcNzoo     vrNT 06/1?    2815 100                  1401 204       DB    5.0 HY       1 689         432      259     28t    432
LONG TERM DE    O8/T7       150 100                    ?5 2A0      DB    5.0 HY             90       25       15      15      25
CAP   LEASE     O8/T'7      T9'I 100                   99 240      DB    5.0 llY          1.18       33       20      20      33
cAP   LEASE     08 /7'1    3509 100                  I't54   200   DB    5.0 HY       2ta5          s85      35 r.   350    585
cAP   LEASE     08/L"7     1483 100                   742 200      DB    5.0 HY           884       247      148     143    241
cAP   LnASE     08/17      3622 100                  1811 200      DB    5.0 HY       2113                   362     362    604
                                                                                                   _::1
                          26'786                    1333.3                           3-61t2        4208     2522     2659   4208
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               Date                Bus.   1?9+            B,ec. Prior Current Next Prior Current                                Gain/   SaIes   Date
Description Acqd Cost              Use Spec. Basis Method Per. Cv Depr' Depr' Yeax AMT AMT                                      Price   Price   Sold


 Depreciation Clase: Autos
  fn Service lear: 2013
AUTO PREDIDE   O2l13 19595 1OO                   19s95 2oo     Db s.0 M0 L9325                 54              L9325   27Q
   In Service Year: 2015                                                                                       ?08L     993
ENTERPRTSE v 01/15 22990 t9A                     t t-495 2OO   DB      5.0 HY     1857 6      993     596
ENTERPRTSE N 03/15 21810 1-00                    10905 2OO DB          5.0 ltY    18670      1047     528      77 65   1047
                                                                       5.0 HY     2A492      L264     758      8522    1264
ENTERPRTSE N 05/15 23940 L00                     r.19?0 2OO DB
AUTO WRAP Sr 06/15    2529 IAA                     1265 2OO DB         5.0 RY      2165       L40       84      901"    r.4 0
                                                                       5.0 llY     21 65      140       84      901     L40
AUTO IIIRAP SI 06/L5  2529 tOA                     r.2 65 2OO DB
                                                                       5.0 $Y      21 65      140       84      901     140
ASTO WRAP Sr 06/15    2529 LOO                    1265 2OO       DB
AUTO r'rRAP Sr 06115  2529 100                    t265 2OO DB          5.0 HY      2165       140       84      901-    140
                                                                       5.0 HY     20492      t264     ?58      85?2    1264
NEW VAN VrN 05/15 23940 L00                      11 970 2OO      DB
                                                                       5.0 HY     24492      1322     :t93     8522    1322
NEW VAN vlN 06/15 23940 L00                      L19?0 2OO       DB
                                                                       5.0 HY     20492      L322     793      8522    tJ22
NEW VAN VrN 06/15 23940 l-00                     l_L9?0 2OO      DB
                                                                       5.0 HY     15665      1.230    738       6515   1230
ENTERPRTSE V 11115 18300 100                       9150 2OO      DB
                                                                       5.0 ttY     2492        319     L92      2492    583
vEHrcrE rN A 02115 3500 100                        35 00 2OO     DB


                       t7247   6                 8? 990                           14603r. 9321        5592     61545   9585
   In Service Year:    20L7
                                                                                                                        465
                                                                        5.0 HY     1903        465     279       317
SIGNZOO VrN 05/17           3r't2 r.00                158 6 2OO DB
                                                                        5.0 HY      14 93      365     219       249    365
ORTAND \TIN 4 O5/T7      2487 100                     L243 2OO   DB
                                                 14 500 2OO DB          5.0 itY   174 00      38 67   2320      2900   38 67
    328 WBAS 03/17
BMlil                   29000 100
                                                      1052 2OO          5.0 llY   ]-3263      3242    r"94 5    22tA   3242
NV 200 3N6CM 05/1,1     22l.05 L00                1              DB
 IMPALA 2Gi11- 7A/L1    17899 100                          2OO DB       5.0 HY    1"7899

                        7 4663                    28 381                          51958       7939    4763      56?6   ?939
                                       Case 3:20-bk-01951         Doc 1       Filed 06/24/20              Page 52 of 158



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                                                                       2OI8 ASSET DEiAIt               REPORT


                 Date            Bus.   17 9+                          Rec.         Prior Current                Next   Prior Current              Gain/   5a1es   Date
                                                                                    Eepr. D€Pr;                  Year                              Price   Price   Sold
Description      Acqd Cost       Use    Spec, Basis Method Per.               Cv                                        AMT         AMT




  Depreciation Class: Computer softwane
   In Service Year: 2011
cor.lPurER EQU   09/11   3000    100                       200   DB 5.0 tlY
   In Senri.ce Year: 2012
NEW COMPUTER  04112 1020 100                      510 200        DB     5.0   HY              50'9
NEw COMPUTER  L0l12 5284 L00                     2642 209        DB     5.0   HY             2641:2

wEB SrrE DEV 10/12 16?38 100                    1.6?38 200       DB     5.0   HY     r.6?38
                                                                                     F---;




                         23A42                  19890                                19889
    In Service Year: 2013                                                                                                   365
CoMPUTER- CO 01/13       739 100                  369 2OO        DB     5.0 MQ                 365                                           4

                                                                        5.0 MQ               L632                          L632           24
CoMPUTER CHA 01/13     1656 100                  1-556 2OO DB
CoMPUTER FrL o2/t3     L295 100                  I295      2OO DB       3.0 M0               1217
                                                  01                    5.0 r.{0              899           5               899            T2
cor4PUTER - C 03/13                                        2OO
                                                       1         DB
                         91-1 100                                                                                                          6L
                                                                        5.0 MQ                r_38?        13              138?
CoMPUTER- CO 04/13     L448 L00                  1448 2OO        DB
                                                                                                                                           48
CoI,IPUTER- TA 05/1"3   1123 100                 tt23      2OO DB       5.0 MQ                107 5        1.4             L0? 5
                                                  146 200               5.0 MQ                 714         t2               1:j-4          32
CoMPUTER - L 06/t3       746 1"00                                DF
                                                                        5.0 MQ                 855         33                 856          90
CoMPUTER- WH l-0/13      946 100                   946 2OO       DB
                                                                        5.0 MQ                 815         3Z                 815          86
col'rPurER - S 10/13     901 l-00                  901 2OO       DB
                                                                                                                              815          85
CoLIPUTER - E 10/13      901 100                   901_ 2OO      DB     5.0 MQ                 815         32
                                                                        5.0 MQ                 s03         22                 503          53
CoMPUTER -   I LLl13     556 l'00                  556 2OO       DB
                                                                                                                            2593          :l.9't
QB -   UPGRADE 09113    2?90  100                 2790 2OO       DB     5.0 MQ                             8d
                                                                                             _1-1?'-
                                                                                             L293L        247              116 54         693
                         L40t2                   13642
    In Service Year: 20L4                                                                                                                   29
 COMPUTER- CO 01/14       1131- l-00               566 200        DB     5.0   HY             1.033        29                 468
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                                                                                                                         Prior Current                  Gain/   Sales   Date
                Date              Bus.       17 9+                    Rec.        Prior Current           Next
                                                                                                                                                        Price   Price   Sold
Description Acqd        Cost      Use        Spec. Basis !'tethod Per.       Cv   Depr. DePr'             Year           Al,lT          AMT



                                                                                                                             396              26
COIIPUER - AU 02114        95'7 100                   470 200 DB       5.0 HY        883        26               1
                                                                       5.0 nY                   21               3           288              2).
CDW DIRECT_ O4/I4          695 100                     3{8 200 DB                    635
                                                                                                                              99               1
HOUSTON SALE 04/14         238 100                     119 200 DB      5,0 nY        2\8         7               L
                                                                                                                             414              30
SCAR],8?GROUP A4/T4       1000 r00                     500 200 DB      5.0 HY        914        30               5
                                                                                                                 c           4L4              30
SCARTETGROUP 04l14        1000 100                     500 200 DB      5.0 iiY       914        30
                                                                                                                             252              19
IPAD- DALTAS O5/I4         609       t00               304 200 DB      5.0 HY        55?        19               4
                                                                                                                                              l9
                                                       304 200 DB      5.0 HY        55?        i.9              4           252
IPAD- AUSTIN 05/14         609 L00                                                              10                           252              t9
IPAD. SAN AN O5/T4         609       r.00              304 200 DB      5.0 HY        557                         4
                                                                       5,O           557        19               4           2s2               19
IPAD- OR],AND O5/I4        609       100               304 200 DB            HY
                                                                                                                                 252           19
IPAD- JACKSO 05/14         609       100               304 200 DB      5.0 HY        557        19               4
                                                                                                                                 252           L9
 IPAD TAMPA 05/L4          60 9      100                304 200 DB     5.0 HY        557        19               4
                                                                                                                                 252           r.9
 IPAD- RALEIG 05/].4           60 9 100                 304 200 DB     5.0 HY        55?        19               4
                                                                                                                                 252           19
 IPAD- LAS VE O5/T4         60 9     100                304 200 DB     5.0 HY        557         3,9              4

                                                                       5.0 HY        557         L9               4              zJz           19
 IPAD - CORP O5/I4          609      100                304 200 DB
                                                                                                                            L37 9             r_06
 IPAD_ CORP S O5/I4        3334      100              i-667 200 DB     5.0 flY      304 5       106              2L
                                                                                     "73'l                           R
                                                                                                                                 334           26
COMPUTER- HO O5/].4         80?      100                404 200 DB     5.0 HY                    26
                                                                       5.0 HY        986         34                  1           446           34
FIREWALL PON 05/14         r-0? 9 100                   539 200 DB
                                                                                                                                 446           34
FIREWALT TA}'I 05/14       1"07 9 100                   539 200 DB     5.0 HY        986         34                  1

                             915 100                    45? 200 DB     5.0 HY         837        30                  I           319           30
 COMPUTER -DA 06/14                                                                                                  I           3?5           JU
 COMPUTER- AD 06/14          907 L00                    454 200 DB     5.0 HY         828        30
                                                                                                                                 828           69
 3 IPAD ADAM 01 /L4        2 003 100                   1001 200 DB     5.0 HY        1830        69              21
                                                                                                                                                    6
 wr-Pr HorsPo 0'l /L4          t62    100                 81 200 DB    5.0 HY         148             6              2            6'7

                                                                        5.0 HY        826        31                  9           374            3l-
 COI.'PUTER O7 /L4             904 r"00                  452 200 DB
                                                         686 200 DB     5.0 HY       1254         4'l            t4              568          114
 cot4PUTER o'7 /14         r372       r"00
                                                                                                                                 276            z5
 1 PAD AND WI O7 /14           658 100                   334 200 DB     5,0 HY        610        23                  7

                                                         494 200 DB     5.0 HY        903        36              t2              409            36
 COMPUTER. AL 08/14            988 100
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                                                                         2018 ASSET DE?AII          REPORT


                      Date                 Bus.   1T9+                   Rec.          prior Current Next Prior Current Gain/ sales            Date

:::::t:::- -T:i -::::--::: -::::: -:::::-:::Y:- lll- ll                                -Tl1:-      -illl-- --::i:- --T-- --Y:-- -:::::- -:::::-::::-
COMPUER-AUST         08/t4      L0)"2 100                  506 2OO DB        5.0 HY       924          36      i.3      418.      36
                                                                                                                                  ?ii
COMPUTERS 3          08/14       9?1 100                   485 2OO DB        5.0 HY       887          35      L2       40L
IPAD DALIAS          09/14       668 100                   334 2OO DB        5.0 HY       610          25      10       2'16      25
COMPUTER             09 /1"4    L0i.2 L00                  506 2OO DB        5.0 ttY      924          38      15       418       38
KEY BOARD       - a9/M            43 100                    22 2OO DB        5.0 HY        39           2        I       18        2
COMPUTER_ AN         IL/L4      L0'1"7r.00                 539 2OO DB        5.0 HY       '984         44      22       446       44
COMPUTER- CO         lr/t4           14t
                                      100                  3?1 2OO DB        5.0 HY       677          30      15       307       30
IPAD-,      GRETCH T2/14          668 100                  334 2OO DB        5.0 HY       610          28      15       276       28
IPAD-       KENNY  1,2/L4         668 100                  334 2OO DB        5.0 HY       610          28      L5       276       28
WILTS NEW       CO   t2/L4       1017 100                  509 20O DB        5.0 HY       929          42      23       421       42

IPAD    -
      ANGEI,         L2/t4        668 100                  334 2OO DB        5.0 HY       610          28      15       276       28
COMPUTER BS          t2174            100                   449 2OO DB       5.0 HY       62L          38      2T       3tz       38
                                -_:::
                                34r63                    r-?0? 0                         31226 r.160          349     14133     122'1

   In Service         Year     2015
WIRELESS HOT 01/15                106 100                    53 200     DB   5.0 HY         91           4       3        38            4

IPAD- AUSTIN O]-/15               668 100                   334 200     DB   5.0 HY        572          29     11       238        29
                                                            382     200 DB   5.0 t{Y       653          35      2)"     2't1       35
COMPUTER  INS O2l15               764 100
                                  124 100                   360     200 DB   5.0 HY        61- 6        36      22      255        36
CoMPUTER- CO 04/15
CoMPUTER- CO 04/15                591 100                   345     200 DB   5,0 ITY       591          35      2t      245        35
                                                          108       200 DB   5.0 HY       1856         109      66       772     109
coMPUTgR- CO 04/L5               2l-68 100                      4

cot"lPUTER- CO 04/15             2168      l_00           L084      200 DB   5.0 HY       1856         r.09     66       772     109
                                                            231     200 DB   5.0 HY        395           24     15       164      24
LAP TOP -COR O5l15                   462 100
                                                                    200 DB   5.0 HY        690           43     26       287      43
COMPUTER-        IN 05/15            806 100                403
CoMPUTERS CO 08/15               221.1 r"00                1106     20a DB   5.0 HY       L892         133      80       78'l    133
COMPUTER-        TX O9l]-5           151 100                3't9    200 DB   5.0 HY        648          41      28       214        41
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                                                                2O].8 ASSEI DETAIL       REPORT


                                                                R.ec.        Prior Current Next Prior Current Gain/ Sales           Date
                                 Bus,
                                                                             Depr. Depr. Year AMT AMT Price Price                   Sold
                Date                     17 9+
Description     Acqd    Cost     Use     Spec. Basis Method Per'        Cv


                                                                                                     26       251        44
COHPUTER A9/15             706 100                 353 200 DB    5.0 HY         604         44,
                                                                 5,0 HY        204L        154       93       849       1_5 4
                          2384 r.00              1 192 200 DB
MAC COMPUTER 1Ol15                                                                                   28       238        46
                            568 100                334 200 DB    5.0 tiY        512         46
IPAD -TAMPA 12/15                                                5.0 HY         572         46       28       238        46
IPAD- SAT,ES 1-2/T5         668 100                334 200 DB

                                                 ;;;;                         13649        894       540      5676      894
                         L5947
    !n Service Year:    2016
                                                                  5,0 HY       3184         335      203.     1089      33s
CORPORATE NE    03/16      4190 100              2095 200 DB                                                   175        56
                                                                  5.0 HY         5'10        56       34
P BEENE IPAD 04116          671 r.00              335 200 DB                                                  L042      38s
                                                                  5.0 HY        3045        385      23L
                0]/16      4007 100              2004 200 DB                                                             L46
DELL BUS ONL                                                      5.0 llY       11 08       3.46      8?       379
                           1458 100               729 Z0A DB
DELI BUS ONL 08/16
                                                 st64                           7847        922      553      2685       922
                          t0326
     In  Serrrice  Year: 20t1                                                                                  L56         33
                                                  189 200 DB       5.0 tlY       345         33
 NETGEAR GS 1 10/17          378 100                                                                   10       13         16
                  02/I7      130 100                65 200 DB      5.0 llY         78        16
                                                                                                                         110
 888   BESTBUY
                                                                   5.0 HY         47q       110        66       79
 DT,II DELi, BUS O4l1]       ?89 100              394 200 DB                                                   L5Z        184
                            1316 100               658 200 DB      5.0 HY        790        184      t_11
 DI,JI DELL BUS O4l17                                              CNHY           667       156        93      I..LI      L56
 DUI DELL BUS O4l17         1112 100               556 200 DB                                                       8      11
                                                                     0 ilY         45         Ll.         6
 DMl DELL BUS O4l17           ? 5 1"00              38 200 DB      5,
                                                                                                                 51        72
                                                                   5.0 HY         308         72       43
 DI"JI DELL BUS O4l17        514  100              2s? 200 DB                                                    72       1r"6
                                                                   5;0 HY         435        1r.6      70
                             725  100              362 200 DB
 DMI DELI BUS O?/].?                                               5.0 HY         't99       2:-_3    L28       r_33      213
  DMI DELL BUS O7l17        1332  100              666 200 DB                                                             182
                                                                                             L82      110       114
                            1140  l-00             570 200 DB      5.0 HY         684
  DMI DELL BUS O7l17                                                                                  't1A      114       190
  DMI DELI BUS    O8/].7    1138  100              569 200 DB      5.0 liY        683        190
                                                                                                                          365
                                                  1245 200 DB      5.0 HY        L494        365      2t9       249
  OP&ANDO   VIN   O5/I1     2490  L00
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Page:                                                         zo18 AS'ET DETATL REP'RT
        '
                                        Rec'   Prior Current                                  Next       Prior Current            Ga   in/   Sales   Date
           Date      Bus' L79+                                                                           AMT         AT'TT        Price      Price   Sold
DescriptionAcqdcostUseSpec.BasisMethodPe::.CvDepr.Depr.Year
                                                                                      442       266         342          442
                                               r.508 2OO DB    5.0 tlY   181-0
SIGNZOO LAS a5/n        3016 100
                                                                         1689         4L3       248         281          413
                        2815 100               14 0? 2OO DB    5.0 HY
SIGNZOO AUST 05/17                                                        t425        .364      2t8         238          364
                                               1187 2OO DB     5.0 HY
SIGNZOO TAI'IP 06/t7    237  100
                              4
                                                                          1172        453       212         296          453
                                               L477 2OO DB     5.0 H.Y
SIGNZOO RALE a6/n       2953 100
                                                                          1608                  246         268          411
                        2680 100               134 0 2OO EB    5.0 HY                 4 1_1
SIGNZOO VIN o6/17                                                         L492        382       229         249          382
                        248'1     t00           L244 2OO DB    5.0 HY
SIGNZOO VIN 06 / L'7                                                           658     424      254         2't'l        424
                                                1382 2OO DB    5.0 HY     t"
LONG ?ERM DE 06/t7                100
                       _?'_:u_
                                                                         l.8256       4531      2703       3143         453?
                         3a22'1              15114
   Deprecj-ation Class: Cotton   ginning aaset
    Io Service Year: 2014                      304 200 DB     5.0 Hy           55?      1"9          4         252           5I
rPAD - t{ousr o5/t4        609 1"00
   Depreciation Class: Fruit bearing strrub' lree or
                                                         vine
    In Service Year: 2013                      844 SL         s.o MQ           808       36                    808           36
            - R 04/13
"-;;;;;;"tlon
CoMPUTER                   844 100
                   crassr Furniture and fixtures   nonrental
     In  Service  Year: 2010
                                                              7.0 HY           s800
             &   10/10    5800 100                  200 DB
 FUFJiTTURE                                                   ?.0 $Y           220Q
                          2200 i-00                 200 DB
 FURNTTURE a 10/10
                                                    200       7. 0 ItY         2900
 ru*Nrtunn e 10/10 2900 100
                                                        DB

                          6500 l-00                 200 DB    7.0 HY           6500
 ruRNrruRE & 10/10                                            ?.0 HY           5500
                           5500 100                 200 DB
 FURNTTURE & 10/10
                           2400 100                 200 DB     7.0 HY          2400
 FURNTTURA & L0ll-0
                           3000 100                 200 DB     ?.0 HY          3000
 TURNTTURE & 10/10
                           3000 100                 200 DB     7.0 HY          3000
 FURNTTURE & L0/10
                           15OO 1OO                 2OO DB     7.0             1500
 FURNITURE & 10/10
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                                                         Ree.    prior current                                               Next Prior cuffent Gain/       sales Date
            Date                  Bus. t-19+             per.                                                                year AMT AMT price             Price sold
Description Acqd cost             use spec. Basis Method      cv Depr. Depr.
                                                                       .--d          !:




FURNITURE   &   10/10     5545 100                         200 DB 7.0 ItY                           5s45
                1.0/10    4500 L00                         2OO DB ?.0 HY                            4   500
FURNITURE   &


                         42845                                                                  4   2845
   tn Service Year: 2013                                                      5;0-                  1500           "76                 1500       159
2       AND L2/t3
    DESKS              1659 100                   1-659    200   Dts                      MQ

  Deprecialion CLass: Information       systems
   In Service Year: 20L2                                                      5.0 llY               8617
pHoNE SYSTEM A5/\2     861? L00                   8617 200       DB

   In Service Yaar: 2014                                                      5.0 ilY           6684 6           28si|        1000     311 68     2857
AUTO WRAPS-S 08/L4 75356 L00                  39678 200          DB
                                                                                                                                                   ?10
                                               8803 200                       5.0 HY                    6086      7L0          355      1282
AUOO WRAPS- :r:. /L4  1?60? 100                                  DB                             1



                          92963               48481                                                 82932        3567         L355     38450      356?

    In Service Year:     2015
                                                                              5.0         t{Y            301        tB          11        t25       18
 NAVIGATION S 05/15         35]" 100               1?5 2OO DB
                                                                                                         219        16          10         91       16
                                                   L28 2OO DB                 5.0         HY
 NAVIGATION S 09/15         256 L00
                                                                                                                     I            q
                                                                                                                                           45        I
                                                     64 2OO DB                5.0         HY             109
 NAVIGAT]ON S O9l].5        I28 100
                                                                                                         345        z6           L6       'J.44     26
               1Ol].5                               242 2OO DB                5,0         HY
 IPHONE RL                  403 100
                                                                                                                    ?5           15       133       25
 NAVIGATION S 1]./15                                 L87    2OO DB            5.0         HY             320
                            374 100
                                                      63    2OO DB            5.0         HY             I0?             I        5         45          I
 NAVIGATION S 1]./15        I25 100                                                                                t2a           72       845      120
                                                            2OO               5.0          HY           2032
 AUTO WRAP 51 04/15        23'14 100               1r.87          DB
                                                                              5.0          HY           2032       L20                    845      L20
 AU?O WRAP Sr. 94/15       2314 100                r.187    2OO DB
                                                                                                                                .,-:
                           6385                    3193                                                 5465       341          206      2273      341

     In Serviea Year:    2016
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                                                                                                                                    Prior Current          Gain/   Sales   Date
                       Dat.e               Bus.    17 9+                         Rec.        Prior Current             Next
                                                                                                                                                           Price   Price   Sold
Description Acgd Cost                      Use     Spec. Basis t'Iethod Per.              Cv Depr. DePr-               Year         AMT        AMT



                                                                                                                                       618       200
TAMPA   VI   FK7 04       /16    237   4   100                 1L87 200 DB        5.0 HY         r_805          200      1.20
                                                                                                                                                 200
                                                                                  5.0 HY         1805           200      L20           618
HOUSTON VIN            04 /16    237   4   100                 Lt 87 200 DB
                                                                                  5.0 ttY        2269           262      158           776       262
TAMPA VIN 1F 05 / 1"6            2985      100                 t492 200    DB
                                                                                                                                                 2t3
                                 2420      100                 t2r0 200    DB     5,0 HY         t 839          2t3      L28           629
TAMPA VIN1FT 05/16                                                                                                       L80           845       299
NORT CAROLIN 06/r.6              3253      r.00                r626 204    DB     5.0 HY         .2472          299
                                                                                                                                       '123
                                                                                  5.0 HY         21,L5          256      t54                     256
COMIAY VIN 1 06/16               2783      100                 1391 200    DB
                                                                                  5.0 HY         2115           256      154           723       256
AUSTIN      VIN   ].   o6/t6     2783      100                 1391 200 DB
                                                                                                                2t8      a 11          6L8       2L8
l-6CM0KN4GK69          06/t6     23'7 4    100                 1t 8? 200   DB     5.0 HY         1805                    IJI

                                                                                                                         L84           830       307
ORLANDO VlN            o't/16    31 94     100                 159? 200 DB        5.0 HY         2427           30?
                                                                                  5.0 HY          2319          305      183           193       305
TEXAS VIN 1T           08/16     3052      1_00                t526 204    DB
                                                                                                                                       '7"16     334
                                                                                  5.0 HY          2269          ??d      201
TAMPA VIN 36 Lt/t6                2985 100                     L492 200    DB
                                                                                                                         254           948           423
DALLAS VIN 9 12/16                          r.00               L822 200    DB     5,0 HY          2169          423
                                _:?:'_                                                                                                           3213
                                34224                      1110    8                             26009         32'73     196?         88 97

  Depreciation Class: IntangiJcle asset
   In Serwice Year: 2012                                                                         267L8         5089      508    9
cusTo!{ER LrS 09/12 76336 100                                  ?6336 AMORTTZ 15'0
                                                                                                  3500          667       66't
NONCOT''PETE A 09/12 10000 100
                                                               l-0000 AMoRTIZ 15.0
                                                                                                  503          114 9     114 9
 cooD!\iri,r, a9/72              17240 100                     L724A AMORTTZ 15' 0                       4



                                r-0357 6                   1   0357 6                            ;;;;;         ;;;;      ;;;;
    In Ser-vice Year:           2014                                                                                                  24877      2252
 TP5L66-     RAND       09/14    60148 100                     300?4 200    DB         5.0 i{Y   54 951         2252      901"

    InService Year: 2015
                                                                                   15.0           9122          3335     3335          9122      3335
 cooDwrtt TN 02/15    50000 L00           50000 sL
   Depreciation Class: Intarrgible asset sode seclion                            197
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                                                                         Rec.      Prior Current                  Next Prior Current Gain/ Sales Date
                 Date                Bus.    17 9+
                                             Spec.   Basis Method Fer'          Cv DePr. DePr.                    Year Al4T AMT 'Price Price Sold
Description      Acqd    Cost        Use


   In Service Year: 2016
FTEMiER9HTP U 08/16 25000 100
                                                      25000 AMoRTrz 15:0-
  DepreaiationClags:LaaEehold*oprovenentenonresidential
   In Service Year: 2015                               15.0 Hy                          4468           255          2s5     638        255
TX WAREHOUSE 121L5 7659 100
                                          3829 S],
  Depreciation Class: l4achinery and eguipment  otber
   In Service Year: 20L2                                5.0 HY                          2A73
                       2073 l-00          20'13 2OO DB
PALLET STRAP O8/I2
                       5970 100           59?0  2OO DB  5.0 HY                          59?0
MACHINERY TO O]./].2                                                                    t5t2
                       L3 LI 100          1512  2OO DB  5.0 HY
LOWES-RACKIN 04l12
                       5s63 100           s563  2OO DB  5.0 HY                          5562
PALLET JACK 06/12
WAREHOUSE     EX A8/12      18 41"    r_00          DB  5.0 HY
                                                       r.841 2OO                         18 41

                 08/\2      6'722 100                  33 61 2OO DB        5.0    l{Y    3361
EXTERIER LT.G
 LIFT TRUCK TO /1"2         7   550 100                7 550 2OO DB        5.0    tiY    ?   550

 RACKING _ TA LO|I2         5992 100                   5992 2OO DB         5.0    nY
                                                                                        -u-,-??
                                                       33862                            338 61.
                           37223
      In Serwice Year:    2013
                                                                           5".0          l-596           55                .16 9   6    T.29
    - COMPRES 09/13 L825              100               i-825 200   DB            Ma
 QB
    ln Service Year: 2014                                                  5.0 HY       10547           olQ          32r   1"054?      2124
                                                       L2'150 2OO DB
 TAMPA WAREHO O8/]"4 25500            r_00
                                                                                                                               89        18
 TOOLS        ]-L/LA     216          r.00                r.08 MACRS       5.0 HY             89         12            6
                                                                                                                                        240
                                                                           5.0 HY            992        138           69     992
                                                        1200
 TAMPA LITT I2/L4
                                                               MACRS
                       24OO           100
                                                           9 2OO DB        5.0 HY                I            1                    I         1


 tools        L2/L4       18          100
                                                                           5.0 HY            1778         81          45     805         81
 RACKING rOR )'2/t4     1946          100                973 2OO DB
                                                                                                                             285         2L
 EQUTPMENT FO o4/!4      688           100               344 2OO DB        5;0 HY             629         2L
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                                                                                                                             Prior Current            Gain/   Sales   Date
                    Date              Bus: 179+                           Rec.    Prior Current                 Next
                                                                                                                                                              Price   Sold
                                                                   Method Per. Cv DePr. DePr'                   Year         AMT         AMT          Price
DescriPtion         Acqd Cost         Use       Spec.   Basj-s


                                                                                 5.0 HY       ??0        26            4        349            26
EQUIPMENT FO a4/14              842 i.00                    42L 2OO       DB
                                                                                                                               .200            16
COFFEE HACI{I 06/14             482 100                    24L 2OO DB            5.0 HY       441        r.6           4
                                                                                                                  234          9340        780
TP0r52-       HOUS o7   /14   22584 100                  11292 2OO DB            5.0 HY     20632       ?80
                                                                                                                  234          9340        ?80
TPOL53- HOUS    a7      /r4   22584 r.00                 t}292      2OO   DB     5,0 HY     20632       ?80
                                                                                                        't32                               '132
                                                         r.0585 2OO DB           5.0 HY     19341,                2r9          8?56
TP7J5O HOUST    a1 /L4        2].1.70 100                                                               't32                               732
                                                                                 5.0 HY     1"8'132               219          8147
D   TP?J49. DA o7 /L4         2]-:-70 100                10585 2OO DB
                                                         1140d 2OO DB            5:0 i{Y    201 80      887       399          8't'17
D   ?P2L].5 DAV )"0 / L4      2280'l 100                                                                                                  _111
                                                                                           174"111"    5L24      l.157        57 635      6398
                          r42441                          71,204
     In Senrice     Year: 2015
                                                                                 5.0 HY      5059        tqq      153          23.04        255
TOOLING .trBB 01/15            5910 100                    295s 2OO       DB
                                                                                                                               130 6        r.8 5
INSPECTION H 04l15              3668 100                   18 34    2OO   DB     5.0 HY      314 0       1.85     L11
                                                                                                                                                01
                                                                                 5.0 HY       5989       959      581          5989        14
RACKS TX WAR A7 /!5             I411 100                   I411 2OO       DB
                                                                                 5.0 HY       2968       248       'J"2s       L235            208
sA?r GEARSGOS 08/15             3461 100                   1734 2OO DB
                              r.84 80 100                  9240     2O0   DB     5.0 HY     158r-9      tts3       692         65? 9       1153
CUTTING MACII O9l15                                                                                                116         1104            2s8
CUTTING MACH O9l15              3 100 100                  1550     2OO DB       5:0 HY       2654       194
                                                                                                                                           161 6
                                                                                 5.0 HY     19867       r.6L6      969         82 63
                    I2/L5     23209 100                   11605     2OO DB
 FORK',IFT_ TY'                                                                                                     56             859      110
I'iAC-CORP CSR 02115             2413 100                  r.206    200   D8     5,0 HY       ?066       r"10
                                                                                                                                             62
                                                                                 5.0 tlY       880         62          3'7         366
                                 L021 r00                    s13    2OO DB
REFRIGERATOR 08/15                                                                                                                 305        60
SCANNING STA 12115               856 1"00                    428    2OO    DB    s.0 nY        733         60          36
                                                                                 3.0 llY      68?5      275I                    681 5      27   5r
                                                          1 6500    s1,
 SUPPLY PRO E A6/15            16500 t-00
                                                                                                         593       356          4628       108 3
 WAREHOUSE       EQ 02/L5       6500 100                    6500    2OO DB       5.0 HY       4628


                               9354   1                    6247 6                            70678      8156      3242         396r.3      9t42
    In Service Year: 2016                                                         5.0 HY      r.140       138          B3          390          138
 30 DISPLAY S 06/L6    1500               100                ?50 200       DB
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                                                                                                                                                                   20-8035!
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                                                                            2018 ASSET DETAIL         REPORT


                                                                            Rec.          Prior Current        Next         Prior Current              Gain/   Sales   Date
                     Date                 Bus    t?9+                                                                                                          Price   Sold
                                                         Basis i.rethod Per.        Cv    Depr. DePr.          Year         A!17          AMT          Price
Description          Acqd Cost            Use    Spec.


                                                                             5.0 llY        5226        660      396          1788          660
40   SAI,TPLES       07   lL6    687 6 r_00                34 38 2OO DB
                                                                             5.0 rlY        4? 08       520      31.2         L   610       520
STRETCHWRAP          04   /16    6195     r.00             3097 2OO DB
                                                            113 2OO DB       5.0 HY         Lt76        130       ?8              a02       1,30
INSTAJ,I. LP     M   04116       L541     100
                                                            328 200 D8       5.O    HY       499         66       39              L7L           66
RACK          08/16               6s6     t_00
                                                                                                                               390          150
I,IFI MACHINE 08/15              1500     100               750 2OO DB       5.0 tlY        1r,40       150       90

RACK INS?ALL 09/16              36523     100             t8262 2OO    DB    5.0 HY        27758       37 98    2279          9497         37 98
                                                                             s.CI           4560        672      403          1560
SHUTTER MANU         tt/16       6000     100              3000 2OO    DB           HY
                                                                                                                                           _:'__
                                                                                           46201       6l-34    3680         15808         6134
                                 507 91                   30398
     In Service Yearl           2017
MOTORT.ZED SH 11/17                601 100                        t'tACRS     5.0            601
MOTORIZED SH 11/17                  1L r"00                       2OO DB      5.0              1L
                                                                              5.0           34 80        735      443.             580      735
2 rNCH CUTDO 02/t-t               5800 L00                 2900 200 DB               HY
                                                                              5.0           3300         691      418              550          697
2 ]NCH CUTDO A2/17                5500 L00                 2750 200 DB               HY
                                                                              5.0            596         155       93              116          L55
ULINE        03 / :--7            1161 100                  58L 200 DB               HY
                                                                              5.0            246          57          34            rt1          57
36X36 DOCK P 04/17                 410 100                  205 200 DB               HY
                                                                              5.0 Hv         131          30          r-8           22           30
TADDER SHUTT         A{/fl         21,8 100                 109 200 DB
                                                                              5.0 HY                      51          34            41           5'l
WOOD PACKING         O4l17         406 100                  203 200 DB                        244
                                                                              5.0 HY                      33          20            23           33
MAIS SIIUT?ER 04l17                239 100                  119 200 DB                        143
                                                                              5.0             310         72          44            52           12
 2 DRILLS     04/17                516 100                  258 200 DB               HY
                                                                              5.0                        L51          90           1.03         15L
 5X5X96 CL FO 05/l-?              1028 t-00                 514 200 DB               HY       617
                                                                                                                                                 't6
                                                            2S9 200 DB        s.0    HY       299         76          46            49
 DRUM FAN     06/17                 499 100
                                                                                                                                    39           64
                                                            199 200 DB        5.0    HY       239         64          38
 NAII TINISEE A7 /'J.'7             399 100
                                    199 100                  99 200 DB        5.0    HY       1 l_9       3t          i.9           1,9          32
 BAITERY CHAR 07l1.7
                                                            835 200 DB        5.0            1002        261      160              L67          26't
 2INCH CDM DI A7 /T7               1,670 100                                         HY
                                                                                                                                                266
                                                            830 200 DB        5.0    HY       996        266      1s9              166
 NEW DIE SET O'I/T7                1660 100
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                      Date                 Bus. 179+                          Rec.           prior current            Next Prior current Gain/        Sales   Date

:::::::::::- -:::: -::::--::: -::::: -:::::-::::::- lli: lI -lll1- -Tii:- --::::- --Y:-- --Y-- -:::::- -:::::-::::-
                                                             725 2OO DB        5.0              8?0'      2'42         145         145      242
2INCH CUT DO         08/t7         50 100
                                    14                                                 HY
                                                                               5.0               96        27            15         76       21
2 ]NCH CUT D o8 /1.7              160 L00                     80 2OO    DB             HY
ROLIAR ?ABLE 09         /t7     25364 100                        2OO    EB     s.0     HY     25364
GOT-RACK INV a9 /1'7                ]-234 100                    2OO    DB     5.0 frY         t234
GOT RACK INV 09/L7                  1855 100                     2OO    DB     5.0 HY          18 55
GOT RACK INV 09/17                  3509 100                         2OO DB    5.0 HY          3509
PA1,1,E? RACK        7A/t'7          823 100                         2OO DB    5.0 HY           823
PALLET RACI(         1.O / t1            88 100                      2OO DB    5.0 itY            88
NEW   2   INCH   C   t0/t7          2210 100                         2OO DB    5.0 HY          22'tO
WH PREP LABO         r0/17      1   0000 100                     2OO DB        5.0 HY         10000
TX _FORKLIFT         t!/r7          4706 l_00                    2OO DB        5.0 HY          4?0:6
                                                                                                                                     4t
ULINE                03/17           567 100                 284 2OO DB        '1   .O ItY      324         62           44
                                                                                                                                            -_2?
                                12343                      r"094 0                            6357 3     3023          181 9       2t70     3023
  Depreciation CJ.ass: Office egu-ipnent
   Io Service Yeatz 2Ot2
PHONE SYSTEM   O9/L2 1375 1OO                               13?5 200     DB 5.0 HY
    In Service Year: 2014                                                                                                           L77       35
I,ASER PRINTE 09114     426 lOO                               2L3 2OO DB       5.0 HY            11"7       16             6
                                                                                                                                      .1L
                                                                                                 1Ca                                              6
PRINTER-MEII 06114      1?1 1OO                                85 2OO DB       5.0 HY                            5         L

PROJECTOR-CO 06/l-4     649 100                               324 2OO DB       5.0 iiY           593        21                       268      2l
 PHONE CASE 0'l /t4       24 1'O0                              t2 2OO DB       5.0 HY             22             I                    10          L
                                                                               5.0 HY         60384       228 4         68 q      2'133'l   2284
CHANGE 07 /14         66094  100                            33041 2OO DB
                                                                                                                                      53          q
 PRTNTER- LrN 08/14      130 100                                65 2OO DB      5.0 HY            1r.8            4            2
                                                                                EA                                            2       54      1L
 LASER PRINTE  O9/L4     131 1OO                                66 2OO DB               HY       L1-9            5
         ELr?. 09/14     128 L00                                64 2OO DB       5.0     HY       117             5.           2       53          5
MONTTOR
                                         Case 3:20-bk-01951       Doc 1     Filed 06/24/20        Page 63 of 158


                                                                                                                                         20-80359
D.a6.   1A
                                                                       201'8 ASSET DETAIL      REPORT


                   Date              Bus. :--lg+                       Rec.        prior Current Next Prior Current Gain/ Sales             Date

::::::::1::- -::::         -::::--::: ::::: -:::::-::::::-:::-::                   -11!1-     -llll-- --::i:- --Y-- --T:-- -:::::- -:::::-::::-
              ET O9/L4        171_ 100               85 200 DB          5.0 llY       r.57          6        3         7t       6
PHONE FOR
DUAL MONITOR O9l14              53 100               26 200 DB          5.0 HY         49           2        1         22       2
                                                                        5.0 BY        235         10         A        107      t"0
MONI?ORS TOR      09l14        25? 100              129 200 DB
KEYBOARD rOR      09/14         43 r.00              2Z 200 DB          s.0 ttv         39          2        1         18       2

MONITORS HEA O9l14             200 100              100 200 DB          5.0 HY        183           I        3         83       8

WTRCLESS ROU i.0/14            129 100               55 200 DB          5.0 HY        1.L7          5        2         JJ       5

PRINTER- EXE 1.0/14            114 100                5'l 200     DB    5.0 flY       105           4        z         48       4

PHONE SYSTEM      LI/14       1790 100                      200   DB    5.0 HY       364 6
PRINTER      FOR 1.I/1,4       127 100                63 200 DB         5.0 HY        116           5        J          5/.      5

 PHONE SYSTEM 1"2/3.4          240 100               124 200      DB    5.0 ltY        2t9         r.0       6          99     10
                                                     348 200 DB         5.0 nY         636         29       16         288     29
 PHONE SYSTEM 1.2/14           696 100
 DAVES CELL P !2/L4            445 100               222 200      DB    5.0 HY         40'l        L8       10         184     37
                              2232 t00              1115 200      DB    5.0 HY        2040         93       51         924     93
 PHONE SYSTEM T2/14                                                                                 't                           'l
 PRINTER BROT 12114            161 100                8L 200      DB    5.0 HY         '147                             6?
                               L7? 100                89 200      DB    5.0 HY          161          I       4           73      I
 PRTNIER TAMP ].2/14
                                                     L64 200             5.0 HY        301-        L4        '1        r.36    L4
 PRINTER     FLA I2/T4         329 100                            DB

 RANDY PHONE       I2/L4       212 roo               r.06 204 DB         5.0 HY        193           9        5          87      9
                                                            200          5.0 flY       227         10         5        102      10
 PRINTER SALE 11/14            249 100                            DB
                                                    --:?:
                                                   367 93                            7056s       2582       830      304 37   2626
                             75378
    In Service Year: 2015
 SHADES FOR J O5l].5    864           100            432 200      DB     ?.0 HY        6'76        tr1
                                                                                                   JI        3?        244      51
                                                                         5.0 HY                    10            6      8L      10
 PRINTER- COR 01/l-5    221           100            113 200      DB                   t_95
                                                                                                                                     I
 IPAD KEYBOAR 05/15     1.38          100              69 20a DB         5.0 HY        118              I        4      49
 IPAD KEYBOAR 06/15       '14         100              3? 200 DB         5,0 llY        63              4        2      26           4

                                                                         5.0,HY        594         38        23        247      38
 MONTTERS COR 06/15     694           100            347 200      DB
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                  Date                 Bus. L79+                        Rec. Prior Current                    Next        Prior Current              Gain/   Sales   Date
DescripLion       Acqd Cost            Ose     Spec. Basis       Method Per. Cv DePr. DePr.                   Year        A!47         A},IT         Price   Price   Sold


PRINTER- COR O?/15               406 100                r-05 200 DB          5.0   HY     445                                744
PRINTER- COR O?/15              2415 100               120? 200 DB           5.0   HY    2067         1.3 9      84          859           r.39
LAPTOPS SATE 1Ol15              3540 1"00              1820 .200 DB          s.0   HY    31 15        236       L42         t295           236
SCANNERS- TX ]-Ol15             1660 100                830 200 DB           5.0   HY    t42L                    64                        r.08
                                                                                                      1:                    _::1
                            L   0118                   4   960                           8694         594       362         3536           594
   In Service Year         2016
NEW PI{ONEST 03116              2302 100               1t_51 2OO DB          5.0 HY      I7 49        184       1L0          598           184
35 TABLETS O5/]-6               3824 100               19r.0     2OO   DB    5.0 HY      2   903      336       202          993           336
5 VERIZON PH 05116               548 100                300      2OO   DB    5.0 HY          391        53       32          143               53
J LOPEX IPAD      05116          6'7L l-00              336      2OO DB      5.0 HY          sio        59       Jt)         175            59
2 IPADS           06/T6         1448 100                '724     2OO DB      5.0 HY      1101         133        80          377           133
IPAD AfR 2        06/1.6         6?1 100                 336 2OO DB          5.0 HY           51C       62       3'1         L?5               52
oFr'IcE   PUONE   lt/76         114 1 100                570 2OO DB          5.0 HY           868     1,28       16          297           L28
IPAD PHOEN],X, L2/I6             6?0 100                 335 2OO DB          5.0 HY       509           78       46          114               7B
                                                                             5.0 HY      4?56         "t26      436         1621           726
COMPUTER PRI 12116              6258 100                312 9 2OO DB
                                                                                                                             '128
coR.PoFICE F 03/i-6             2800    1"00            1400 2OO DB          5.0 HY      2128         224       134                        224
CUSTOM SIGN 03/16               3   980 100             1 990 2OO DB         5.0 HY      3025         318       r.91        1035               318
IPAD TAMPA 12/76                    6?0 100               335 2OO DB         5.0 HY       509            ,o       46         774                78


                            24979                      r_2516                            L8959       23"t9      T426 6496                 2379
   In Service Year: 20L7
4896L LENNAR 04/l'l   283 11 00                         1416 200       DB    5.0   !tY    1   698      396      238              283           396
489691 TSNNA 04117    474   01 00                       2370 2aA       DB    5.0   HY     2844         664      398              474           664
TRSH CANS TR O4II7    1"2'l 91 00                        640 200       DB    5.0   HY         767      t79       1^08            L28           L79
TRASHBINS AN O4l17     80 8L 00                          404 200       DB    5.0   HY         485      1L3           68           B1           LL3
                                              Case 3:20-bk-01951          Doc 1       Filed 06/24/20          Page 65 of 158



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                                                                               2018 ASSET DETAIL            REPORT


                         Date              Bus, L79+                           Rec.         Prior Current Next Prior Current Gain/                   Sales   Daee

 :::::::::::- -i::: -::::-- ::: -::::: -:::l:-::::::- 1ll- lI -llll--                                      -1111-     --::::- --Y:-- --Y:-- -::T:- -:::::- ::1:-
 CHAIRS FOR C           03/t'l     2929 100             L464 2OO DB             ?.0 HY       t61   4          3r.9       227      209    319
 CHAIRS FOR C           05   /L7   2929 100             14 64 2OO DB            7.0 HY       t67   4          339        242      209    339
 EASELS TOR C           061L7       706 100              353 2OO DB             7.0 HY         doa             84         60       51        84
 3 BASE CHAIR           07   /t7   1309 L00              65{ 200 D8             7"0    nY      ?48            160        115       93    160
 2 OFTICN MAS           a8/L7       ?50 100              375 MACRS              7.0 HY         429             92         66       54        92
                                                                                7.0 HY          ct
     2   OFFICE   MAS   10 /L7       53 100                        2A0   DB
                                                                   200   DB
     PICNIC TABLE       1A/L1       386 100                        204   DB     ?.0 HY         386
     4 S?AR TO ST       0t /1,'l    880 100               444 200 DB            5.0 HY         528            106          63      B8    106
     OFFICE PHONE       01/r't     2022 100             t"0 1 r"   200   DB     5.0 HY        1,2L3           243         146     202    243
     888 BESI BUY       02/7"1      ?q? 100               178      200   DB     ?.0 HY         21.4            37          2']     35         3'7
     TX COMPUTERS       02/17      L670 100               835      200   DB     5.0 HY        L002            212         ]-.21   L6"l   2t2
     TX MONITORS        a2/n        t5.t   r_00           129      200   DB     5.0 HY         154              33         20      26         33
     CELL PHONE         03/t7       532    L00            266      200   DB     5.0 HY         320              71         42      54         7!
     CELL PHONS         03/11       532    100            266      200   DB     5.0 i{Y        320              71         42      54         'tt
                                                                                5.0 nY                          :7I                           ?1
     CELL PHONE         03/r'l      532    1"00           265      200   DB                    324                         42      54
     CELL PHONE         a3/l'1      532    100            266 2A0        DB     5.0 HY         320              't7        42      54         IL
     CELL PHONE         a3/t7       532    100            266 200        DB     5.0 HY         320              'tI        42      54         71
     CELL PHONE         03/L't      532    100            266 200        DB     5.0 HY         320              71         42      54         ?1
     AI4ZN. COM   /BI   a3/7'.1      30 100                15 200        DB     5.0 HY             l-8            4         z       3           4

     FOUR NEW PHO a4      / j.'1   r_893 100              946 200        DB     5.0 HY        1135            265         159     189        265
     CBLI   PHONE       05/L7       586 r.00              293 200        DB     5.0 HY         351              86         52       58        75
     CELL   PHONE       05/l'l       458 100              229 200        DB     5,.0   HY      273              67         40       A6        6'l
"-   PRlNTER            08lt'l       968 100              484 2A0 DB            5.0 HY         5 81"           161          9'l     97       151
     TAYLOR SIGN        os/t1      r.200 L00                       200   .DB    5,0 HY         720             t76        106      L2A       I'16
                                                        --:::
                                   32233                r.5896                               1921      4      4162       261-3    2937   4   151
                                      Case 3:20-bk-01951          Doc 1     Filed 06/24/20      Page 66 of 158



Page: L'l                                                                                                                          2   0-803597   1



                                                                   2O]-8 ASSEI DETAIL REPORT

                Date             Bus.   1?9+                       Rec.          Prior Current Next Prior Current Gain/ sales            Date

:::::1::1::- -i::: -::::--       ::: -::::: -:i::- ::::::- lli- !I -?lil- -ill1- --::::- --Y:-- --Yl-- -:::::- -:::::-                   ::f'
  Depreciation Class: Railroad cars and locomotives not              owned br1' ra
   In Service Year: 2017
AMAZON MKTPI,   A3/r7     201 100                 101 200    DB 5.0 HY                120      27         1_6      20         27
  D€preciation Class: ReaL Property reeident.i,al rental
   In Serwice Year: 2015
coRp orrrcE 09/15 148033 100            74017 Si,   15'0 HY                       86352      4937 4937 12336             4937
  Depreciatlon Class: Iruck great€r than 13'000 lbs
   In Service Year: 2012
Tp6B42- JACK 01/12 20288 100            20288 200 DB 5-0 HY                       20288
D Tp8B59- TA Ag/72 2A288 t}o            20288 200 DB 5.0 HY                       2A288

                         405?5                  40576                             405?6
    In Service Year     2016
NrssAN NVz00 03/16       206?5 100              10337 200    DB     5.0     HY    15713      1654     992       537 5     554
                                                                                                                         l"

CUTAWAY 1FTY 05/16       33070 100              17s35 200    DB     5.0     HY    24t33      308 6   18   52    8598     308 6
RAl"l 1500 Lc6 A4/16     25-t99 L00             12899 200    DB     5.0     nY    1   960?    2167   1300       6't07     2t67
FORDE350C04/16           36910 100              18455 200    DB     5.0     HY    28052       3100   L8 60      95 9?
                                                                                                                         _:1:
                        116454                  59226                             87 505     10007   6004       30271    10007
   In Service laa.r: 2Qt7
F1.50 IFTEXLC A3/L"l 27742 r00                   138?1 200   DB      5..0   HY    16645       3699   22L9        217 4    3699
  Depreciation Class: Eruck less than          131000 Lbs
   In Serwiee Year: 2012
TP5B39-HOUST OBIL7 20380 100                    20380 200    DB      5..0   HY    20380
rp6B40 - DAr, 08/1-2 20380 100                  20380 200    DB      5.0 HY       203.80
?p5845- TEXA A6/72 20372 L00                    2037'2 200   DB      5.0 nY       2A372
                                                 Case 3:20-bk-01951        Doc 1         Filed 06/24/20     Page 67 of 158


Page;   18                                                                                                                                                20-8035    9'
                                                                               2018 ASSET DETAIL          REPORT

                     Date                  Bus.   l'l9+                 Rec.    Prior Current                      Next   Prior Current       Gain/   SaLes   Date
Description          Acqd       Cost       Use    Sirec.   Basis Method Per. Cv Depr, Depr.                        Year    allt  AMT          Price   Price   Sold


TP6B46* RALE        a'7   /L2    20288 100                  20288 200     DB    5   .O   HY    20288
'tP6847             o7    /tz    20288 100                  2A288 200     DB    5 .0 Hv        ?^0288
?P6B5O    -   091t2
              AUS                20288 100                  24288 200     DB    5 .0 ltY       202e8
rP685l-       09/72              20288 r.00                 20288   204   DB    5 .O HY        2'A288
D TP6B61- iio a9/72              2A288 100                  24288   200   DB    5 .O.HY        20288
D TP8B5?- HO 09/12               20288 100                  242e8   200   DB    5 .O     HY    20288
TP8B58- AUST 09/t2               20288 100                  20288   200   DB    5 .O     HY    20288
D TP8B6O - T 09/12               20288 100                  20288   2AO DB      5 .O     HY    20288
D TP8B51- LA 09/L2               2028 81 00                 2A288 200 DB        5 .0     ilY   20288
D TP8B62- OR a9/L2               2028 81 00                 24288 200 DB        5 .0     nY    20288
TP8B94- SAN 09/t2                2028 81 00                 2A288 200 DB        5 .O     HY    202e8
D TP6B53- FO a8/L?               2028 81 00                 20288 2AA     DB      .O     HY    20288
D TP6B6O- HO o8/L2               20?8 81 00                 20288 240     DB    5 .O     HY    20288
D TP6B62- HO 08/12               2028 81 00                 2A288 200     DB    5 .O     HY    20288
TP7C23- ORLA 11/12               13500 100                  r.3500 2AA    DB    5 .O     HY     13500

                                358664                     358664                              35866d
   In Serwice Year: 2013
DTP4F57-D06/13       154 90                100              154 90 200 DB       5.0 MQ          141?0       251            141? 0      914
D TP5D54 -JO 05/13   197 90                100              19790 200     DB    5.0 MQ          l"?54i.     251            1?541      1245
TP5D55 -      POO 05/13          r.9? 90   100              197 90 200 DB       5.0 MQ          t894"1      251            r.8 94 ?    843
TP5D56 -      rOR 05/13          r.97 90   100              r.9790 200    DB    5.0 MQ          1894 ?      25L            1894?       843
TP5D5? -      MAr 05/13          19?90     100              19? 90 200 DB       5.,0,MQ         1894?       25L            1894 ?      843
TP5D68 .      DAV O5/L3          19790     100.             L9794 200     DB    5.0      MQ     18947       25]-           I8947       843
TP5G92    -   POo Lt/13          22409 100                  22409 20.0    DB    5.0      [4Q    24263       903            2A263      2146
DTP5G93-P11/L3                   223-98 r.00                22198 2oa     DB    5"0      riQ    18554       895            18554      318 5
                                               Case 3:20-bk-01951            Doc 1    Filed 06/24/20      Page 68 of 158


Page;   19                                                                                                                                                     20-80359?
                                                                              2018 ASSE? DETA]L        REPORT

                     Date                Bus.179+                             Rec       Prior Current           Next      Prior Current            Gain/   SaIes   Date
Description          Acqd Cost           Use    Spec.   Basis Method          Per    Cv Depr, Depr.             Year      AMT          AMT         Price   Price   SoId

TP5G94   POOL       11/r.3       224A9 L00              224A9 2OO       DB     5.0   MA     20263        903              20263         2L46
TP7DO6 TAMPA ta/13               285'79 L00             2857 9 2OO      DB     5.0   r,tQ   2584 3      100 0             25843         2'736
TP?DOO - ORL 10/L3               2871 3 100             2877 3 2OO      DB     5.0   tlQ    260L8       1007              26018         2'755
TP?DO8-      HOUS   IL/L3        28856 100              2885 6 2OO      DB     5.0   14Q    26492       1-163             29092
D TP7DOg _ A Ll"/L3              28713 100              28-1-t3 2OO     DB     cn    MQ     2483'l      1160               24837        3936
D TP7D1O - D it/L3               28856 100              28855 2OO       DB     5.0   MQ     24 118      1163               24L78        4I4t
                                325293                  325293                              293487      9706              296487       26636
   In Service Year:             2014
TPOL54 VAN O'7 /L4               22649 3.00              11304 200      DB     5.0 Hy       20656        -r82     234       9351         782
TPOL55 VAN A1 /L4                22687 r0A               11344 200      DB     5.0 HY       2072"t       784      235       9384         184
TP5L89- VAN L2/I4                20670 100               10335 200      DB     5.0 HY       1   888s     853      4?5       8550         863

                                 65966                   32983                              60268       2429      944 27285             2429
   In Serrrice Year             201-6
FORDE350C02/t6                   3084 5 100              L5422 2OO DB          5.0   HY 23442           2344     1406       801 9       2344
FORDE350V02/t6                   33038 100               L   6519 2OO   DB     5.0   HY 251"09          251i_    i.50 6     8590        tE'1   1


roRD E350 Vr 05/16               20681 100               1034 0 2OO DB         5.0   HY L5? l-8         ].820    L092       53? 7       1820
IRANSIT 250 05/T6                301? 5 100              1"5087 2OO DB         5.0   HY 22933           2655     1593       7   845     2655
rORD TRANSTT 04/L6               300L? 100               1-5008 2OO DB         5.0   HY 228L3           2522     1q1?       7804        zSzz
lFTYR1ZM6GRA O4/16               30423 100               r5217 2OO DB          5.0   HY 23L22           2556     1533       ?   9r.0    2556
FORD TRTANSI 05/16               31 555 100              1_5782 2OO DB         s.0   HY 23989           2'178    1 666      8206        277 8
FORD TRANSIT O6116               3677 9 100              r.8389 2OO     DB     5.0   HY 27952           3384     2030       9562        3394'
NrssAN NV200 06/16               220't8 r.00             1r.039 2OO     DB     5.0   HY L6779           2431     t2r9       5?40        2A3L
FORD TRANSTT        0"7   /!6    2900t 100               14500 2OO      DB     5.0   HY 27951           2"184    1.67 0     74 50       2784
FORDIRANSITL T1./L6              29648 100               14824 2OO      DB     5.0   HY 22533           3321     7992       7709        332 1

                                324250                  t62t2t                        ' 246347         28706 1722A         84212       28706
                                             Case 3:20-bk-01951          Doc 1      Filed 06/24/20         Page 69 of 158


Page:   20
                                                                                                                                                               20-80359?
                                                                          201.8 ASSET DETAIL REPORT

                     Date              Bus.   L?9+                        Rec. Prior Current                    Next      ,Prior      Current      eain/   SaIes   Date
Description Acqd Cost                  Use    Spec   Basis      Method Per,  Cv Depr. Depr,                     Yea.r      AMT          AMT        Price   Pnice   Sol-d

   In Servi-ce Year: 20:l.7
1150 TFTEX1C 03/17    29437 r.00                       74718 2OO    DB     5 O 'HY              662   3925       2355       2943,
                                                                                          1"7                                            3925
EXPRESS 2500 03/t1    26096 r.00                       1304 8 2OO DB       5   0fiY       15657       3480       2088       26A9         3480
EXPRESS 2500 A3/n     2607 I 100                       13039 2OO    DB     5   OHY        15647       347'l      2086       2   608      3A77
EXPRESS 2500 03/t1    261.01 100                       13050 2OO    DB                    15661
                                                                                   HY                 3480       2088       2610         34 80
EXPRESS 2500 A3lfi    262t9 100                        1310 9 2OO          5 n HY         I5732
                                                                    DB                                3496       2097       2622         34 96
EXPRESS ?500 03/I'l   27 108 100                       135s4 2OO    DB
                                                                           q
                                                                             .0    HY     16265           614    2:]-69
                                                                                                      3                     2'7TT        361   4
EXPRESS 25A0 03/t't   262t9 L00                        1310 9 2OO   DB     5 .0           L57 32      3496
                                                                                   HY                            209-l      2622         3496
EXPRESS 2500 03/t7    2615L L00                        1307 5 2OO DB       5 .0           15691
                                                                                   HY                 3487       2092       26]-5        3487
TRANSTT 25A0 03111    32'7 43 100                      16372 2OO DB        q
                                                                             .0           1964 6
                                                                                   HY                 4 365      2620       3275         4 366
EXPRESS Z5A0 A3/j.'l  25952 100                        L297 6 2OO DB       5 .0    HY     1"5571"     34 60      20't 5     2595         34 60
PROMASTER 15 .A6/17   2'1620 r.00                      138L0 2OO                          L65'12
                                                                    DB             HY                 4235       254]-      27 62        4235
PROMASTER 3,5 06/11   27 495 100                       L37 48 2OO   DB                    L6497       4216
                                                                           5       HY                            2530       2750         42]-6
PROMASTER      25 A6/L7       293A2 r" 00              14 651 2OO   DB     5 .U HY        1758 r.     4493       2696       2930         3736
PROMASTER      25 O7 /11      29497 L00                141 49 2OO DB       5 .0 J{v       1? 698      4120       2832       2950         4',t20
PROMASTER      t5
                /L1 01        28 600   100             14 300 2OO DB       5   OHY        1?160       457 6      27 46      2860         45-16
NV200 3N6CM0 A7 /L7           2r.8 3 9 100             1"0920 2OO DB       5   OHY        131 03      3494       20.97      2).84        3494
NV200 3N6CM0 0-7 /r'l         22t66 100                1108 3 2OO DB       5   0   t{Y    13300                  2L28
                                                                                                      354 6                 22r7         354 6
NV200 3N6CM0 07 /17           22054 L00                1LCI27  2OO DB      5   OBY        13232       3s29       2717       2245         3529
NV 200 3N6CM 07 /I7           22382 100                111 91 2OO DB       5   0ttY       13429       3581       2149       2238         358 1
NV200 3N6Ct10 07 /t7          22343 100                l_ 1171 2OO DB      5 O
                                                                               .HY
                                                                                          13406       357 5      214 5      2234         357 5
PROMASIER      15 OB/17       23 i.8 9 100             11s94 2OO DB        5 OHY          13913       38 65      23t9       2318         3865
PROMASTER      25 08/I7       3031 1 100               15156 2OO DB            OHY        18186       s052       303L       3031         5052
TRANSIT      250 ttlL'l       32622 100                         2OO DB     q
                                                                               0Hy        32622
1150 1FTEWLC tL/L7            35213 100                         2OO DB     5   OHY        35213

                             646137                   289450                              4t5t't6 85L63 51099 5?889                     84406
Form Totals:                3-162316                 2456431                             2830s83 246A36 149916 88s78?                  239001
                                      Case 3:20-bk-01951                             Doc 1      Filed 06/24/20   Page 70 of 158


      U$                                                                                   Detail Sheet                                      2018
     Name:     DCf INVESTMENT                    P     rNERS tLC                                                          tD:XX-XXXXXXX



                                                                                                                                    Amount
                   ura               oduction                                                                                              582 895




                                                                                                                                          582 89s
@ 2Ol8 Unlvsr6sl Tax 8y6loms, lm. dnd/or ils affilistes and lkEBors. All .lghts res€Ned.                                                  USWDET$1
                                          Case 3:20-bk-01951                             Doc 1   Filed 06/24/20   Page 71 of 158


          US                                                                              Detail Sheet                                           2018
                                    s                              S    LLC
                                                                                                                             2     8035
                          VEH               EXPENSE


                     VEIII
                                                                                                                                                151




                                                                                                                                          151    't   23
@ 2ota Univcrsat Tar Syrtems, lna and/or [s aiiliatss snd licensds.
                                                                    All .ights r6mBed.
                                                                                                                                          ust   /DET$1
                                    Case 3:20-bk-01951                                   Doc 1   Filed 06/24/20       Page 72 of 158



   us 1065                                  State lnformation and 2018 Es                                          ted Tax P               nts           241

   Name:                                       PART                                                                                       EIN:             7
                          State return         Overpayrnent                     First quarter    Second quarter   Third q0srtei   Foudh quarter
                           b ne€d€d         credlted ftom2A17                o4/t5/2at8          o6/Is/20L8       09/L5120L8      12   /L5 /   201"8   Total

                          Nol




                                                             liensrs.                rolorcd,                                                           USPSTINF
02017   Unlv€rsel Tbx Syslams, lnc snd/ot ls atrtlLtar 8nd              All tlohls
                                                 Case 3:20-bk-01951                             Doc 1   Filed 06/24/20   Page 73 of 158



                                                                                         Othe r Deductions                                       2018
 us        1065
                                                                             Ltc                                                          20-80359?9
            DCI                                                   PARTN
 Type:
   Accounting                                                                                                                                           206
   Adve(islng
   Amortizatlon.                  . ';. : '           '
   Answedng ssrulc€                     .        '                                                                                              151 723
   Autdand huckexPenses.                                  -
                                                                                                                                                        705
   Bank charges
   Commlssions
   ComPuterexPeoss;                              -.
   Delivery and fteight                                                                                                                                 546
   Dues and subscrlPtlons.                            .       .

   Promotion
   Gifts.     .

   lnsurahce
   Janilorlal
   Laundryandcleanlng.                           ..           .

   Legal and Professlonal fiees
   Llcenses and P€rmlts      .              .
   Meale:                                                                        at 50%
                                                                                 at 70% - DOI houtg of service
                                                                                 at 100Yo - See instructions .
                                                                                                                                                638 '195
   Mlscellaneous                                                                                                                                    637
   Offc€ expense
   Outside serulce
   Parklng hes and tolls                    ...
   Postage
   Printlng
   Sales'expenso
   Secufty. ,                 .     :
                                                                                                                                                        636
   Suppllas.
   Telephone              .

   Temporary helP
   Tools.         .

   Trade show expense I
   Tralnlng and semlnars                     .
                                                                                                                                                104 054
   Travel.            .

   Uniforms                                                                                                                                     13L B6?
   Utilitlss.                                                                                                                                           7'7 B
                                  EXPENSES




                                                                                                                                                L'7 2   9   4'l
   Total




                                                                                                                                                 uswPA$$1
@ 2Ol8   Ufliffi8l        Tax   gyttsmt, lnc. snd/or lts affiliates and llmroora All rQfits reseruad'
                                    Case 3:20-bk-01951         Doc 1           Filed 06/24/20              Page 74 of 158


 SCHEDULE B;1                                     lnf6rmation on Partners Owning 50% or
 (Foim 1065)
 {R.v.. Seplenb€r    20i7,                                More of the PartnershiP                                                            OMB No. 16460123
                                                                > A$achtoForm{085.
 mrrfial
 Namo of partnerohlp                                                                                               Employet ldontlffcatlon numbar (ElN)          .-


                                          TNERS                                                                    20-803             7


filil                 Entities Owning 507o or More of ttre Partnershlp (Form 1065, Schedule B, Question 3a)
Oomplete columns (i) through (v) below for any foreign or domestic corporatlon, partnershlp (including any entity treated as a
partnershlp), trust, tax-exempl organizatlon, or ahy foreign govemment that owne, direc{ly or indireclly, an interest of 50% or more in
the proftt,.loss, or capital of the partn'ership (eee
                                                              (10 Employer                                                                   Per6enlrgo Of;ned
                                                          lden{r'llcatlon Numbet     (iCI'type of gntlty
                             0   Nams of En0ty                                                                country oitLanuatron            ln Prolit Lo6e. or
                                                                    (tf any)                                                                       Capttsl



TEVCO                        tLc                                                   rtc                       US                                            50.170

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                                                                                                                                                              0       ,000

f[[Il|               lndlvlduals or Estates Owning 5070 or More of the Partnenrhlp:(Form 1065; Schedule B, Question'3b)
completb cdudns (i) ttrroudh (lv) below for any individual or estate thal owns, direotly or lndlrectly, an interest of 507o or more
     profit loss; or capital of the partnershlp (see instructions).
in tho


                                                          (ii) ldentlying Numb€r                                                            Porcsnhge.own€d ln
                                                                                     (ili) Country of Cffzenshlp t3o€ lnslruotlon8)             Prolil
                    O Name of tndivldua! ot Estate                 (lt any)                                                                              Los9.
                                                                                                                                                 or Capital


                                                                                                                                                              0.000

                                                                                                                                                              0. 000

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                                                                                                                                                            0-00

                                                                                                                                                            0. 00
For FaFerwork Reductlon Act Notlce, see the lnstructlons for Form 1065.                                                    Scftodulo B-'l (Form 1085t (Rov. 9.2017)
8CA
                                   Case 3:20-bk-01951                       Doc 1        Filed 06/24/20            Page 75 of 158




 Fill in this information to identify the case:

 Debtor name         CBB Acquisition Company, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 24, 2020                           X /s/ Randolph M. Levinson
                                                                       Signature of individual signing on behalf of debtor

                                                                       Randolph M. Levinson
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                                        Case 3:20-bk-01951                   Doc 1         Filed 06/24/20                Page 76 of 158


 Fill in this information to identify the case:
 Debtor name CBB Acquisition Company, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                               Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Rosenthal &                                                     Blanket lien on                                 $4,767,291.20             $1,653,752.55              $3,113,538.65
 Rosenthal, Inc.                                                 assets, plus an
 1370 Broadway                                                   additional
 New York, NY 10018                                              $749,999.96 in
                                                                 cash collateral
                                                                 pledged by
                                                                 various
                                                                 guarantors not
                                                                 included in value
                                                                 of collateral in
                                                                 Column
 World Bright                                                    [balance as of                                                                                         $797,994.14
 International Limited                                           06/16/2020]
 P.O. Box 315
 Road Town
 Tortola, British
 Virgin Island
 Regions Bank                                                    PPP Loan               Contingent                                                                      $438,200.00
 4422 Southside                                                  Proceeds
 Blvd.
 Jacksonville, FL
 32216
 Royal Windows, Inc.                                             [balance as of                                                                                         $310,411.86
 606 Fountain Pkwy.                                              06/16/2020]
 Grand Prairie, TX
 75050
 XPO Logistics                                                   [balance as of                                                                                         $185,064.31
 Bethune &                                                       06/16/2020]
 Associates
 14435 N. 7th St.,
 #201
 Phoenix, AZ
 85022-4327




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    CBB Acquisition Company, LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Galaxy Custom                                                   Default final                                                                                          $132,177.71
 Home Brokers, Inc.                                              judgment [Duval
 15302 Baisley Blvd.                                             County, Florida;
 Jamaica, NY 11434                                               Case No.
                                                                 16-2019-CA-03685,
                                                                 Division CV-G]
 Houston Shutters                                                [balance as of                                                                                         $122,078.10
 Attn: Heather                                                   06/16/2020]
 Poston
 7000 Grand Blvd.
 Houston, TX 77054
 Southeastern                                                    Final default                                                                                            $89,409.06
 Freight Lines, Inc.                                             judgment [Duval
 P.O. Box 1691                                                   County, Florida;
 Lexington, SC 29073                                             Case No.
                                                                 16-2018-CA-08825,
                                                                 Division CV-D]
 FL Dept. of Revenue                                             Sales taxes                                                                                              $83,000.00
 5050 W. Tennessee                                               [balance as of
 St.                                                             06/23/2020]
 Tallahassee, FL
 32399
 Lutron Electronics                                              Default final                                                                                            $72,329.90
 Company, Inc.                                                   judgment [Duval
 P.O. Box 643782                                                 County, Florida;
 Pittsburgh, PA                                                  Case No.
 15264-3782                                                      16-2019-CA-05625,
                                                                 Division CV-H]
 Saia Motor Freight                                              [balance as of                                                                                           $54,374.05
 Line, LLC                                                       06/16/2020]
 P.O. Box 730532
 Dallas, TX
 75373-0532
 SignZoo                                                         [balance as of                                                                                           $43,904.25
 4139 N. Washington                                              06/16/2020]
 Blvd.
 Sarasota, FL 34234
 Colfin-Cobalt I-II                                              Final judgment                                                                                           $40,839.17
 Owner, LLC                                                      after default
 7575 Dr. Phillips                                               [Hillsborough
 Blvd., #130                                                     County, Florida;
 Orlando, FL 32819                                               Case No.
                                                                 2019-CA-02364
 North Carolina Dept.                                            Sales taxes                                                                                              $40,814.75
 of Revenue                                                      [balance as of
 P.O. Box 25000                                                  06/23/2020]
 Raleigh, NC 27640
 Arrow Personnel                                                 [balance as of                                                                                           $40,774.91
 Bridgeport Capital,                                             06/16/2020]
 LLC
 P.O. Box 101004
 Atlanta, GA
 30392-1004

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    CBB Acquisition Company, LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Landstar Ranger,                                                Default final                                                                                            $36,509.62
 Inc.                                                            judgment [Duval
 13410 Sutton Park                                               County, Florida;
 Dr. S                                                           Case No.
 Jacksonville, FL                                                16-2019-CA-04883,
 32224                                                           Division CV-B]
 Tennessee Dept. of                                              Sales taxes                                                                                              $33,000.00
 Revenue                                                         [balance as of
 500 Deaderick St.                                               06/23/2020]
 Nashville, TN 37242
 Penske Truck                                                    [balance as of                                                                                           $26,829.42
 Leasing Co., L.P.                                               06/16/2020]
 P.O. Box 532658
 Atlanta, GA
 30353-2658
 BM3                                                             [balance as of                                                                                           $24,671.98
 1165 S. Stemmons                                                06/16/2020]
 Frwy., #105
 Lewisville, TX 75067
 Worldwide Express                                               [balance as of                                                                                           $23,710.60
 P.O. Box 733360                                                 06/16/2020]
 Dallas, TX 75373




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            CBB Acquisition Company, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,719,342.55

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,719,342.55


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,767,291.20


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           178,998.68

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        8,833,147.83


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         13,779,437.71




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                   Case 3:20-bk-01951                   Doc 1     Filed 06/24/20        Page 80 of 158

 Fill in this information to identify the case:

 Debtor name          CBB Acquisition Company, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                             $65,590.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     The Heritage Bank Account [balance as                  Business Checking
            3.1.     of 05/31/2020]                                         Account                          8564                                    $28,566.80



                     Regions Bank Account [balance as of                    Business Checking
            3.2.     05/29/2020]                                            Account                          9098                                    $13,071.97



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                   $107,228.77
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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                                   Case 3:20-bk-01951                   Doc 1        Filed 06/24/20           Page 81 of 158

 Debtor            CBB Acquisition Company, LLC                                                   Case number (If known)
                   Name




            8.1.     Prepaid expenses [balance as of 04/30/2020]                                                                             $53,089.81




 9.         Total of Part 2.                                                                                                             $53,089.81
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           752,103.05   -                                   0.00 = ....                $752,103.05
                                              face amount                           doubtful or uncollectible accounts




            11b. Over 90 days old:                              357,460.80   -                                  0.00 =....                  $357,460.80
                                              face amount                           doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                          $1,109,563.85
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:    Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No.   Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last           Net book value of         Valuation method used   Current value of
                                                      physical inventory         debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 19.        Raw materials
            Raw materials [balance
            as of 04/30/2020]                                                                   $0.00      Recent cost                       $10,000.00



 20.        Work in progress

 21.        Finished goods, including goods held for resale
            Branch inventory of 2"
            faux wood blinds
            [balance as of
            04/30/2020]                                                                         $0.00      Recent cost                       $27,585.05




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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                                   Case 3:20-bk-01951                     Doc 1         Filed 06/24/20     Page 82 of 158

 Debtor         CBB Acquisition Company, LLC                                                     Case number (If known)
                Name

           Branch inventory of
           vertical blinds [balance
           as of 04/30/2020]                                                                    $0.00    Recent cost                         $8,694.88


           Warehouse inventory
           [balance as of
           04/30/2020]                                                                          $0.00    Recent cost                      $205,457.24



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                           $251,737.17
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of       Valuation method used   Current value of
                                                                                 debtor's interest       for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office furniture [market value; NBV as of
           04/30/2020 is estimated]                                                        $26,887.91    Liquidation                         $7,500.00



 40.       Office fixtures
           Product displays [market value; NBV as of
           04/30/2020 is estimated]                                                         $7,775.97    Liquidation                         $2,000.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Software [market value; NBV as of 04/30/2020
           is estimated]                                                                    $8,039.06    Liquidation                       $20,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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                                   Case 3:20-bk-01951                   Doc 1     Filed 06/24/20        Page 83 of 158

 Debtor         CBB Acquisition Company, LLC                                                  Case number (If known)
                Name

           Computer and office equipment [market value;
           NBV as of 04/30/2020 is estimated]                                        $117,570.39     Liquidation                       $25,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $54,500.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Vehicles and capitalized lease vehicles
                     [market value; NBV as of 04/30/2020 is
                     estimated]                                                      $989,336.00     Liquidation                       $90,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Warehouse equipment [market value; NBV as
           of 04/30/2020 is estimated]                                               $121,218.28     Liquidation                       $30,000.00


           Leasehold improvements [market value; NBV
           as of 04/30/2020 is estimated]                                             $79,258.98     Liquidation                       $10,000.00




 51.       Total of Part 8.                                                                                                       $130,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         CBB Acquisition Company, LLC                                                  Case number (If known)
                Name


             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.buildersblinds.com                                                          $0.00                                        Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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 Debtor         CBB Acquisition Company, LLC                                                  Case number (If known)
                Name

           Loan due from DCI Investment                                       13,222.95 -                                  0.00 =
           Partners, LLC [balance as of                               Total face amount     doubtful or uncollectible amount
           06/24/2020]                                                                                                                 $13,222.95



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                        $13,222.95
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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 Debtor          CBB Acquisition Company, LLC                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $107,228.77

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $53,089.81

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,109,563.85

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $251,737.17

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $54,500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $130,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $13,222.95

 91. Total. Add lines 80 through 90 for each column                                                         $1,719,342.55            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,719,342.55




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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                                     Case 3:20-bk-01951                     Doc 1         Filed 06/24/20           Page 87 of 158

 Fill in this information to identify the case:

 Debtor name          CBB Acquisition Company, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        Rosenthal & Rosenthal,
 2.1                                                  Describe debtor's property that is subject to a lien               $4,767,291.20             $1,653,752.55
        Inc.
        Creditor's Name                               Blanket lien on assets, plus an additional
                                                      $749,999.96 in cash collateral pledged by
                                                      various guarantors not included in value of
        1370 Broadway                                 collateral in Column B
        New York, NY 10018
        Creditor's mailing address                    Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                          $4,767,291.2
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         CBB Acquisition Company, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $4,001.90          $4,001.90
           Dallas County Tax Office                                  Check all that apply.
           John R. Ames, CTA                                          Contingent
           P.O. Box 139066                                            Unliquidated
           Dallas, TX 75313-9066                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Personal property taxes [balance as of
                                                                     06/16/2020]
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $1,002.40          $1,002.40
           Duval County Tax Collector                                Check all that apply.
           231 E. Forsyth St.                                         Contingent
           Jacksonville, FL 32202                                     Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Property taxes [balance as of 06/16/2020]
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 24
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 Debtor       CBB Acquisition Company, LLC                                                                    Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $83,000.00    $83,000.00
          FL Dept. of Revenue                                        Check all that apply.
          5050 W. Tennessee St.                                       Contingent
          Tallahassee, FL 32399                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales taxes [balance as of 06/23/2020]
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          FL Dept. of State                                          Check all that apply.
          Clifton Building                                            Contingent
          2661 Executive Center Dr.                                   Unliquidated
          Tallahassee, FL 32301                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $649.82     $649.82
          Hillsborough County Tax Collector                          Check all that apply.
          P.O. Box 30012                                              Contingent
          Tampa, FL 33630-3012                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Property taxes [balance as of 06/16/2020]
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Internal Revenue Service                                   Check all that apply.
          P.O. Box 7346                                               Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 24
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 Debtor       CBB Acquisition Company, LLC                                                                    Case number (if known)
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $40,814.75    $40,814.75
           North Carolina Dept. of Revenue                           Check all that apply.
           P.O. Box 25000                                             Contingent
           Raleigh, NC 27640                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales taxes [balance as of 06/23/2020]
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $33,000.00    $33,000.00
           Tennessee Dept. of Revenue                                Check all that apply.
           500 Deaderick St.                                          Contingent
           Nashville, TN 37242                                        Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales taxes [balance as of 06/23/2020]
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.9       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $16,529.81    $16,529.81
           Texas Comptroller of Public                               Check all that apply.
           Accoun                                                     Contingent
           P.O. Box 149359                                            Unliquidated
           Austin, TX 78714-9359                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales taxes [balance as of 06/23/2020]
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $412.50
           A Ventures, Inc.                                                         Contingent
           P.O. Box 1379                                                            Unliquidated
           Palm City, FL 34991                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     [balance as of 06/16/2020]
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $556.58
           Accounting Principals                                                    Contingent
           Dept. CH 14031                                                           Unliquidated
           Palatine, IL 60055                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     [balance as of 06/16/2020]
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 24
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 Debtor       CBB Acquisition Company, LLC                                                            Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,467.90
          Allegiance Staffing                                                 Contingent
          P.O. Box 4356, Dept. 1903                                           Unliquidated
          Houston, TX 77210-4356                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,024.80
          Altman & Company, LLC                                               Contingent
          258 Main St., #205                                                  Unliquidated
          Milford, MA 01757                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,243.88
          Anago of Jacksonville                                               Contingent
          7563 Philips Hwy.                                                   Unliquidated
          Bldg. 300, #301                                                     Disputed
          Jacksonville, FL 32256
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $945.00
          Area Communication Company                                          Contingent
          P.O. Box 1300                                                       Unliquidated
          Orange Park, FL 32067                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,774.91
          Arrow Personnel                                                     Contingent
          Bridgeport Capital, LLC                                             Unliquidated
          P.O. Box 101004                                                     Disputed
          Atlanta, GA 30392-1004
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,623.14
          Astra Products                                                      Contingent
          7154 SR 88                                                          Unliquidated
          Ravenna, OH 44266                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,336.70
          AT&T Dallas Whs - 1245                                              Contingent
          P.O. Box 0191168.79                                                 Unliquidated
          Carol Stream, IL 60197-5019                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       CBB Acquisition Company, LLC                                                            Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Ballantree Consulting                                               Contingent
          55 Sofia Dr.                                                        Unliquidated
          Blackwood, NJ 08012                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,357.76
          Barker Cypress 5.5 Ltd.                                             Contingent
          233 Hull Ln.                                                        Unliquidated
          Sugar Land, TX 77498                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Back rent due [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,080.00
          Baseline                                                            Contingent
          1955 Cotswold Dr., #A                                               Unliquidated
          Orlando, FL 32825                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,236.06
          Beaches Energy                                                      Contingent
          P.O. Box 51389                                                      Unliquidated
          Jacksonville Beach, FL 32240                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,126.83
          Belfort 3 Partners, LLC                                             Contingent
          c/o NAI / Hallmark                                                  Unliquidated
          6675 Corporate Center Pkwy., #100                                   Disputed
          Jacksonville, FL 32216
                                                                             Basis for the claim:    Back rent due [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,852.20
          Blinds, etc.                                                        Contingent
          9559 Center Ave., #G                                                Unliquidated
          Rancho Cucamonga, CA 91730                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,671.98
          BM3                                                                 Contingent
          1165 S. Stemmons Frwy., #105                                        Unliquidated
          Lewisville, TX 75067                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       CBB Acquisition Company, LLC                                                            Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $835.00
          CalAtlantic Group, Inc. Las Vegas                                   Contingent
          9275 W. Russell Rd., #240                                           Unliquidated
          Las Vegas, NV 89148                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Career Employment Professionals                                     Contingent
           d/b/a Trace Staffing Solutions
          1010 E. Adams St., #220
                                                                              Unliquidated
          Jacksonville, FL 32202                                              Disputed
          Date(s) debt was incurred                                                         Voluntarily dismissed [Duval County, Florida; Case
                                                                             Basis for the claim:
          Last 4 digits of account number                                    No. 16-2016-CA-00285, Division CV-F]
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $371.75
          City of Grand Prairie                                               Contingent
          317 W. College St.                                                  Unliquidated
          Grand Prairie, TX 75050                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $524.31
          City of North Las Vegas                                             Contingent
          Utilities Department                                                Unliquidated
          P.O. Box 360118                                                     Disputed
          North Las Vegas, NV 89036-0118
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,839.17
          Colfin-Cobalt I-II Owner, LLC                                       Contingent
          7575 Dr. Phillips Blvd., #130                                       Unliquidated
          Orlando, FL 32819                                                   Disputed
          Date(s) debt was incurred
                                                                                             Final judgment after default [Hillsborough County,
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Florida; Case No. 2019-CA-02364
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $410.00
          Concrete Pay Services, LLC                                          Contingent
          P.O. Box 573                                                        Unliquidated
          Garner, NC 27529                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,221.50
          Constellation New Energy, Inc.                                      Contingent
          P.O. Box 5471                                                       Unliquidated
          Carol Stream, IL 60197-5471                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       CBB Acquisition Company, LLC                                                            Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,899.38
          Construction Contractor Services,                                   Contingent
          1501 S. Belcher Rd., #B5                                            Unliquidated
          Largo, FL 33771                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Judgment [Pinellas County, Florida; Case No.
          Last 4 digits of account number                                    19-04237-CO]
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,032.81
          Crowell Moring                                                      Contingent
          P.O. Box 75509                                                      Unliquidated
          Baltimore, MD 21275-5509                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,311.00
          CSC - 8190528                                                       Contingent
          P.O. Box 13397                                                      Unliquidated
          Philadelphia, PA 19101-3397                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,371.00
          CSC - Corporation Service Company                                   Contingent
          P.O. Box 13397                                                      Unliquidated
          Philadelphia, PA 19101-3397                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $374.00
          CT Corporation                                                      Contingent
          P.O. Box 4349                                                       Unliquidated
          Carol Stream, IL 60197-4349                                         Disputed
          Date(s) debt was incurred
                                                                                             Arizona foreign representation [Builders Blinds]
                                                                             Basis for the claim:
          Last 4 digits of account number                                    [balance as of 06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $580.12
          Custom Blinds and Components                                        Contingent
          12330 Colony Ave.                                                   Unliquidated
          Chino, CA 91710                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          East Coast Builders                                                 Contingent
          10413 Chablis Ln.                                                   Unliquidated
          Frisco, TX 75035                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       CBB Acquisition Company, LLC                                                            Case number (if known)
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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,068.30
          Elegant Windows / STA Internationa                                  Contingent
          225 Broadhollow Rd., #150                                           Unliquidated
          Melville, NY 11747-4822                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,156.24
          Enterprise FM Trust                                                 Contingent
          Enterprise Fleet Management                                         Unliquidated
          P.O. Box 8000089                                                    Disputed
          Kansas City, MO 64180-0089
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $318.77
          FedEx                                                               Contingent
          P.O. Box 660481                                                     Unliquidated
          Dallas, TX 75266-0481                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number       3272
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $985.24
          FedEx Freight                                                       Contingent
          Dept. CH                                                            Unliquidated
          P.O. Box 10306                                                      Disputed
          Palatine, IL 60055-0306
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $241.61
          First Advantage Background                                          Contingent
          Screening Services                                                  Unliquidated
          P.O. Box 403532                                                     Disputed
          Atlanta, GA 30384
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $690.15
          First Coast Business Machines                                       Contingent
          370 Park St.                                                        Unliquidated
          Jacksonville, FL 32204                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Printers [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,047.59
          First Insurance                                                     Contingent
          P.O. Box 7000                                                       Unliquidated
          Carol Stream, IL 60197-7000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Umbrella insurance [balance as of 06/16/2020]
          Last 4 digits of account number       9591
                                                                             Is the claim subject to offset?    No  Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,458.66
          First Insurance Funding                                             Contingent
          P.O. Box 7000                                                       Unliquidated
          Carol Stream, IL 60197-7000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number       8277
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $132,177.71
          Galaxy Custom Home Brokers, Inc.                                    Contingent
          15302 Baisley Blvd.                                                 Unliquidated
          Jamaica, NY 11434                                                   Disputed
          Date(s) debt was incurred
                                                                                            Default final judgment [Duval County, Florida; Case
                                                                             Basis for the claim:
          Last 4 digits of account number                                    No. 16-2019-CA-03685, Division CV-G]
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,287.80
          Guardian Insurance                                                  Contingent
          PNC Bank                                                            Unliquidated
          P.O. Box 677458                                                     Disputed
          Dallas, TX 75267-7458
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,984.69
          Hardy Properties at Intercontinent                                  Contingent
          Dept. 297                                                           Unliquidated
          P.O. Box 4346                                                       Disputed
          Houston, TX 77210
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $949.00
          HBA of Raleigh - Wake County                                        Contingent
          5580 Centerview Dr., #115                                           Unliquidated
          Raleigh, NC 27606                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,368.00
          HCC Surety Group                                                    Contingent
          P.O. Box 4312                                                       Unliquidated
          Woodland Hills, CA 91365-4312                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Licenses and permits [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Heather Gray                                                        Contingent
          1530 Cross Stone Ct.
          Houston, TX 77089
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                                   Product liability claim [Duval County, Florida; Case
                                                                             Basis for the claim:
                                                                             No. 16-2019-CA-04890, Division CV-E]
                                                                             Is the claim subject to offset?    No  Yes



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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,870.76
          Hire Quest, LLC d/b/a Trojan Labor                                  Contingent
          P.O. Box 890714                                                     Unliquidated
          Charlotte, NC 28289-0714                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number       8971
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $748.00
          Hire Quest, LLC d/b/a Trojan Labor                                  Contingent
          P.O. Box 890714                                                     Unliquidated
          Charlotte, NC 28289-0714                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number       8737
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Home Builders Association of Ralei                                  Contingent
          5580 Centerview Dr., #115                                           Unliquidated
          Raleigh, NC 27606                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $122,078.10
          Houston Shutters                                                    Contingent
          Attn: Heather Poston                                                Unliquidated
          7000 Grand Blvd.                                                    Disputed
          Houston, TX 77054
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,604.77
          Inpro Corporation                                                   Contingent
          S80 W18766 Apollo Dr.                                               Unliquidated
          Muskego, WI 53150                                                   Disputed
          Date(s) debt was incurred
                                                                                             Final judgment against defendant [Duval County,
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Florida; Case No. 16-2019-CC-03215, Division CC-M]
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,171.25
          J.B. Hunt Transport, Inc.                                           Contingent
          P.O. Box 847977                                                     Unliquidated
          Dallas, TX 75284-7977                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,191.00
          Jackson Lewis, P.C.                                                 Contingent
          P.O. Box 416019                                                     Unliquidated
          Boston, MA 02241-6019                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,732.25
          John Beck Insurance Agency, Inc.                                    Contingent
          8726 Atlantic Blvd.                                                 Unliquidated
          Jacksonville, FL 32211                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,912.00
          Kirkland / Lampe Management                                         Contingent
          Kirkland Road Industrial Park                                       Unliquidated
          1517 Kirkland Rd.                                                   Disputed
          Raleigh, NC 27603
                                                                             Basis for the claim:    Back rent due for Raleigh location [balance as of
          Date(s) debt was incurred
                                                                             06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,414.64
          L.C. Personnel, Inc. d/b/a                                          Contingent
          Labor Finders (Dallas)                                              Unliquidated
          P.O. Box 83353                                                      Disputed
          Richardson, TX 75083-3353
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number       2796                         Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,662.24
          Labor Finders                                                       Contingent
          LFI Fort Pierce, Inc.                                               Unliquidated
          1617 N. Federal Hwy.                                                Disputed
          Lake Worth, FL 33460
                                                                                            Default final judgment [Duval County, Florida; Case
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             No. 2020-CC-02878, Division CC-E]
          Last 4 digits of account number       2215
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $388.95
          Labor Finders Las Vegas                                             Contingent
          2550 S. Rainbow Blvd.                                               Unliquidated
          Las Vegas, NV 89146                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number       2215
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,861.53
          Labor Finders Orlando                                               Contingent
          Robert Deck, Inc.                                                   Unliquidated
          P.O. Box 560992                                                     Disputed
          Orlando, FL 32856
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number       2215                         Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,867.13
          Labor Max Staffing                                                  Contingent
          P.O. Box 900                                                        Unliquidated
          971 Premier Dr.                                                     Disputed
          Kearney, MO 64060
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,173.23
          Landstar Ranger                                                     Contingent
          P.O. Box 784293                                                     Unliquidated
          Philadelphia, PA 19178-4293                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,509.62
          Landstar Ranger, Inc.                                               Contingent
          13410 Sutton Park Dr. S                                             Unliquidated
          Jacksonville, FL 32224                                              Disputed
          Date(s) debt was incurred
                                                                                            Default final judgment [Duval County, Florida; Case
                                                                             Basis for the claim:
          Last 4 digits of account number                                    No. 16-2019-CA-04883, Division CV-B]
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,820.63
          Longhorn Business Park                                              Contingent
          8305 Shoal Creek Blvd.                                              Unliquidated
          Austin, TX 78757                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Back rent due for Plugerville property [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,132.20
          Lotus & Windoware Inc.                                              Contingent
          4444 S. Mendenhall Rd., #14                                         Unliquidated
          Memphis, TN 38141                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $72,329.90
          Lutron Electronics Company, Inc.                                    Contingent
          P.O. Box 643782                                                     Unliquidated
          Pittsburgh, PA 15264-3782                                           Disputed
          Date(s) debt was incurred
                                                                                            Default final judgment [Duval County, Florida; Case
                                                                             Basis for the claim:
          Last 4 digits of account number                                    No. 16-2019-CA-05625, Division CV-H]
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,563.44
          MLG/PF Breckenridge Investment LLC                                  Contingent
          c/o MLG/PF III Manager, LLC                                         Unliquidated
          13400 Bishop's Ln., #270                                            Disputed
          Brookfield, WI 53005
                                                                             Basis for the claim:    Back rent due [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          NC Dumpster, LLC                                                    Contingent
          P.O. Box 215                                                        Unliquidated
          Holly Springs, NC 27540-1050                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 05/28/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $700.00
          NEFBA                                                               Contingent
          6747 Southpoint Pkwy.                                               Unliquidated
          Jacksonville, FL 32216                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,223.00
          Neighborhood Storage #1                                             Contingent
          310 NE 25th Ave.                                                    Unliquidated
          Ocala, FL 34470                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $495.91
          North Texas Tolling Authority                                       Contingent
          P.O. Box 660244                                                     Unliquidated
          Dallas, TX 75266-0244                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $510.00
          Northeast Florida Builders Assoc.                                   Contingent
          103 Century 21 Dr., #100                                            Unliquidated
          Jacksonville, FL 32216                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,100.00
          Overhead Door Pros                                                  Contingent
          2100 S. Great SW Pkwy., #305                                        Unliquidated
          Grand Prairie, TX 75051                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $588.12
          Pam Sibley                                                          Contingent
          12811 Pacifica Pl.                                                  Unliquidated
          Tampa, FL 33625                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,792.76
          Park 720 / Kirby Family Ltd.                                        Contingent
          1406 SE 46th Ln., #4                                                Unliquidated
          Cape Coral, FL 33904                                                Disputed
          Date(s) debt was incurred
                                                                                             Rents due at closed Ft. Myers warehouse location
                                                                             Basis for the claim:
          Last 4 digits of account number                                    [balance as of 06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,829.42
          Penske Truck Leasing Co., L.P.                                      Contingent
          P.O. Box 532658                                                     Unliquidated
          Atlanta, GA 30353-2658                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,032.50
          People Ready                                                        Contingent
          P.O. Box 74035                                                      Unliquidated
          Atlanta, GA 30374-0435                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,517.60
          Phase II Products, Inc.                                             Contingent
          501 W. Broadway, #2090                                              Unliquidated
          San Diego, CA 92101                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,729.00
          Pivot CPAs, f/k/a The Griggs Group                                  Contingent
          238 Ponte Vedra Park Dr., #201                                      Unliquidated
          Ponte Vedra Beach, FL 32082                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Pradera SFR, LLC                                                    Contingent
          2115 Stephens Pl., #400                                             Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Pradera SFR, LLC                                                    Contingent
          AHV Communications                                                  Unliquidated
          18881 Von Karman Ave., #420                                         Disputed
          Irvine, CA 92612
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,082.64
          Pure Health Solutions, Inc.                                         Contingent
          P.O. Box 644006                                                     Unliquidated
          Cincinnati, OH 45264-4006                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       CBB Acquisition Company, LLC                                                            Case number (if known)
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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          R&L Carriers, Inc.
          Credit & Collections                                                Contingent
          Attn: Cherene                                                       Unliquidated
          600 Gillam Rd.                                                      Disputed
          Wilmington, OH 45177
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,773.43
          Randstad North America, Inc.                                        Contingent
          P.O. Box 742689                                                     Unliquidated
          Atlanta, GA 30374-2689
                                                                              Disputed
          Date(s) debt was incurred
                                                                                           Contract dispute [Duval County, Florida; Case No.
                                                                             Basis for the claim:
          Last 4 digits of account number                                    16-2018-CA-04149, Division CV-H]
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,223.48
          Regal Temporary Services                                            Contingent
          424 E. Lamar Blvd.                                                  Unliquidated
          Arlington, TX 76011                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $438,200.00
          Regions Bank                                                        Contingent
          4422 Southside Blvd.                                                Unliquidated
          Jacksonville, FL 32216
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PPP Loan Proceeds
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,850.62
          Reliant                                                             Contingent
          P.O. Box 650475                                                     Unliquidated
          Dallas, TX 75265                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,099.65
          Republic Services                                                   Contingent
          P.O. Box 78829                                                      Unliquidated
          Phoenix, AZ 85062-8829                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,840.76
          Republic Waste Services                                             Contingent
          Duncan Disposal #794                                                Unliquidated
          P.O. Box 78829                                                      Disputed
          Phoenix, AZ 85062-8829
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $951,226.00
          Richard Hochman                                                     Contingent
          641 Lexington Ave., 17th Fl.                                        Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loans from shareholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $766.26
          Ricoh USA, Inc.                                                     Contingent
          P.O. Box 827577                                                     Unliquidated
          Philadelphia, PA 19182-7577                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Back lease payments due [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70.85
          Ricoh USA, Inc.                                                     Contingent
          70 Valley Stream Pkwy.                                              Unliquidated
          Malvern, PA 19355                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Back lease payments due [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $310,411.86
          Royal Windows, Inc.                                                 Contingent
          606 Fountain Pkwy.                                                  Unliquidated
          Grand Prairie, TX 75050                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $527.78
          Royal Windows, Inc.                                                 Contingent
          606 Fountain Pkwy.                                                  Unliquidated
          Grand Prairie, TX 75050                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Back rent due [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,316,578.00
          Russell Byers                                                       Contingent
          68 Forest Ave., #3                                                  Unliquidated
          Locust Valley, NY 11560                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loans from shareholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,374.05
          Saia Motor Freight Line, LLC                                        Contingent
          P.O. Box 730532                                                     Unliquidated
          Dallas, TX 75373-0532                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $516,726.00
          Salvatore Zizza                                                     Contingent
          641 Lexington Ave., 17th Fl.                                        Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loans from shareholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,313.66
          Samco Enterprise                                                    Contingent
          1525-A The Greens Way                                               Unliquidated
          Jacksonville Beach, FL 32250                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Old landlord [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,904.25
          SignZoo                                                             Contingent
          4139 N. Washington Blvd.                                            Unliquidated
          Sarasota, FL 34234                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,040.00
          Skillsoft                                                           Contingent
          107 Northeastern Blvd.                                              Unliquidated
          Nashua, NH 03062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          SNI Companies Corp.                                                 Contingent
          5220 Belfort Rd.                                                    Unliquidated
          Jacksonville, FL 32256                                              Disputed
          Date(s) debt was incurred
                                                                                           Final judgment [Duval County, Florida; Case No.
                                                                             Basis for the claim:
          Last 4 digits of account number                                    16-2019-CA-02557, Division CV-B]
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $89,409.06
          Southeastern Freight Lines, Inc.                                    Contingent
          P.O. Box 1691                                                       Unliquidated
          Lexington, SC 29073                                                 Disputed
          Date(s) debt was incurred
                                                                                            Final default judgment [Duval County, Florida; Case
                                                                             Basis for the claim:
          Last 4 digits of account number                                    No. 16-2018-CA-08825, Division CV-D]
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,370.00
          Southeastern Logistics Solutions                                    Contingent
          1C Trotter Rd.                                                      Unliquidated
          West Columbia, SC 29169                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $226.59
          SouthWest Materials Handling Co.                                    Contingent
          4719 Almond St.                                                     Unliquidated
          Dallas, TX 75247-6499                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $785.29
          Star2Star Communications - Dallas                                   Contingent
          P.O. Box 97231                                                      Unliquidated
          Las Vegas, NV 89193-7231                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number       1482
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $581.58
          Star2Star Communications - FL                                       Contingent
          P.O. Box 97231                                                      Unliquidated
          Las Vegas, NV 89193-7231                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number       9462
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,183,278.00
          Steven Tuttleman                                                    Contingent
          145 Hudston St., #401                                               Unliquidated
          New York, NY 10013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loans from shareholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $417.00
          Stewart Investments, LLC                                            Contingent
          d/b/a Advanced Lakeside Storage                                     Unliquidated
          7790-B Hwy. 109N                                                    Disputed
          Lebanon, TN 37090
                                                                             Basis for the claim:    Back rent due [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number       inds                         Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,747.72
          Superior Solutions Staffing Servic                                  Contingent
          P.O. Box 1577                                                       Unliquidated
          Gainesville, TX 76241-1577                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $361.47
          Teco - Tampa Electric                                               Contingent
          P.O. Box 31318                                                      Unliquidated
          Tampa, FL 33631                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $85.12
          Teco - Tampa Electric                                               Contingent
          P.O. Box 31318                                                      Unliquidated
          Tampa, FL 33631                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Second meter [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,695.52
          The Scarlett Group, LLC                                             Contingent
          1532 Kingsley Ave., #110                                            Unliquidated
          Orange Park, FL 32073                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $307.00
          Thermal Engineers, Inc.                                             Contingent
          12489 San Jose Blvd., #1                                            Unliquidated
          Jacksonville, FL 32223                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $875.59
          TotalSource                                                         Contingent
          10407 Centurian Pkwy. N                                             Unliquidated
          Jacksonville, FL 32256                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $251.94
          UHaul                                                               Contingent
          1900 S. Decatur Blvd.                                               Unliquidated
          Las Vegas, NV 89102                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,591.71
          UHC Allsavers                                                       Contingent
          3100 AMD Blvd.                                                      Unliquidated
          P.O. Box 19032                                                      Disputed
          Green Bay, WI 54307-9032
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,448.12
          Uline Shipping Supply                                               Contingent
          P.O. Box 88741                                                      Unliquidated
          Chicago, IL 60680-1741                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,101.88
          United Healthcare                                                   Contingent
          Premium Billing                                                     Unliquidated
          P.O. Box 94017                                                      Disputed
          Palatine, IL 60094-4017
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,559.75
          UPS                                                                 Contingent
          P.O. Box 7247-0244                                                  Unliquidated
          Philadelphia, PA 19171                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,454.46
          Verizon Wireless 09                                                 Contingent
          P.O. Box 660108                                                     Unliquidated
          Dallas, TX 75266-0108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,531.18
          Verizon Wireless 20                                                 Contingent
          P.O. Box 660108                                                     Unliquidated
          Dallas, TX 75266-0108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $863.59
          Wex Bank - Enterprise                                               Contingent
          P.O. Box 6293                                                       Unliquidated
          Carol Stream, IL 60197-6293                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gas card for vehicles [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,970.68
          Wex Bank - Fleet Fuel                                               Contingent
          P.O. Box 4337                                                       Unliquidated
          Carol Stream, IL 60197-4337                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gas card for vehicles [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $358.00
          Wolters Kluwer                                                      Contingent
          11454 Woodviolet Dr.                                                Unliquidated
          Houston, TX 77089                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 20 of 24
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 Debtor       CBB Acquisition Company, LLC                                                            Case number (if known)
              Name

 3.122     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $797,994.14
           World Bright International Limited                                 Contingent
           P.O. Box 315                                                       Unliquidated
           Road Town                                                          Disputed
           Tortola, British Virgin Island
                                                                             Basis for the claim:    [balance as of 06/16/2020]
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.123     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $23,710.60
           Worldwide Express                                                  Contingent
           P.O. Box 733360                                                    Unliquidated
           Dallas, TX 75373                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,985.25
           Wyoming Properties, LLC                                            Contingent
           P.O. Box 530104                                                    Unliquidated
           Orlando, FL 32853                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Back rent due [balance as of 06/16/2020]
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $185,064.31
           XPO Logistics                                                      Contingent
           Bethune & Associates                                               Unliquidated
           14435 N. 7th St., #201                                             Disputed
           Phoenix, AZ 85022-4327
                                                                             Basis for the claim:    [balance as of 06/16/2020]
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Allan M. Stein, Esq.
           Rosenfeld Stein Batta, P.A.                                                                Line     3.63
           21490 W. Dixie Hwy.
           Aventura, FL 33180                                                                               Not listed. Explain


 4.2       Andrew J. Mongelluzzi, Esq.
           Clearwater Business Law, LLC                                                               Line     3.24
           1799 N. Belcher Rd., #B
           Clearwater, FL 33765                                                                             Not listed. Explain


 4.3       Attorney General of the U.S.
           950 Pennsylvania Ave. NW                                                                   Line     3.83
           Washington, DC 20530
                                                                                                            Not listed. Explain

 4.4       Ben J. Whitman, Esq.
           Clark, Fountain, La Vista, Prather                                                         Line     3.44
           1919 N. Flagler Dr., 2nd Fl.
           West Palm Beach, FL 33407                                                                        Not listed. Explain




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 21 of 24
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 Debtor       CBB Acquisition Company, LLC                                                        Case number (if known)
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.5      C. Hugh Blanton, Jr., Esq.
          Kosto & Rotella, P.A.                                                                  Line   3.81
          301 W. Bay St., #1410
          Jacksonville, FL 32202                                                                       Not listed. Explain


 4.6      C. Hugh Blanton, Jr., Esq.
          Kosto & Rotella, P.A.                                                                  Line   3.81
          P.O. Box 4759
          Jacksonville, FL 32201                                                                       Not listed. Explain


 4.7      Colony Capital
          7575 Dr. Phillips Blvd., #130                                                          Line   3.21
          Orlando, FL 32819
                                                                                                       Not listed. Explain

 4.8      Glorian Maziarka, Esq.
          1010 E. Adams St., #131                                                                Line   3.18
          Jacksonville, FL 32202
                                                                                                       Not listed. Explain

 4.9      Graystone Partners, LLC
          Commercial Debt Recovery                                                               Line   3.96
          5151 N. Oracle Rd., #209
          Tucson, AZ 85704                                                                             Not listed. Explain


 4.10     Inrpo Corporation
          P.O. Box 720                                                                           Line   3.49
          Muskego, WI 53150
                                                                                                       Not listed. Explain

 4.11     Jim Overton, Duval County Tax Coll
          P.O. Box 44009                                                                         Line   2.2
          Jacksonville, FL 32231-4009
                                                                                                       Not listed. Explain

 4.12     Joel B. Blumberg, Esq.
          Joel B. Blumberg, P.A.                                                                 Line   3.99
          200 Butler St., #307
          West Palm Beach, FL 33407-9036                                                               Not listed. Explain


 4.13     Joseph C. Crawford, Esq.
          Smith Gambrell & Russell, LLP                                                          Line   3.98
          50 N. Laura St., #2600
          Jacksonville, FL 32202                                                                       Not listed. Explain


 4.14     Landstar Global Logistics
          P.O. Box 784302                                                                        Line   3.60
          Philadelphia, PA 19178-4302
                                                                                                       Not listed. Explain

 4.15     Lawrence J. Roberts, Esq.
          Lawrence J. Roberts & Associates,                                                      Line   3.60
          249 Catalonia Ave.
          Coral Gables, FL 33134                                                                       Not listed. Explain


 4.16     LFI Fort Pierce, Inc., d/b/a
          Labor Finders Tampa                                                                    Line   3.55
          5501 W. Waters Ave., #407
          Tampa, FL 33634                                                                              Not listed. Explain




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 22 of 24
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 Debtor       CBB Acquisition Company, LLC                                                        Case number (if known)
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.17     Marc D. Chapman, Esq.
          Dean Mead                                                                              Line   3.21
          420 S. Orange Ave., #700
          Orlando, FL 32801                                                                            Not listed. Explain


 4.18     MLG/PF Breckenridge Investment, LL
          P.O. Box 775516                                                                        Line   3.64
          Chicago, IL 60677-5516
                                                                                                       Not listed. Explain

 4.19     Randstad Mail Code 5602
          P.O. Box 105046                                                                        Line   3.81
          Atlanta, GA 30348-5046
                                                                                                       Not listed. Explain

 4.20     Ravi Batta, Esq.
          Rosenfeld Stein Batta, P.A.                                                            Line   3.39
          21490 W. Dixie Hwy.
          Aventura, FL 33180                                                                           Not listed. Explain


 4.21     Richard P. Joblove, Esq.
          12372 Southwest 82nd Ave.                                                              Line   3.55
          Miami, FL 33156
                                                                                                       Not listed. Explain

 4.22     Richard S. Loudermilk, Esq.
          Loudermilk Law Firm, P.A.                                                              Line   3.49
          1800 Second St., #717
          Sarasota, FL 34236                                                                           Not listed. Explain


 4.23     SNI Companies
          P.O. Box 840912                                                                        Line   3.98
          Dallas, TX 75284-0912
                                                                                                       Not listed. Explain

 4.24     Southeastern Freight Lines
          P.O. Box 100104                                                                        Line   3.99
          Columbia, SC 29202-3104
                                                                                                       Not listed. Explain

 4.25     State of Florida, Dept. of Revenue
          Jacksonville Service Center                                                            Line   2.3
          921 N. Davis St., #250A
          Jacksonville, FL 32209-6825                                                                  Not listed. Explain


 4.26     U.S. Small Business Administration
          409 3rd St. SW, 2nd Fl.                                                                Line   3.83
          Washington, DC 20024
                                                                                                       Not listed. Explain

 4.27     U.S. Small Business Administration
          Attn: Lisa Still, Esq.                                                                 Line   3.83
          7825 Baymeadows Way, #100-B
          Jacksonville, FL 32256                                                                       Not listed. Explain


 4.28     U.S. Small Business Administration
          North Florida District Office                                                          Line   3.83
          7825 Baymeadows Way, #100-B
          Jacksonville, FL 32256                                                                       Not listed. Explain


 4.29     U.S. Small Business Administration
          2120 Riverfront Dr., #100                                                              Line   3.83
          Little Rock, AR 72202
                                                                                                       Not listed. Explain


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 23 of 24
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 Debtor       CBB Acquisition Company, LLC                                                        Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.30      United HealthCare Services
           P.O. Box 88106                                                                        Line      3.115
           Chicago, IL 60680-1106
                                                                                                       Not listed. Explain

 4.31      United States Attorneys' Office
           Middle District of Florida                                                            Line      3.83
           Attn: Civil Process Clerk
           300 N. Hogan St., #700                                                                      Not listed. Explain

           Jacksonville, FL 32202


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                     178,998.68
 5b. Total claims from Part 2                                                                        5b.    +     $                   8,833,147.83

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                     9,012,146.51




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 24 of 24
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 Fill in this information to identify the case:

 Debtor name         CBB Acquisition Company, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules.     There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal                Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Propane tank rental
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining
                                                                                        Advanced Propane, Inc.
              List the contract number of any                                           P.O. Box 507
                    government contract                                                 Hendersonville, TN 37077-0507


 2.2.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for office
             the debtor's interest                        and warehouse space
                                                          located at 7950 Belfort
                                                          Parkway, Suite 1600,
                                                          Jacksonville, Florida
                                                          32256
                  State the term remaining                                              Belfort 3 Partners, LLC
                                                                                        c/o NAI / Hallmark
              List the contract number of any                                           6675 Corporate Center Pkwy., #100
                    government contract                                                 Jacksonville, FL 32216


 2.3.        State what the contract or                   Master equity lease
             lease is for and the nature of               agreement for vehicle
             the debtor's interest                        fleet

                  State the term remaining                                              Enterprise FM Trust
                                                                                        Enterprise Fleet Management
              List the contract number of any                                           P.O. Box 8000089
                    government contract                                                 Kansas City, MO 64180-0089


 2.4.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement office and
             the debtor's interest                        warehouse space
                                                          located at 1317-103
                                                          Kirkland Road, Raleigh,
                                                          North Carolina 27603
                  State the term remaining                                              Ivey Self Storage, Inc.
                                                                                        P.O. Box 608
              List the contract number of any                                           Smithfield, NC 27577

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 3
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 Debtor 1 CBB Acquisition Company, LLC                                                           Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.5.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for space
             the debtor's interest                        located at 5906
                                                          Breckendridge
                                                          Parkway, Suite F,
                                                          Tampa, Florida 33610
                  State the term remaining                                               MLG/PF Breckenridge Investment LLC
                                                                                         c/o MLG/PF III Manager, LLC
             List the contract number of any                                             13400 Bishop's Ln., #270
                   government contract                                                   Brookfield, WI 53005


 2.6.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for space
             the debtor's interest                        located at 4674 Priem
                                                          Lane, Suites 106-107,
                                                          Pflugerville, Texas
                                                          78660-7565
                  State the term remaining                                               Parth Capital Group, LLC
                                                                                         c/o Longhorn Business Park/CSA Mgm
             List the contract number of any                                             8305 Shoal Creek Blvd.
                   government contract                                                   Austin, TX 78757


 2.7.        State what the contract or                   Lease agreement for
             lease is for and the nature of               Ricoh MPC3004
             the debtor's interest                        Branding Set machine

                  State the term remaining
                                                                                         Ricoh USA, Inc.
             List the contract number of any                                             70 Valley Stream Pkwy.
                   government contract                                                   Malvern, PA 19355


 2.8.        State what the contract or                   Sublease agreement for
             lease is for and the nature of               office and warehouse
             the debtor's interest                        space located at 1002
                                                          Fountain Parkway
                                                          Grand Prairie, Texas
                                                          75050
                  State the term remaining
                                                                                         Royal Windows, Inc.
             List the contract number of any                                             606 Fountain Pkwy.
                   government contract                                                   Grand Prairie, TX 75050


 2.9.        State what the contract or                   Rental agreement for
             lease is for and the nature of               space located at 7738
             the debtor's interest                        Highway 109 N, Space
                                                          No. 3, Lebanon,
                                                          Tennessee 37090                Stewart Investments, LLC
                  State the term remaining                                               d/b/a Advanced Lakeside Storage
                                                                                         7790-B Hwy. 109N
             List the contract number of any                                             Lebanon, TN 37090
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 3
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 Debtor 1 CBB Acquisition Company, LLC                                                           Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.10.       State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for space
             the debtor's interest                        located at 6413
                                                          Pinecastle Boulevard,
                                                          Unit 2, Orlando, Florida
                                                          32809
                  State the term remaining
                                                                                         Wyoming Properties, LLC
             List the contract number of any                                             P.O. Box 530104
                   government contract                                                   Orlando, FL 32853




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         CBB Acquisition Company, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:

    2.1      Builders Blinds                                                                     Rosenthal &                    D        2.1
             CA, LLC                                                                             Rosenthal, Inc.                 E/F
                                                                                                                                G



    2.2      Builders Blinds,                  f/k/a NC Investment Partners, LLC                 Rosenthal &                    D        2.1
             LLC                                                                                 Rosenthal, Inc.                 E/F
                                                                                                                                G



    2.3      Randolph                          7950 Belfort Pkwy., #1600                         Construction                   D
             Levinson                          Jacksonville, FL 32256                            Contractor Services,            E/F        3.24
                                                                                                                                G



    2.4      Richard                           641 Lexington Ave., 17th Fl.                      Rosenthal &                    D        2.1
             Hochman                           New York, NY 10022                                Rosenthal, Inc.                 E/F
                                                                                                                                G



    2.5      Russell Byers                     68 Forest Ave., #3                                Rosenthal &                    D        2.1
                                               Locust Valley, NY 11560                           Rosenthal, Inc.                 E/F
                                                                                                                                G




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor       CBB Acquisition Company, LLC                                                  Case number (if known)



            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Salvatore Zizza                   641 Lexington Ave., 17th Fl.                      Rosenthal &           D       2.1
                                               New York, NY 10022                                Rosenthal, Inc.        E/F
                                                                                                                       G



    2.7      Steven Tuttleman                  145 Hudston St., #401                             Rosenthal &           D       2.1
                                               New York, NY 10013                                Rosenthal, Inc.        E/F
                                                                                                                       G




Official Form 206H                                                           Schedule H: Your Codebtors                            Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         CBB Acquisition Company, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                               $2,233,287.94
       From 1/01/2020 to Filing Date                                                                        Gross Receipts
                                                                                                Other      [through 06/05]


       For prior year:                                                                          Operating a business                               $5,998,293.16
       From 1/01/2019 to 12/31/2019
                                                                                                Other      Gross Receipts


       For year before that:                                                                    Operating a business                             $12,179,988.84
       From 1/01/2018 to 12/31/2018
                                                                                                Other      Gross Receipts

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                                 Case 3:20-bk-01951                      Doc 1        Filed 06/24/20             Page 118 of 158
 Debtor       CBB Acquisition Company, LLC                                                              Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached check register.                                                                        $0.00          Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                   Value of property

       Astra Products of Ohio, Ltd.                              Garnishment of Wells Fargo Bank account                       01/07/2020                  $19,748.67
       7154 S.R. 88
       Ravenna, OH 44266

       Galaxy Custom Home Brokers, Inc.                          Garnishment of The Heritage Bank account                      03/25/2020                  $26,565.85
       15302 Baisley Blvd.                                       [funds frozen, not yet released]
       Jamaica, NY 11434


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    LFI Fort Pierce, Inc. d/b/a                       Contract dispute           County Court                                 Pending
               Labor Finders vs. CBB                                                        Duval County, Florida                        On appeal
               Acquisition Company, LLC,                                                                                                 Concluded
               d/b/a Builders Blinds
               2020-CC-02878, Division CC-E


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 Debtor       CBB Acquisition Company, LLC                                                              Case number (if known)



               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.2.    Lutron Electronics Company,                       Contract dispute          Circuit Court                            Pending
               Inc. vs. CBB Acquisition                                                    Fourth Judicial Circuit                  On appeal
               Company, LLC d/b/a Builders                                                 Duval County, Florida                    Concluded
               Blinds
               16-2019-CA-05625, Division
               CV-H

       7.3.    Heather Gray vs. CBB                              Product liability         Circuit Court                            Pending
               Acquisition Company, LLC                                                    Fourth Judicial Circuit                  On appeal
               and Royal Windows, Inc.                                                     Duval County, Florida
                                                                                                                                    Concluded
               16-2019-CA-04890, Division
               CV-E

       7.4.    Landstar Ranger, Inc. vs. CBB                     Contract dispute          Circuit Court                            Pending
               Acquisition Company, LLC                                                    Fourth Judicial Circuit                  On appeal
               d/b/a Builders Blinds                                                       Duval County, Florida                    Concluded
               16-2019-CA-04883, Division
               CV-B

       7.5.    Galaxy Custom Home                                Contract dispute          Circuit Court                            Pending
               Brokers, Inc. vs. CBB                                                       Fourth Judicial Circuit                  On appeal
               Acquisition Company, LLC                                                    Duval County, Florida                    Concluded
               16-2019-CA-03685, Division
               CV-G

       7.6.    SNI Companies Corp. vs. CBB                       Contract dispute          Circuit Court                            Pending
               Acquisition Company, LLC                                                    Fourth Judicial Circuit                  On appeal
               16-2019-CA-02557, Division                                                  Duval County, Florida                    Concluded
               CV-B

       7.7.    Astra Products of Ohio, Ltd.                      Contract dispute          Circuit Court                            Pending
               vs. CBB Acquisition                                                         Fourth Judicial Circuit                  On appeal
               Company, LLC                                                                Duval County, Florida                    Concluded
               16-2019-CA-01983, Division
               CV-C

       7.8.    Inpro Corporation vs. CBB                         Complaint for             County Court                             Pending
               Acquisition Company, LLC                          damages                   Duval County, Florida                    On appeal
               16-2019-CC, Division CC-M                                                                                            Concluded


       7.9.    Randstad North America, Inc.                      Contract dispute          Circuit Court                            Pending
               vs. CBB Acquisition                                                         Fourth Judicial Circuit                  On appeal
               Company, LLC                                                                Duval County, Florida
                                                                                                                                    Concluded
               16-2018-CA-04149, Division
               CV-H

       7.10 Career Employment                                    Contract dispute          Circuit Court                            Pending
       .    Professionals d/b/a Trace                                                      Fourth Judicial Circuit                  On appeal
               Staffing Solutions vs. CBB                                                  Duval County, Florida                    Concluded
               Acquisition Company, LLC
               d/b/a Builders Blinds d/b/a
               Coverall Interiors
               16-2016-CA-00285, Division
               CV-F

       7.11 Southeastern Freight Lines,                          Contract dispute          Circuit Court                            Pending
       .    Inc. vs. CBB Acquisition                                                       Fourth Judicial Circuit                  On appeal
               Company, LLC d/b/a Builders                                                 Duval County, Florida                    Concluded
               Blinds
               16-2018-CA-08825, Division
               CV-D

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 Debtor      CBB Acquisition Company, LLC                                                                   Case number (if known)



               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.12 Colfin-Cobalt I-II Owner, LLC                        Contract dispute             Circuit Court                              Pending
       .    vs. CBB Acquisition                                                               Thirteenth Judicial Circuit                On appeal
               Company, LLC d/b/a Builders                                                    Hillsborough County,                       Concluded
               Blinds                                                                         Florida
               2019-CA-02364

       7.13 Construction Contractor                              Contract dispute             Circuit Court                              Pending
       .    Services, Inc. vs. CBB                                                            Sixth Judicial Circuit                     On appeal
               Acquisition Company, LLC                                                       Pinellas County, Florida                   Concluded
               d/b/a Builders Blinds and
               Randolph Levinson
               19-04237-CO

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.




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 Debtor        CBB Acquisition Company, LLC                                                              Case number (if known)



                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    Thames Markey & Heekin, PA
                50 North Laura Street
                Suite 1600
                Jacksonville, FL 32202                               Attorney Fees                                             06/01/2020             $20,000.00

                Email or website address
                abd@tmhlaw.net

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information




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 Debtor        CBB Acquisition Company, LLC                                                             Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    Wells Fargo Bank, N.A.                           XXXX-6844                 Checking                  11/30/2019                           $0.00
                7711 Plantation Rd., 1st Fl.                                               Savings
                Roanoke, VA 24019-3224
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.2.    Wells Fargo Bank, N.A.                           XXXX-6851                 Checking                  01/31/2020                           $0.00
                7711 Plantation Rd., 1st Fl.                                               Savings
                Roanoke, VA 24019-3224
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own




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 Debtor      CBB Acquisition Company, LLC                                                               Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To



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 Debtor      CBB Acquisition Company, LLC                                                               Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Frank S. Tolford
                    Jackson Hewitt
                    7200 Normandy Blvd., #6
                    Jacksonville, FL 32210
       26a.2.       Michael A. Schnell
                    Pivot CPAs, f/k/a The Griggs Group
                    238 Ponte Vedra Park Dr., #201
                    Ponte Vedra Beach, FL 32082

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  Rosenthal & Rosenthal, Inc.
                    1370 Broadway
                    New York, NY 10018

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       DCI Investment Partners,                       152B The Greens Way                                 Shareholder                           100%
       LLC                                            Jacksonville Beach, FL 32250                                                              ownership
                                                                                                                                                interest
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Randolph Levinson                              1525B The Greens Way                                Manager                               0% ownership
                                                      Jacksonville Beach, FL 32250                                                              interest



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?




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 Debtor      CBB Acquisition Company, LLC                                                               Case number (if known)




           No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Steven Tuttleman                               145 Hudston St., #401                               Member                           05/08/2009 -
                                                      New York, NY 10013                                  0% ownership interest            07/2019

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Richard Hochman                                641 Lexington Ave., 17th Fl.                        Member, Manager                  05/2009 - 01/2020
                                                      New York, NY 10022                                  0% ownership interest

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Russell Byers                                  68 Forest Ave., #3                                  Member, Manager                  05/2009 - 01/2020
                                                      Locust Valley, NY 11560                             0% ownership interest

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Salvatore Zizza                                641 Lexington Ave., 17th Fl.                        Member, Manager                  05/2009 - 01/2020
                                                      New York, NY 10022                                  0% ownership interest


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Randolph Levinson
       .    1525B The Greens Way                                 $208,077.08 - Payroll                                   06/01/2019 -
               Jacksonville Beach, FL 32250                      $105,198.34 - Expense Reimbursements                    06/22/2020        Various

               Relationship to debtor
               Manager


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    DCI Investment Partners, LLC                                                                               EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation


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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 24, 2020

 /s/ Randolph M. Levinson                                               Randolph M. Levinson
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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3:52 PM                                                             Builders Blinds LLC/Coverall Interiors
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Accrual Basis                                                                 General Ledger
                                                                                  As of June 22, 2020

      Type          Date           Num                        Name                             Memo                                        Split         Debit          Credit      Balance

Bill Pmt -Check   03/02/2020 Debit       RELIANT-DAL-Grand Prairie        8 174 424 - 5                                 Accounts Payable                                 2,172.07    -2,190.63
Bill Pmt -Check   03/02/2020 DEBIT       Republic Services (Jax)          3-0687-0015287                                Accounts Payable                                    77.74    -2,268.37
Bill Pmt -Check   03/02/2020 DEBIT       Republic Services #794(Dallas)   3-0794-0010843                                Accounts Payable                                 1,266.06    -3,534.43
Bill Pmt -Check   03/02/2020 WIRE        ROYAL WINDOWS INC                92676500                                      Accounts Payable                                11,569.57   -15,104.00
Bill Pmt -Check   03/02/2020 DEBIT       InTouch GPS                                                                    Accounts Payable                                   460.00   -15,564.00
Bill Pmt -Check   03/02/2020 DEBIT       WORLDWIDE EXPRESS (new)                                                        Accounts Payable                                 1,485.75   -17,049.75
Check             03/02/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                         47.97   -17,097.72
Check             03/02/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                         47.97   -17,145.69
Check             03/02/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                         47.97   -17,193.66
Check             03/02/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                         47.97   -17,241.63
Check             03/02/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                         47.97   -17,289.60
Check             03/02/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                         47.97   -17,337.57
Check             03/02/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                         37.16   -17,374.73
Check             03/02/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                         37.16   -17,411.89
Check             03/02/2020 EFT         HERITAGE BANK FEE'S              Wire transfer Fees                            Bank Service Charges                                25.00   -17,436.89
Deposit           03/02/2020                                              Deposit                                       Rosenthal ($1,000,000)           17,975.00                     538.11
Check             03/02/2020 DC          EZ Catering                      Corp Lunch                                    EE Meals - 100% deduct                             166.40      371.71
Check             03/02/2020 Debit       LCEC                             FEB 2020                                      Utility payments                                    62.46      309.25
Check             03/02/2020 DC          Microsoft online                                                               Computer Repair/Maint/Supplies                      25.00      284.25
Check             03/02/2020 DEBIT       Concur Technologies Inc          33322                                         Computer Repair/Maint/Supplies                     151.75      132.50
Check             03/02/2020 DC          Craigslist                                                                     Recruiting                                          35.00       97.50
Check             03/02/2020 EFT         INTUITIVE WEBSITES               Invoice 5240                                  -SPLIT-                                            125.00       -27.50
Bill Pmt -Check   03/03/2020             JEA-JAX ELEC                     QuickBooks generated zero amount transaction Accounts
                                                                                                                       for bill payment
                                                                                                                                   Payable
                                                                                                                                        stub                     0.00                   -27.50
Check             03/03/2020 DEBIT2/2020 Longhorn Business Park           Feb Rent                                      Rent                                             3,330.00    -3,357.50
Bill Pmt -Check   03/03/2020 1174        AT&T 2386                        8003-063-2386                                 Accounts Payable                                    50.00    -3,407.50
Bill Pmt -Check   03/03/2020 1175        DFW Propane Exchange             002471                                        Accounts Payable                                   136.00    -3,543.50
Bill Pmt -Check   03/03/2020 1176        EDD                              1st weekly installment                        Accounts Payable                                   300.00    -3,843.50
Bill Pmt -Check   03/03/2020 WIRE        ROYAL WINDOWS INC                92676500                                      Accounts Payable                                 9,847.31   -13,690.81
Deposit           03/03/2020                                              Deposit                                       Rosenthal ($1,000,000)           13,475.00                    -215.81
Check             03/03/2020 EFT         HERITAGE BANK FEE'S              Wire transfer Fees                            Bank Service Charges                                25.00     -240.81
General Journal   03/03/2020 sqdep3/3                                     534468 537008                                 -SPLIT-                           1,414.78                   1,173.97
Check             03/03/2020 Debit       Teco-Tampa New account           221007629266                                  Utility payments                                    78.03    1,095.94
Bill Pmt -Check   03/04/2020 DEBIT       RELIANT-AUS-0117                 71019011-7                                    Accounts Payable                                   193.29      902.65
Bill Pmt -Check   03/04/2020 DEBIT       W.B. MASON                                                                     Accounts Payable                                   302.98      599.67
Bill Pmt -Check   03/04/2020             Straightalk Phones               QuickBooks generated zero amount transaction Accounts
                                                                                                                       for bill payment
                                                                                                                                   Payable
                                                                                                                                        stub                     0.00                  599.67
Bill Pmt -Check   03/04/2020             XPO Logistics-Brokerage          QuickBooks generated zero amount transaction Accounts
                                                                                                                       for bill payment
                                                                                                                                   Payable
                                                                                                                                        stub                     0.00                  599.67
Deposit           03/04/2020                                              Deposit                                       Rosenthal ($1,000,000)           21,975.00                  22,574.67
Check             03/04/2020 DEBIT       Simple Sales Tracking            X4990                                         Sales Expense                                      150.00   22,424.67
Check             03/04/2020 EFT         HERITAGE BANK FEE'S              Wire transfer Fees                            Bank Service Charges                                25.00   22,399.67
Bill Pmt -Check   03/04/2020 DEBIT       WORLDWIDE EXPRESS (new)                                                        Accounts Payable                                 3,462.29   18,937.38




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Accrual Basis                                                                General Ledger
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Bill Pmt -Check   03/04/2020 WIRED      ROYAL WINDOWS INC               92676500                                      Accounts Payable                             9,744.64    9,192.74
Check             03/04/2020 Debit      Star2Star - FL 359462           359462                                        Telephone & Internet - Office                 580.91     8,611.83
Bill Pmt -Check   03/05/2020 1177       Labor Finders-DAL 21-5-2796     21-5-2796                                     Accounts Payable                              578.49     8,033.34
Check             03/05/2020 EFT        HERITAGE BANK FEE'S             Wire transfer Fees                            Bank Service Charges                           25.00     8,008.34
Check             03/05/2020 EFT        HERITAGE BANK FEE'S             Wire transfer Fees                            Bank Service Charges                           25.00     7,983.34
Bill Pmt -Check   03/05/2020 WIRE       ROYAL WINDOWS INC               92676500                                      Accounts Payable                             8,208.94     -225.60
Check             03/05/2020 EFT        UnitedHealtcare                 January Insurance                             Health Ins.                                  8,014.37    -8,239.97
Check             03/05/2020 EFT        Guardian Insurance              March Premium                                 Employee Benefits                            1,266.92    -9,506.89
Check             03/05/2020 DEBIT      Staples Business Advantage      Paper and Ink                                 Office Expense                                249.19     -9,756.08
Check             03/05/2020 DEBIT      Comcast-Ft Myers 5002           This should be last bill.                     Telephone & Internet - Office                 176.22     -9,932.30
General Journal   03/05/2020 sqdep3/5                                   537986 537445                                 -SPLIT-                          1,195.82                -8,736.48
Check             03/06/2020 EFT        TriNet                          WE 2/29 Payroll                               Accrued Payroll                             36,414.52   -45,151.00
Deposit           03/06/2020                                            Deposit                                       Rosenthal ($1,000,000)          47,975.00                2,824.00
Check             03/06/2020 1178       XPO Logistics                                                                 Accounts Payable                             1,673.27    1,150.73
Bill Pmt -Check   03/06/2020            XPO Logistics                   QuickBooks generated zero amount transaction Accounts
                                                                                                                     for bill payment
                                                                                                                                 Payable
                                                                                                                                      stub                 0.00                1,150.73
Bill Pmt -Check   03/06/2020 1179       Moffa,Sutton & Donnini, P.A.    Invoiced 1/2/2020 #11337                      Accounts Payable                             1,782.50     -631.77
Bill Pmt -Check   03/06/2020 Debit      TPC SAWGRASS                                                                  Accounts Payable                               98.85      -730.62
Bill Pmt -Check   03/06/2020 1180       Kathryn Blanchard                                                             Accounts Payable                              106.25      -836.87
Deposit           03/06/2020                                            Deposit                                       Rosenthal ($1,000,000)          19,475.00               18,638.13
General Journal   03/06/2020 sqdep3/6                                   538190                                        -SPLIT-                          1,200.31               19,838.44
Check             03/06/2020 EFT        HERITAGE BANK FEE'S             Wire transfer Fees                            Bank Service Charges                           25.00    19,813.44
Check             03/06/2020 EFT        HERITAGE BANK FEE'S             Wire transfer Fees                            Bank Service Charges                           25.00    19,788.44
Bill Pmt -Check   03/06/2020 Wired      ROYAL WINDOWS INC               92676500                                      Accounts Payable                            11,295.18    8,493.26
Check             03/06/2020 DEBIT      HOME DEPOT                      x4990 per B Stepp                             Installation Supplies                         106.92     8,386.34
Check             03/06/2020 DEBIT      Straightalk Phones              New phone for Tampa market                    Telephone-Cellular - Office                   114.86     8,271.48
Bill Pmt -Check   03/06/2020 Debit      FED EX* ( acct 3032-9327-2)     3032-9327-2                                   Accounts Payable                              195.93     8,075.55
Check             03/06/2020 ACH        Sunpass Operations                                                            Tolls                                         200.00     7,875.55
Check             03/06/2020 Debit      SIGMA SUPPLY                                                                  Shop Supplies and Small Tools                 212.50     7,663.05
Bill Pmt -Check   03/06/2020 DEBIT      WORLDWIDE EXPRESS (new)                                                       Accounts Payable                             1,840.09    5,822.96
Check             03/06/2020 WIRE       city                                                                          -SPLIT-                                      3,152.61    2,670.35
Bill Pmt -Check   03/09/2020 WIRE       Wex Bank (Fleet Fuel)***        0496-00-556698-9                              Accounts Payable                             4,442.48    -1,772.13
Bill Pmt -Check   03/09/2020 DEBIT      American Credit Acceptance                                                    Accounts Payable                             1,450.13    -3,222.26
Bill Pmt -Check   03/09/2020 DEBIT      The Griggs Group/Pivot CPA'S    713789- 2017 Tax Preparation                  Accounts Payable                              500.00     -3,722.26
Check             03/09/2020 DC         ONLINE LABELS                   Labels for Bill                               Shop Supplies and Small Tools                 388.04     -4,110.30
Bill Pmt -Check   03/09/2020 DEBIT      WORLDWIDE EXPRESS (new)                                                       Accounts Payable                             2,896.51    -7,006.81
Check             03/09/2020 DC         Construction Norcross                                                         Sales Expense                                 285.33     -7,292.14
Check             03/09/2020 DC         CHICK FIL A                     Employee Lunch                                EE Meals - 100% deduct                        140.23     -7,432.37
Check             03/09/2020 DC         Craigslist                                                                    Recruiting                                     35.00     -7,467.37
Bill Pmt -Check   03/09/2020 Wired      ROYAL WINDOWS INC               92676500                                      Accounts Payable                            10,419.73   -17,887.10
Check             03/09/2020 EFT        HERITAGE BANK FEE'S             Wire transfer Fees                            Bank Service Charges                           25.00    -17,912.10
Deposit           03/09/2020                                            Deposit                                       Rosenthal ($1,000,000)          15,975.00                -1,937.10




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General Journal   03/09/2020 AP_3-9        progressive                    Cancelled Policy                     Insurance                         259.00                 -1,678.10
General Journal   03/09/2020 sqdep3/10                                    537853 535952                        -SPLIT-                          1,776.59                   98.49
Bill Pmt -Check   03/10/2020 1181          Acorn Belfort Park LLC                                              Accounts Payable                             8,373.99    -8,275.50
Bill Pmt -Check   03/10/2020 1182          The Scarlett Group LLC         VOID:Forgot to sign Check            Accounts Payable                     0.00                -8,275.50
Bill Pmt -Check   03/10/2020 WIRED         ROYAL WINDOWS INC              92676500                             Accounts Payable                             6,331.19   -14,606.69
Check             03/10/2020 Wired         Window Products                                                     Builder Specialty COGS                       4,849.20   -19,455.89
Check             03/10/2020 EFT           HERITAGE BANK FEE'S            Wire transfer Fees                   Bank Service Charges                           25.00    -19,480.89
Check             03/10/2020 EFT           HERITAGE BANK FEE'S            Wire transfer Fees                   Bank Service Charges                           25.00    -19,505.89
Deposit           03/10/2020                                              Deposit                              Rosenthal ($1,000,000)          14,975.00                -4,530.89
General Journal   03/10/2020 sqdep3/10                                    536995 537796                        -SPLIT-                          3,110.49                -1,420.40
Bill Pmt -Check   03/11/2020 DEBIT         W.B. MASON                                                          Accounts Payable                               80.50     -1,500.90
Bill Pmt -Check   03/11/2020 DEBIT         FED EX* ( acct 3032-9327-2)    3032-9327-2                          Accounts Payable                              168.50     -1,669.40
Bill Pmt -Check   03/11/2020 1183          Kathryn Blanchard                                                   Accounts Payable                              106.25     -1,775.65
Bill Pmt -Check   03/11/2020 DEBIT         NOVATECH                       206575                               Accounts Payable                               13.27     -1,788.92
Bill Pmt -Check   03/11/2020 Cashiers CK   The Scarlett Group LLC                                              Accounts Payable                             6,800.54    -8,589.46
Check             03/11/2020 Debit         Mandaloun                                                           EE Meals - 100% deduct                         50.85     -8,640.31
Bill Pmt -Check   03/11/2020 WIRED         ROYAL WINDOWS INC              92676500                             Accounts Payable                            14,214.51   -22,854.82
Check             03/11/2020 EFT           HERITAGE BANK FEE'S            Wire transfer Fees                   Bank Service Charges                           25.00    -22,879.82
Deposit           03/11/2020                                              Deposit                              Rosenthal ($1,000,000)          14,975.00                -7,904.82
Bill Pmt -Check   03/12/2020 DEBIT         Spectrum-Dallas WHS (2429)     8260 13 023 2282429                  Accounts Payable                               97.60     -8,002.42
Bill Pmt -Check   03/12/2020 Wired         ROYAL WINDOWS INC              92676500                             Accounts Payable                             6,348.31   -14,350.73
Check             03/12/2020 DC            PUBLIX                                                              EE Meals - 100% deduct                         73.20    -14,423.93
Check             03/12/2020 EFT           TriNet                         WE 3/6 Payroll                       Accrued Payroll                             36,033.65   -50,457.58
Check             03/12/2020 EFT           HERITAGE BANK FEE'S            Wire transfer Fees                   Bank Service Charges                           25.00    -50,482.58
Check             03/12/2020 EFT           HERITAGE BANK FEE'S            Wire transfer Fees                   Bank Service Charges                           25.00    -50,507.58
Bill Pmt -Check   03/13/2020 1187          The Scarlett Group LLC                                              Accounts Payable                             6,726.33   -57,233.91
Bill Pmt -Check   03/13/2020 1188          SNI Companies                  338294                               Accounts Payable                             2,000.00   -59,233.91
Deposit           03/13/2020                                              Deposit                              Rosenthal ($1,000,000)          47,975.00               -11,258.91
Check             03/13/2020 Debit         Costco.com                     x4990 Per Kat CFOLD TOWELS 2 cases   Office Expense                                 92.96    -11,351.87
Bill Pmt -Check   03/13/2020 WIRED         ROYAL WINDOWS INC              92676500                             Accounts Payable                            10,358.85   -21,710.72
Bill Pmt -Check   03/13/2020 DEBIT         TECO-Tampa -Second meter       VOID: 211001991713                   Accounts Payable                     0.00               -21,710.72
Check             03/13/2020 DEBIT         Straightalk Phones                                                  Telephone-Cellular - Office                    47.97    -21,758.69
Check             03/13/2020 DEBIT         Straightalk Phones                                                  Telephone-Cellular - Office                    47.97    -21,806.66
Check             03/13/2020 DEBIT         Straightalk Phones                                                  Telephone-Cellular - Office                    47.97    -21,854.63
Check             03/13/2020 DEBIT         Straightalk Phones                                                  Telephone-Cellular - Office                    47.97    -21,902.60
Check             03/13/2020 Wire          WILLIAM STEPP-EMPLOYEE                                              Installation Supplies                         477.70    -22,380.30
Check             03/13/2020 EFT           HERITAGE BANK FEE'S            Wire transfer Fees                   Bank Service Charges                           25.00    -22,405.30
Check             03/13/2020 EFT           HERITAGE BANK FEE'S            Wire transfer Fees                   Bank Service Charges                           25.00    -22,430.30
Deposit           03/13/2020                                              Deposit                              Rosenthal ($1,000,000)          15,975.00                -6,455.30
Check             03/13/2020 Debit         Star2Star - Dallas TX 121482   121482                               Telephone & Internet - Office                 787.40     -7,242.70
Bill Pmt -Check   03/13/2020 Debit         WORLDWIDE EXPRESS (new)                                             Accounts Payable                             4,787.61   -12,030.31




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Check             03/13/2020 ACH         The Griggs Group/Pivot CPA'S       PAST DUE                                      Accounts Payable                               500.00    -12,530.31
Check             03/13/2020 Debit       Fuzzy Taco                                                                       EE Meals - 100% deduct                         154.45    -12,684.76
Bill Pmt -Check   03/16/2020 1185        US POLYMERS INC                                                                  Accounts Payable                             10,193.80   -22,878.56
Bill Pmt -Check   03/16/2020             ROYAL WINDOWS INC                  QuickBooks generated zero amount transaction Accounts
                                                                                                                         for bill payment
                                                                                                                                     Payable
                                                                                                                                          stub                  0.00               -22,878.56
Bill Pmt -Check   03/16/2020 Debit       Wex Bank (Fleet Fuel)***           0496-00-556698-9                              Accounts Payable                              4,442.48   -27,321.04
Check             03/16/2020 EFT         Tennessee Department of Revenue                                                  Tax Penalties & Fines                          800.00    -28,121.04
Bill Pmt -Check   03/16/2020 Debit       WORLDWIDE EXPRESS (new)                                                          Accounts Payable                              2,807.54   -30,928.58
Check             03/16/2020 DEBIT       Straightalk Phones                                                               Telephone-Cellular - Office                     47.97    -30,976.55
Check             03/16/2020 Debit       AMAZON                             stretch wrap                                  Computer Repair/Maint/Supplies                  24.99    -31,001.54
Check             03/16/2020 Debit       EFAX                               118466                                        Dues & Subscriptions                            21.90    -31,023.44
Bill Pmt -Check   03/16/2020 Wired       ROYAL WINDOWS INC                  92676500                                      Accounts Payable                             10,754.18   -41,777.62
Check             03/16/2020 EFT         HERITAGE BANK FEE'S                Wire transfer Fees                            Bank Service Charges                            25.00    -41,802.62
Deposit           03/16/2020                                                Deposit                                       Rosenthal ($1,000,000)           30,975.00               -10,827.62
General Journal   03/16/2020 sqdep3/16                                      535225 537337 537755 538264                   -SPLIT-                           3,854.79                -6,972.83
Bill Pmt -Check   03/17/2020             The Griggs Group/Pivot CPA'S       QuickBooks generated zero amount transaction Accounts
                                                                                                                         for bill payment
                                                                                                                                     Payable
                                                                                                                                          stub                  0.00                -6,972.83
Bill Pmt -Check   03/17/2020 Wired       ROYAL WINDOWS INC                  92676500                                      Accounts Payable                              9,444.58   -16,417.41
Check             03/17/2020 DC          CONSTANT CONTACT INC                                                             Internet Fee                                    95.00    -16,512.41
Check             03/17/2020 DEBIT       Straightalk Phones                                                               Telephone-Cellular - Office                     49.09    -16,561.50
Check             03/17/2020 EFT         HERITAGE BANK FEE'S                Wire transfer Fees                            Bank Service Charges                            25.00    -16,586.50
Deposit           03/17/2020                                                Deposit                                       Rosenthal ($1,000,000)           24,475.00                7,888.50
General Journal   03/17/2020 sqdep3/17                                      535225 537337 537755 538264                   -SPLIT-                            413.54                 8,302.04
Bill Pmt -Check   03/18/2020 1186        US POLYMERS INC                                                                  Accounts Payable                             10,193.79    -1,891.75
Bill Pmt -Check   03/18/2020 Debit       WORLDWIDE EXPRESS (new)                                                          Accounts Payable                              2,557.33    -4,449.08
Bill Pmt -Check   03/18/2020 Wired       ROYAL WINDOWS INC                  92676500                                      Accounts Payable                              7,228.97   -11,678.05
Bill Pmt -Check   03/18/2020 1189        Kathryn Blanchard                                                                Accounts Payable                               106.25    -11,784.30
Bill Pmt -Check   03/18/2020 DEBIT       WORLDWIDE EXPRESS (new)                                                          Accounts Payable                              2,881.36   -14,665.66
Check             03/18/2020 EFT         National Indemnity Company/GEICO   Texas Auto Insurance                          Insurance                                     1,518.56   -16,184.22
Check             03/18/2020 Debit       SIGMA SUPPLY                                                                     Shop Supplies and Small Tools                  340.00    -16,524.22
Check             03/18/2020 WIRE        CUSTOM BLINDS AND COMPONENTS       Order #255853                                 Builder Verticals COGS                        4,032.04   -20,556.26
Check             03/18/2020 EFT         HERITAGE BANK FEE'S                Wire transfer Fees                            Bank Service Charges                            25.00    -20,581.26
Check             03/18/2020 EFT         HERITAGE BANK FEE'S                Wire transfer Fees                            Bank Service Charges                            25.00    -20,606.26
Deposit           03/18/2020                                                Deposit                                       Rosenthal ($1,000,000)           19,975.00                 -631.26
Bill Pmt -Check   03/19/2020 DEBIT       City of Raleigh                    5675733462                                    Accounts Payable                                42.37      -673.63
Check             03/19/2020 Wired       TriNet                             967174446                                     Accrued Payroll                              42,556.44   -43,230.07
Deposit           03/19/2020                                                Deposit                                       Rosenthal ($1,000,000)           39,975.00                -3,255.07
Check             03/19/2020 EFT         HERITAGE BANK FEE'S                Wire transfer Fees                            Bank Service Charges                            25.00     -3,280.07
Check             03/19/2020 EFT         HERITAGE BANK FEE'S                Wire transfer Fees                            Bank Service Charges                            25.00     -3,305.07
Bill Pmt -Check   03/19/2020 Debit       American Bolt and Screw                                                          Accounts Payable                               306.90     -3,611.97
Bill Pmt -Check   03/19/2020 Wired       ROYAL WINDOWS INC                  92676500                                      Accounts Payable                              5,803.78    -9,415.75
General Journal   03/19/2020 sqdep3/19                                      538537                                        -SPLIT-                            800.28                 -8,615.47
Bill Pmt -Check   03/20/2020 DEBIT       Spectrum Business-Tampa (7601)     79537601                                      Accounts Payable                                96.98     -8,712.45




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Bill Pmt -Check   03/20/2020 Debit       WORLDWIDE EXPRESS (new)                                                        Accounts Payable                              1,193.34    -9,905.79
Bill Pmt -Check   03/20/2020 Debit       WORLDWIDE EXPRESS (new)                                                        Accounts Payable                              4,008.99   -13,914.78
Bill Pmt -Check   03/20/2020 WIRE        ROYAL WINDOWS INC                92676500                                      Accounts Payable                              9,587.47   -23,502.25
Bill Pmt -Check   03/20/2020 DEBIT       US POLYMERS INC                  VOID:Duplicate                                Accounts Payable                      0.00               -23,502.25
Deposit           03/20/2020                                              Deposit                                       Rosenthal ($1,000,000)           32,975.00                9,472.75
General Journal   03/20/2020 sqdep3/20                                    538533 538465 537329                          -SPLIT-                           2,365.13               11,837.88
Check             03/20/2020 EFT         HERITAGE BANK FEE'S              NSF                                           Bank Service Charges                            35.00    11,802.88
Check             03/20/2020 EFT         HERITAGE BANK FEE'S              Wire transfer Fees                            Bank Service Charges                            25.00    11,777.88
Check             03/20/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                     47.97    11,729.91
Check             03/20/2020 ACH         FL DEPT OF REVENUE               Withdrawal for Florida Sales Tax              Sales Tax Payable                            11,331.14      398.77
Bill Pmt -Check   03/20/2020 DEBIT       Duke Energy-Raleigh 5126         2908645126                                    Accounts Payable                                90.07       308.70
Bill Pmt -Check   03/20/2020 Debit       Republic Services #794(Dallas)   VOID: Did not clear heritage 3-0794-0010843   Accounts Payable                      0.00                  308.70
Check             03/20/2020 Debit       Republic Services (Jax)          3-0687-0015287                                Trash                                          139.74       168.96
Check             03/23/2020 1122        HD SUPPLY                                                                      Verticals                                     1,306.33    -1,137.37
Bill Pmt -Check   03/23/2020 Debit       FED EX* ( acct 3032-9327-2)      3032-9327-2                                   Accounts Payable                               433.36     -1,570.73
Check             03/23/2020 ACH         Sunpass Operations                                                             Tolls                                          200.00     -1,770.73
Check             03/23/2020 Debit       AMAZON                           Ink for Patty                                 Computer Repair/Maint/Supplies                  58.51     -1,829.24
Check             03/23/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                     47.97     -1,877.21
Check             03/23/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                     47.97     -1,925.18
Check             03/23/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                     47.97     -1,973.15
Check             03/23/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                     47.97     -2,021.12
Check             03/23/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                     47.97     -2,069.09
Check             03/23/2020 DEBIT       Straightalk Phones                                                             Telephone-Cellular - Office                     47.97     -2,117.06
Deposit           03/23/2020                                              Deposit                                       Rosenthal ($1,000,000)           24,975.00               22,857.94
Check             03/23/2020 EFT         HERITAGE BANK FEE'S              Wire transfer Fees                            Bank Service Charges                            25.00    22,832.94
General Journal   03/23/2020 sqdep3/23                                    538464                                        -SPLIT-                           1,238.79               24,071.73
Bill Pmt -Check   03/23/2020             ROYAL WINDOWS INC                92676500                                      Accounts Payable                              5,734.99   18,336.74
Bill Pmt -Check   03/23/2020             First Insurance Funding 8277     900-91178277                                  Accounts Payable                              7,458.66   10,878.08
Bill Pmt -Check   03/24/2020 1191        Kathryn Blanchard                VOID:Bank Returned check                      Accounts Payable                      0.00               10,878.08
Deposit           03/24/2020                                              Deposit                                       Rosenthal ($1,000,000)           15,975.00               26,853.08
Check             03/24/2020 EFT         HERITAGE BANK FEE'S              Wire transfer Fees                            Bank Service Charges                            25.00    26,828.08
Bill Pmt -Check   03/24/2020 Debit       Comcast- Belfort 9698                                                          Accounts Payable                               252.18    26,575.90
Bill Pmt -Check   03/24/2020 DEBIT       ROYAL WINDOWS INC                92676500                                      Accounts Payable                             11,076.80   15,499.10
Bill Pmt -Check   03/25/2020 Debit       WORLDWIDE EXPRESS (new)                                                        Accounts Payable                              2,922.50   12,576.60
Deposit           03/25/2020                                              Deposit                                       Rosenthal ($1,000,000)           11,475.00               24,051.60
General Journal   03/25/2020 sqdep3/25                                    538408                                        -SPLIT-                            144.60                24,196.20
General Journal   03/26/2020 sqdep3/26                                    537763                                        -SPLIT-                            485.43                24,681.63
Bill Pmt -Check   03/27/2020 DEBIT       FED EX* ( acct 3032-9327-2)      3032-9327-2                                   Accounts Payable                               225.17    24,456.46
Check             03/27/2020 DEBIT       HOME DEPOT                                                                     Installation Supplies                          283.76    24,172.70
Check             03/27/2020 Debit       Coverwallet                      To add a vehicle to the NC policy             Insurance                                      215.00    23,957.70
Check             03/27/2020 EFT         Coverwallet                                                                    Bank & Credit Fees                                6.92   23,950.78




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General Journal   03/31/2020 Dispute                                                                                   -SPLIT-                            200.00                 24,150.78
Check             03/31/2020 EFT       HERITAGE BANK FEE'S               Wire transfer Fees                            Bank Service Charges                             32.00    24,118.78
Deposit           03/31/2020                                             VOID: Deposit                                 Late fees and fines                   0.00                24,118.78
Bill Pmt -Check   03/31/2020           UnitedHealtcare                   QuickBooks generated zero amount transaction Accounts
                                                                                                                      for bill payment
                                                                                                                                  Payable
                                                                                                                                       stub                  0.00                24,118.78
General Journal   04/06/2020 SQ_4/6                                                                                    -SPLIT-                           2,000.95                26,119.73
Bill Pmt -Check   04/30/2020           GEICO                             QuickBooks generated zero amount transaction Accounts
                                                                                                                      for bill payment
                                                                                                                                  Payable
                                                                                                                                       stub                  0.00                26,119.73
Bill Pmt -Check   04/30/2020           Sandford Verticals                QuickBooks generated zero amount transaction Accounts
                                                                                                                      for bill payment
                                                                                                                                  Payable
                                                                                                                                       stub                  0.00                26,119.73
                                                                                                                                                       452,010.50   425,872.21   26,119.73
                                                                                                                                                                                      0.00
Check             03/20/2020 Cashier   John Beck Insurance Agency, INC                                                 Prepaid Insurance                             12,958.00   -12,958.00
Deposit           03/26/2020                                             Deposit                                       Rosenthal ($1,000,000)           38,000.00                25,042.00
Check             03/26/2020 Wired     TriNet                            967174446                                     Accrued Payroll                               36,220.98   -11,178.98
Check             03/26/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                               15.00    -11,193.98
Check             03/26/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                               25.00    -11,218.98
Deposit           03/27/2020                                             Deposit                                       Rosenthal ($1,000,000)           24,000.00                12,781.02
Check             03/27/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                               25.00    12,756.02
Check             03/27/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                               15.00    12,741.02
Bill Pmt -Check   03/30/2020 Wired     ROYAL WINDOWS INC                 92676500                                      Accounts Payable                              21,328.88    -8,587.86
Deposit           03/30/2020                                             Deposit                                       Rosenthal ($1,000,000)           10,000.00                 1,412.14
Check             03/30/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                               25.00     1,387.14
Check             03/30/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                               15.00     1,372.14
Bill Pmt -Check   03/31/2020 Debit     WORLDWIDE EXPRESS (new)                                                         Accounts Payable                               3,479.41    -2,107.27
Check             03/31/2020 DC        Craigslist                                                                      Recruiting                                       35.00     -2,142.27
Bill Pmt -Check   03/31/2020 WIRED     ROYAL WINDOWS INC                 92676500                                      Accounts Payable                               7,621.85    -9,764.12
Bill Pmt -Check   03/31/2020 Wired     ROYAL WINDOWS INC                 92676500                                      Accounts Payable                               8,449.84   -18,213.96
Check             03/31/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                               25.00    -18,238.96
Check             03/31/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                               25.00    -18,263.96
Check             03/31/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                               15.00    -18,278.96
Deposit           03/31/2020                                             Deposit                                       Rosenthal ($1,000,000)           24,500.00                 6,221.04
Bill Pmt -Check   03/31/2020 Wired     Enterprise-new vans               432799                                        Accounts Payable                              15,102.84    -8,881.80
Bill Pmt -Check   04/01/2020 DEBIT     City of Grand Prairie             245534-053585                                 Accounts Payable                                426.84     -9,308.64
Bill Pmt -Check   04/01/2020 Wired     ROYAL WINDOWS INC                 92676500                                      Accounts Payable                               7,115.77   -16,424.41
Check             04/01/2020 Wired     Duncan Trial and Family Law/MLD                                                 Legal and Accounting                           1,000.00   -17,424.41
Check             04/01/2020 WIRE      Randy Levinson                                                                  Accrued Liabilities                            3,000.00   -20,424.41
Bill Pmt -Check   04/01/2020 Wired     WORLDWIDE EXPRESS (new)                                                         Accounts Payable                                602.67    -21,027.08
Check             04/01/2020 DC        ONLINE LABELS                     Labels for Bill                               Shop Supplies and Small Tools                   388.04    -21,415.12
Deposit           04/01/2020                                             Deposit                                       Rosenthal ($1,000,000)           14,000.00                 -7,415.12
Check             04/01/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                               15.00     -7,430.12
Bill Pmt -Check   04/01/2020 Debit     UnitedHealtcare                                                                 Accounts Payable                               5,089.33   -12,519.45
Bill Pmt -Check   04/02/2020 Debit     WORLDWIDE EXPRESS (new)                                                         Accounts Payable                               2,102.61   -14,622.06
Deposit           04/02/2020                                             Deposit                                       Rosenthal ($1,000,000)           36,500.00                21,877.94




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Check             04/02/2020 Wired   TriNet                           967174446                    Accrued Payroll                              28,797.55    -6,919.61
Check             04/02/2020 DC      Craigslist                                                    Recruiting                                      45.00     -6,964.61
Check             04/02/2020 Debit   PRICELINE                        Colin Picking up the van     hotel                                           77.97     -7,042.58
Check             04/02/2020 Debit   InTouch GPS                                                   Vehicle Tracking - Installers                  460.00     -7,502.58
Check             04/02/2020 Debit   USPS                                                          Shipping expenses                                 1.05    -7,503.63
Check             04/02/2020 DC      Microsoft online                                              Computer Repair/Maint/Supplies                  25.00     -7,528.63
Check             04/02/2020 Wire    Regions Bank                                                  Bank & Credit Fees                              15.00     -7,543.63
Bill Pmt -Check   04/02/2020 Debit   WORLDWIDE EXPRESS (new)                                       Accounts Payable                               307.04     -7,850.67
Bill Pmt -Check   04/03/2020 WIRED   ROYAL WINDOWS INC                92676500                     Accounts Payable                              5,547.19   -13,397.86
Deposit           04/03/2020                                          Deposit                      Rosenthal ($1,000,000)           21,500.00                8,102.14
Bill Pmt -Check   04/03/2020 Debit   Republic Services #794(Dallas)   3-0794-0010843               Accounts Payable                               926.76     7,175.38
Check             04/03/2020 Wire    Regions Bank                                                  Bank & Credit Fees                              15.00     7,160.38
Bill Pmt -Check   04/03/2020 Wired   ROYAL WINDOWS INC                92676500                     Accounts Payable                             13,518.97    -6,358.59
Bill Pmt -Check   04/06/2020 Debit   RELIANT-DAL-Grand Prairie        8 174 424 - 5                Accounts Payable                              2,368.15    -8,726.74
Check             04/06/2020 EFT     INTUITIVE WEBSITES               Invoice 5240                 -SPLIT-                                        125.00     -8,851.74
Bill Pmt -Check   04/06/2020 Debit   INTUITIVE WEBSITES               Update headers on websites   Accounts Payable                               562.50     -9,414.24
Bill Pmt -Check   04/06/2020 1001    Kathryn Blanchard                                             Accounts Payable                               415.00     -9,829.24
Bill Pmt -Check   04/06/2020 1002    Kathryn Blanchard                                             Accounts Payable                               200.00    -10,029.24
Bill Pmt -Check   04/06/2020 Debit   Spectrum-Dallas WHS (2429)       8260 13 023 2282429          Accounts Payable                                97.60    -10,126.84
Bill Pmt -Check   04/06/2020 Debit   Auto-Owners Insurance            018009057                    Accounts Payable                               132.67    -10,259.51
Bill Pmt -Check   04/06/2020 Debit   City of Raleigh                  5675733462                   Accounts Payable                                42.37    -10,301.88
Bill Pmt -Check   04/06/2020 Debit   Duke Energy - Orlando 6511       6023216511                   Accounts Payable                                65.69    -10,367.57
Deposit           04/06/2020                                          Deposit                      Rosenthal ($1,000,000)           22,000.00               11,632.43
Bill Pmt -Check   04/06/2020 Wired   ROYAL WINDOWS INC                92676500                     Accounts Payable                              7,581.09    4,051.34
Check             04/06/2020 WIRED   WILLIAM STEPP-EMPLOYEE           92676500                     Installation Supplies                          548.66     3,502.68
Bill Pmt -Check   04/06/2020 Wired   randstad                         WE 6/18/2017                 Accounts Payable                              1,500.00    2,002.68
Check             04/06/2020 DEBIT   HOME DEPOT                                                    Installation Supplies                           68.90     1,933.78
Check             04/06/2020 DEBIT   HOME DEPOT                                                    Installation Supplies                          107.17     1,826.61
Check             04/06/2020 Debit   SIGMA SUPPLY                                                  Shop Supplies and Small Tools                  276.25     1,550.36
Bill Pmt -Check   04/06/2020 Debit   HYPHEN SOLUTIONS                 1057344                      Accounts Payable                              1,080.00      470.36
Bill Pmt -Check   04/06/2020 Debit   Wex Bank (Fleet Fuel)***         0496-00-556698-9             Accounts Payable                              3,971.87    -3,501.51
Bill Pmt -Check   04/07/2020 Wired   ROYAL WINDOWS INC                92676500                     Accounts Payable                              2,599.25    -6,100.76
Bill Pmt -Check   04/07/2020 Debit   Wex Bank (Fleet Fuel)***         VOID: 0496-00-556698-9       Accounts Payable                      0.00                -6,100.76
Bill Pmt -Check   04/07/2020 Debit   Wex Bank (Fleet Fuel)***         VOID: 0496-00-556698-9       Accounts Payable                      0.00                -6,100.76
Check             04/07/2020 Wire    Regions Bank                                                  Bank & Credit Fees                              15.00     -6,115.76
Deposit           04/07/2020                                          Deposit                      Rosenthal ($1,000,000)            8,000.00                1,884.24
Check             04/07/2020 Wire    Regions Bank                                                  Bank & Credit Fees                              15.00     1,869.24
Bill Pmt -Check   04/07/2020 Debit   WORLDWIDE EXPRESS (new)                                       Accounts Payable                              4,536.69    -2,667.45
Bill Pmt -Check   04/08/2020 Debit   W.B. MASON                                                    Accounts Payable                               137.17     -2,804.62
Check             04/08/2020 Debit   W.B. MASON                       Builders Blinds              Accounts Payable                               312.16     -3,116.78
Deposit           04/08/2020                                          Deposit                      Rosenthal ($1,000,000)           16,500.00               13,383.22




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Bill Pmt -Check   04/08/2020 Wired   ROYAL WINDOWS INC               92676500                      Accounts Payable                             13,691.75     -308.53
Check             04/08/2020 Wire    Regions Bank                                                  Bank & Credit Fees                              15.00      -323.53
Bill Pmt -Check   04/08/2020 Debit   WORLDWIDE EXPRESS (new)                                       Accounts Payable                               935.71     -1,259.24
Deposit           04/09/2020                                         Deposit                       Rosenthal ($1,000,000)           35,900.00               34,640.76
Bill Pmt -Check   04/09/2020 Wired   ROYAL WINDOWS INC               92676500                      Accounts Payable                              3,289.27   31,351.49
Bill Pmt -Check   04/09/2020 DEBIT   WORLDWIDE EXPRESS (new)                                       Accounts Payable                              1,346.02   30,005.47
Check             04/09/2020 Wired   TriNet                          967174446                     Accrued Payroll                              27,856.92    2,148.55
Bill Pmt -Check   04/10/2020 Wired   ROYAL WINDOWS INC               92676500                      Accounts Payable                               869.82     1,278.73
Bill Pmt -Check   04/10/2020 Wired   ROYAL WINDOWS INC               92676500                      Accounts Payable                             10,152.34    -8,873.61
Check             04/10/2020 Wire    Regions Bank                                                  Bank & Credit Fees                              15.00     -8,888.61
Bill Pmt -Check   04/10/2020 Debit   WORLDWIDE EXPRESS (new)                                       Accounts Payable                              4,136.59   -13,025.20
Check             04/10/2020 Debit   WORLDWIDE EXPRESS (new)         VOID:                         Accounts Payable                      0.00               -13,025.20
Check             04/10/2020 DC      Craigslist                                                    Recruiting                                      45.00    -13,070.20
Bill Pmt -Check   04/10/2020 DEBIT   American Bolt and Screw                                       Accounts Payable                               306.90    -13,377.10
Deposit           04/10/2020                                         Deposit                       Rosenthal ($1,000,000)           16,000.00                2,622.90
Check             04/10/2020 Debit   HD SUPPLY                                                     Vertical Stock                                1,903.43      719.47
Check             04/10/2020 Wire    Regions Bank                                                  Bank & Credit Fees                              15.00       704.47
Check             04/10/2020 Debit   AMAZON                          Notebooks                     Computer Repair/Maint/Supplies                    9.62      694.85
Bill Pmt -Check   04/13/2020 1003    Guardian Insurance                                            Accounts Payable                              1,320.95     -626.10
Bill Pmt -Check   04/13/2020 Debit   WORLDWIDE EXPRESS (new)                                       Accounts Payable                               184.86      -810.96
Bill Pmt -Check   04/13/2020 Debit   W.B. MASON                                                    Accounts Payable                                86.44      -897.40
Bill Pmt -Check   04/13/2020 Debit   Waste Connections - Tampa       0078-103414                   Accounts Payable                               223.00     -1,120.40
Deposit           04/13/2020                                         Deposit                       Rosenthal ($1,000,000)           15,500.00               14,379.60
Check             04/13/2020 Debit   HD SUPPLY                                                     Vertical Stock                                1,567.60   12,812.00
Bill Pmt -Check   04/13/2020 Debit   FED EX* ( acct 3032-9327-2)     3032-9327-2                   Accounts Payable                               138.77    12,673.23
Check             04/13/2020 DEBIT   HOME DEPOT                      Ladders                       Installation Supplies                           91.90    12,581.33
Check             04/13/2020 Wire    Regions Bank                                                  Bank & Credit Fees                              15.00    12,566.33
Bill Pmt -Check   04/13/2020 Debit   Wex Bank (Fleet Fuel)***        0496-00-556698-9              Accounts Payable                              3,971.86    8,594.47
Check             04/13/2020 Wire    Randy Levinson                  0410-00-667023-6              -SPLIT-                                        250.00     8,344.47
Check             04/13/2020 DC      Craigslist                                                    Recruiting                                      45.00     8,299.47
Bill Pmt -Check   04/14/2020 Wired   ROYAL WINDOWS INC               92676500                      Accounts Payable                             10,919.39    -2,619.92
Bill Pmt -Check   04/14/2020 Debit   NC Dumpster, LLC                                              Accounts Payable                               250.00     -2,869.92
Check             04/14/2020 DC      Construction Norcross                                         Sales Expense                                  285.33     -3,155.25
Bill Pmt -Check   04/14/2020 Debit   WORLDWIDE EXPRESS (new)                                       Accounts Payable                              2,039.63    -5,194.88
Bill Pmt -Check   04/14/2020 Wired   ROYAL WINDOWS INC               92676500                      Accounts Payable                             11,793.81   -16,988.69
Check             04/14/2020 Wire    Regions Bank                                                  Bank & Credit Fees                              15.00    -17,003.69
Deposit           04/14/2020                                         Deposit                       Rosenthal ($1,000,000)           21,000.00                3,996.31
Check             04/14/2020 Wired   CUSTOM BLINDS AND COMPONENTS    OA-255950                     Vertical Stock                                5,559.07    -1,562.76
Bill Pmt -Check   04/15/2020 Wired   ROYAL WINDOWS INC               92676500                      Accounts Payable                             17,782.10   -19,344.86
Bill Pmt -Check   04/15/2020 Debit   FED EX* ( acct 3032-9327-2)     3032-9327-2                   Accounts Payable                                81.27    -19,426.13
Check             04/15/2020 DEBIT   EZ Hinge Corporation                                          Installation Supplies                          403.90    -19,830.03




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Check             04/15/2020 DEBIT         Simple Sales Tracking                                              Sales Expense                               150.00    -19,980.03
Check             04/15/2020 Wire          Regions Bank                                                       Bank & Credit Fees                           15.00    -19,995.03
Check             04/16/2020 Wired         TriNet                                                             Accrued Payroll                           29,686.84   -49,681.87
Deposit           04/16/2020                                               Deposit                            Rosenthal ($1,000,000)        18,500.00               -31,181.87
Bill Pmt -Check   04/16/2020 Debit         WORLDWIDE EXPRESS (new)                                            Accounts Payable                            222.82    -31,404.69
Deposit           04/16/2020                                               Deposit                            Rosenthal ($1,000,000)        42,500.00               11,095.31
Bill Pmt -Check   04/16/2020 Wired         ROYAL WINDOWS INC               92676500                           Accounts Payable                           8,071.26    3,024.05
Check             04/16/2020 DEBIT         Straightalk Phones                                                 Telephone-Cellular - Office                  49.04     2,975.01
Check             04/16/2020 DEBIT         Straightalk Phones                                                 Telephone-Cellular - Office                  49.04     2,925.97
Bill Pmt -Check   04/16/2020 Wired         ROYAL WINDOWS INC               92676500                           Accounts Payable                           1,518.72    1,407.25
Check             04/16/2020 Wire          Regions Bank                                                       Bank & Credit Fees                           15.00     1,392.25
Check             04/17/2020 Debit         Teco-Tampa New account          Account Froze 221007629266         Utility payments                            147.99     1,244.26
Bill Pmt -Check   04/17/2020 Debit         WORLDWIDE EXPRESS (new)                                            Accounts Payable                           3,124.01    -1,879.75
Deposit           04/17/2020                                               Deposit                            Rosenthal ($1,000,000)        23,500.00               21,620.25
General Journal   04/17/2020 SQ_4/9                                                                           -SPLIT-                        1,480.37               23,100.62
General Journal   04/17/2020 SQ_4/10                                                                          -SPLIT-                         491.83                23,592.45
General Journal   04/17/2020 SQ_4/13                                                                          -SPLIT-                         443.10                24,035.55
Check             04/17/2020 DEBIT         Straightalk Phones                                                 Telephone-Cellular - Office                  49.04    23,986.51
Check             04/17/2020 ACH           Sunpass Operations                                                 Tolls                                       200.00    23,786.51
Check             04/17/2020 Wire          Regions Bank                                                       Bank & Credit Fees                           15.00    23,771.51
Bill Pmt -Check   04/17/2020 EFT           Labor Finders-DAL 21-5-2796     21-5-2796                          Accounts Payable                            954.56    22,816.95
Bill Pmt -Check   04/17/2020 Wired         ROYAL WINDOWS INC               92676500                           Accounts Payable                          11,738.02   11,078.93
Bill Pmt -Check   04/17/2020 Debit         WORLDWIDE EXPRESS (new)                                            Accounts Payable                           3,282.80    7,796.13
Bill Pmt -Check   04/20/2020 1004          Kathryn Blanchard                                                  Accounts Payable                            200.00     7,596.13
Bill Pmt -Check   04/20/2020 Wired         ROYAL WINDOWS INC               92676500                           Accounts Payable                           5,488.67    2,107.46
Deposit           04/20/2020                                               Deposit                            Rosenthal ($1,000,000)        20,000.00               22,107.46
Check             04/20/2020 DC            Craigslist                                                         Recruiting                                   35.00    22,072.46
Check             04/20/2020 DC            Craigslist                                                         Recruiting                                   45.00    22,027.46
Check             04/20/2020 DEBIT         Straightalk Phones                                                 Telephone-Cellular - Office                  47.92    21,979.54
Check             04/20/2020 Wire          Regions Bank                                                       Bank & Credit Fees                           15.00    21,964.54
Check             04/20/2020 ACH           FL DEPT OF REVENUE              Withdrawal for Florida Sales Tax   Sales Tax Payable                         16,318.89    5,645.65
Bill Pmt -Check   04/21/2020 Debit         WORLDWIDE EXPRESS (new)                                            Accounts Payable                           1,077.75    4,567.90
Bill Pmt -Check   04/21/2020 Wired         ROYAL WINDOWS INC               92676500                           Accounts Payable                           9,583.27    -5,015.37
Deposit           04/21/2020                                               Deposit                            Rosenthal ($1,000,000)        12,500.00                7,484.63
Bill Pmt -Check   04/21/2020 Starter Cks   Acorn Belfort Park LLC                                             Accounts Payable                           6,589.37      895.26
Bill Pmt -Check   04/21/2020 Debit         Republic Services (Jax)         3-0687-0015287                     Accounts Payable                            117.53       777.73
Check             04/21/2020 DEBIT         Straightalk Phones                                                 Telephone-Cellular - Office                  47.92       729.81
Check             04/21/2020 Wire          Regions Bank                                                       Bank & Credit Fees                           15.00       714.81
General Journal   04/21/2020 SQ_4/21                                                                          -SPLIT-                        2,757.44                3,472.25
Bill Pmt -Check   04/22/2020 Debit         W.B. MASON                                                         Accounts Payable                            316.76     3,155.49
Bill Pmt -Check   04/22/2020 Debit         First Insurance Funding 8277    900-91178277                       Accounts Payable                           7,458.66    -4,303.17




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Bill Pmt -Check   04/22/2020 DEBIT     Star2Star - Dallas TX 121482         121482                       Accounts Payable                                  781.53     -5,084.70
Bill Pmt -Check   04/22/2020 DEBIT     Star2Star - FL 359462                359462                       Accounts Payable                                  460.53     -5,545.23
Bill Pmt -Check   04/22/2020 DEBIT     FED EX* ( acct 3032-9327-2)          3032-9327-2                  Accounts Payable                                   80.76     -5,625.99
General Journal   04/22/2020 SQ_4/22                                                                     -SPLIT-                             1,656.97                 -3,969.02
Deposit           04/22/2020                                                Deposit                      PPP Loan                          438,200.00                434,230.98
Check             04/22/2020 Wire      Regions Bank                                                      Bank & Credit Fees                                 15.00    434,215.98
Deposit           04/22/2020                                                Deposit                      Due from DCI Partners                          400,000.00    34,215.98
Deposit           04/22/2020                                                Deposit                      Rosenthal ($1,000,000)             11,000.00                 45,215.98
Check             04/22/2020 Debit     Growth Institute                     Randy's Training             Training & Education Expense                      295.00     44,920.98
Bill Pmt -Check   04/22/2020 Debit     ROYAL WINDOWS INC                    92676500                     Accounts Payable                                 7,692.82    37,228.16
Check             04/22/2020 DEBIT     Straightalk Phones                                                Telephone-Cellular - Office                        47.91     37,180.25
Check             04/22/2020 DEBIT     Straightalk Phones                                                Telephone-Cellular - Office                        47.92     37,132.33
Bill Pmt -Check   04/23/2020 1005      Kathryn Blanchard                                                 Accounts Payable                                  200.00     36,932.33
Bill Pmt -Check   04/23/2020 Debit     WORLDWIDE EXPRESS (new)                                           Accounts Payable                                 1,263.49    35,668.84
Bill Pmt -Check   04/23/2020 Debit     WORLDWIDE EXPRESS (new)                                           Accounts Payable                                 1,593.05    34,075.79
Check             04/23/2020 DEBIT     ENTERPRISE RENTALS                   Colin's Rental               car rental                                         99.52     33,976.27
Bill Pmt -Check   04/23/2020 Debit     Spectrum- Orlando                    0050207695-02                Accounts Payable                                  360.91     33,615.36
Check             04/23/2020 Wired     TriNet                                                            Accrued Payroll                                 26,921.08     6,694.28
Check             04/23/2020 DEBIT     Straightalk Phones                                                Telephone-Cellular - Office                        47.92      6,646.36
Check             04/23/2020 DEBIT     Straightalk Phones                                                Telephone-Cellular - Office                        47.92      6,598.44
Check             04/23/2020 Wire      Regions Bank                                                      Bank & Credit Fees                                 15.00      6,583.44
Check             04/23/2020 DEBIT     HOME DEPOT                                                        Installation Supplies                             179.99      6,403.45
Deposit           04/23/2020                                                Deposit                      Rosenthal ($1,000,000)             16,000.00                 22,403.45
Bill Pmt -Check   04/23/2020 Wired     ROYAL WINDOWS INC                    92676500                     Accounts Payable                                10,075.90    12,327.55
Check             04/24/2020 DEBIT     Straightalk Phones                                                Telephone-Cellular - Office                        47.92     12,279.63
Deposit           04/24/2020                                                Deposit                      Rosenthal ($1,000,000)             12,000.00                 24,279.63
Bill Pmt -Check   04/24/2020 Wired     MLG/PF Breckenridge Investment LLC                                Accounts Payable                                 9,343.33    14,936.30
Bill Pmt -Check   04/24/2020 Wired     SNI Companies                        338294                       Accounts Payable                                 1,000.00    13,936.30
Bill Pmt -Check   04/24/2020 Wired     Enterprise-new vans                  432799                       Accounts Payable                                35,951.56   -22,015.26
Check             04/24/2020 Wire      Regions Bank                                                      Bank & Credit Fees                                 15.00    -22,030.26
Check             04/24/2020 Debit     St.Augusitne Distillary                                           Janitorial Services and Supplie                   191.70    -22,221.96
Bill Pmt -Check   04/27/2020 1006      Kathryn Blanchard                                                 Accounts Payable                                  200.00    -22,421.96
Bill Pmt -Check   04/27/2020 1007      T-Mobile Hotspot                     967174446                    Accounts Payable                                   55.98    -22,477.94
Bill Pmt -Check   04/27/2020 1008      Kirkland/Lampe Management-Raleigh    Unit 317103                  Accounts Payable                                 3,387.00   -25,864.94
Bill Pmt -Check   04/27/2020 Debit     WORLDWIDE EXPRESS (new)                                           Accounts Payable                                 3,429.31   -29,294.25
Bill Pmt -Check   04/27/2020 Wired     ROYAL WINDOWS INC                    92676500                     Accounts Payable                                 9,896.83   -39,191.08
Bill Pmt -Check   04/27/2020 Wired     ROYAL WINDOWS INC                    92676500                     Accounts Payable                                 8,997.83   -48,188.91
Deposit           04/27/2020                                                Deposit                      Due from DCI Partners              37,000.00                -11,188.91
Check             04/27/2020 Debit     FL Juice & Bowl                                                   meals                                              29.90    -11,218.81
Check             04/27/2020 Debit     Spectrum Business-Tampa (7601)       79537601                     Telephone & Internet - Office                      96.98    -11,315.79
Check             04/27/2020 DC        ONLINE LABELS                        Labels for Bill              Shop Supplies and Small Tools                     492.37    -11,808.16




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Accrual Basis                                                               General Ledger
                                                                                      As of June 22, 2020

Check             04/27/2020 Debit       St.Augusitne Distillary                Hand Sanitizer                           Janitorial Services and Supplie                 766.80    -12,574.96
Bill Pmt -Check   04/27/2020 Debit       Comcast- Belfort 9698                                                           Accounts Payable                                252.18    -12,827.14
Bill Pmt -Check   04/27/2020 Debit       Arc Best                               761526-002                               Accounts Payable                                438.75    -13,265.89
Check             04/27/2020 Wire        Regions Bank                                                                    Bank & Credit Fees                               15.00    -13,280.89
General Journal   04/27/2020 SQ_4/27                                            539256,539441,539310                     -SPLIT-                            1,526.91               -11,753.98
Deposit           04/28/2020                                                    Deposit                                  Rosenthal ($1,000,000)            11,000.00                 -753.98
Check             04/28/2020 Debit       SIGMA SUPPLY                                                                    Shop Supplies and Small Tools                   276.25     -1,030.23
Bill Pmt -Check   04/28/2020 Debit       City of Grand Prairie                  245534-053585                            Accounts Payable                                460.15     -1,490.38
Check             04/28/2020 DEBIT       ENTERPRISE RENTALS                     Mo and Jose's Rental                     car rental                                      745.64     -2,236.02
General Journal   04/28/2020 SQ_4/28                                            538042,539206,539280,538465              -SPLIT-                            3,744.07                1,508.05
Deposit           04/28/2020                                                    Deposit                                  Rosenthal ($1,000,000)             7,200.00                8,708.05
Deposit           04/28/2020                                                    Deposit                                  Due from DCI Partners             10,000.00               18,708.05
Deposit           04/28/2020                                                    Deposit                                  Due from DCI Partners             10,001.00               28,709.05
Bill Pmt -Check   04/28/2020 Wired       ROYAL WINDOWS INC                      92676500                                 Accounts Payable                              13,531.37   15,177.68
Bill Pmt -Check   04/28/2020 Debit       RELIANT-AUS-0117                       71019011-7                               Accounts Payable                                383.30    14,794.38
Check             04/28/2020 Wire        Regions Bank                                                                    Bank & Credit Fees                               15.00    14,779.38
Bill Pmt -Check   04/29/2020 Debit       W.B. MASON                                                                      Accounts Payable                                202.19    14,577.19
Bill Pmt -Check   04/29/2020 1009        Michele Moreno                         Replacement of Glasses that Jose broke   Accounts Payable                                450.00    14,127.19
Check             04/29/2020 Wire        Regions Bank                                                                    Bank & Credit Fees                               15.00    14,112.19
Bill Pmt -Check   04/29/2020 Debit       WORLDWIDE EXPRESS (new)                                                         Accounts Payable                                964.34    13,147.85
Bill Pmt -Check   04/29/2020 Debit       WORLDWIDE EXPRESS (new)                                                         Accounts Payable                               1,482.58   11,665.27
Check             04/29/2020 EFT         Texas Comptroller of Public Accounts   1/2020 Sales Tax                         Sales Tax Payable                              3,822.12    7,843.15
Deposit           04/29/2020                                                    Deposit                                  Due from DCI Partners              1,000.00                8,843.15
Deposit           04/29/2020                                                    Deposit                                  Due from DCI Partners              9,000.00               17,843.15
Deposit           04/29/2020                                                    Deposit                                  Rosenthal ($1,000,000)             4,000.00               21,843.15
Bill Pmt -Check   04/29/2020 Wired       ROYAL WINDOWS INC                      VOID: Duplicate 92676500                 Accounts Payable                       0.00               21,843.15
Bill Pmt -Check   04/29/2020 Wired       ROYAL WINDOWS INC                      92676500                                 Accounts Payable                               7,897.42   13,945.73
Bill Pmt -Check   04/29/2020 WIRED       US POLYMERS INC                                                                 Accounts Payable                              13,463.55      482.18
General Journal   04/29/2020 SQ_4/29                                            539498, 539492                           -SPLIT-                             660.88                 1,143.06
General Journal   04/30/2020 SQ_4/30                                            537853, 539516                           -SPLIT-                            1,826.53                2,969.59
General Journal   04/30/2020 Bank_4/30                                                                                   Vehicle Lease - Installers        11,740.77               14,710.36
Deposit           04/30/2020                                                    Deposit                                  Rosenthal ($1,000,000)            14,000.00               28,710.36
Deposit           04/30/2020                                                    Deposit                                  Due from DCI Partners             29,000.00               57,710.36
Check             04/30/2020 Wired       TriNet                                                                          Accrued Payroll                               28,745.26   28,965.10
Bill Pmt -Check   04/30/2020 Wired       ROYAL WINDOWS INC                      92676500                                 Accounts Payable                               5,354.20   23,610.90
Check             04/30/2020 Debit       City of Jacksonville                                                            Dues & Subscriptions                               1.00   23,609.90
Bill Pmt -Check   04/30/2020 Debit       Waste Connections - Tampa              0078-103414                              Accounts Payable                                223.00    23,386.90
Check             04/30/2020 Wire        Regions Bank                                                                    Bank & Credit Fees                               15.00    23,371.90
Check             04/30/2020 Debit       InTouch GPS                                                                     Vehicle Tracking - Installers                   460.00    22,911.90
Check             04/30/2020 DEBIT       Straightalk Phones                                                              Telephone-Cellular - Office                      47.92    22,863.98
Check             04/30/2020 Wired       CUSTOM BLINDS AND COMPONENTS           OA-256317                                Vertical Stock                                 6,386.24   16,477.74




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Accrual Basis                                                                General Ledger
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Check             05/01/2020 EFT          INTUITIVE WEBSITES                   Invoice 5353                                  -SPLIT-                                        125.00    16,352.74
Bill Pmt -Check   05/01/2020 Debit        WORLDWIDE EXPRESS (new)                                                            Accounts Payable                              2,053.57   14,299.17
Check             05/01/2020 Wire         Regions Bank                                                                       Bank & Credit Fees                              15.00    14,284.17
Check             05/01/2020 DEBIT        Straightalk Phones                                                                 Telephone-Cellular - Office                     47.92    14,236.25
Check             05/01/2020 DEBIT        Straightalk Phones                                                                 Telephone-Cellular - Office                     47.92    14,188.33
Check             05/01/2020 DEBIT        Straightalk Phones                                                                 Telephone-Cellular - Office                     47.92    14,140.41
Check             05/01/2020 DEBIT        Straightalk Phones                                                                 Telephone-Cellular - Office                     47.92    14,092.49
Check             05/01/2020 DEBIT        Straightalk Phones                                                                 Telephone-Cellular - Office                     47.92    14,044.57
Bill Pmt -Check   05/01/2020 Wired        The Scarlett Group LLC                                                             Accounts Payable                              6,652.13    7,392.44
Bill Pmt -Check   05/01/2020 Wired        ROYAL WINDOWS INC                    92676500                                      Accounts Payable                              4,839.76    2,552.68
Deposit           05/01/2020                                                   Deposit                                       Rosenthal ($1,000,000)            4,500.00                7,052.68
Deposit           05/01/2020                                                   Deposit                                       Due from DCI Partners             7,500.00               14,552.68
Bill Pmt -Check   05/01/2020 Wired        MLG/PF Breckenridge Investment LLC                                                 Accounts Payable                              9,343.33    5,209.35
General Journal   05/01/2020 SQ_5/1                                            539547                                        -SPLIT-                            562.22                 5,771.57
Bill Pmt -Check   05/04/2020 1011         DFW Propane Exchange                 002471                                        Accounts Payable                               221.60     5,549.97
Bill Pmt -Check   05/04/2020 Debit        WORLDWIDE EXPRESS (new)                                                            Accounts Payable                              4,229.17    1,320.80
Bill Pmt -Check   05/04/2020              The Scarlett Group LLC               QuickBooks generated zero amount transaction Accounts
                                                                                                                            for bill payment
                                                                                                                                        Payable
                                                                                                                                             stub                  0.00                1,320.80
Bill Pmt -Check   05/04/2020 Wired        ROYAL WINDOWS INC                    92676500                                      Accounts Payable                              8,563.75    -7,242.95
Bill Pmt -Check   05/04/2020 Debit        FED EX* ( acct 3032-9327-2)          3032-9327-2                                   Accounts Payable                               176.04     -7,418.99
Check             05/04/2020 Wire         Regions Bank                                                                       Bank & Credit Fees                              15.00     -7,433.99
Bill Pmt -Check   05/04/2020 Starter Ck   US POLYMERS INC                                                                    Accounts Payable                             12,849.15   -20,283.14
Bill Pmt -Check   05/04/2020 Debit        Wex Bank (Fleet Fuel)***             0496-00-556698-9                              Accounts Payable                              3,957.74   -24,240.88
Check             05/04/2020 Debit        Staples Business Advantage           Paper                                         Office Expense                                  40.12    -24,281.00
Check             05/04/2020 DC           Microsoft online                                                                   Computer Repair/Maint/Supplies                  25.00    -24,306.00
Check             05/04/2020 DEBIT        Simple Sales Tracking                                                              Sales Expense                                  150.00    -24,456.00
Bill Pmt -Check   05/04/2020 Debit        Arc Best                             761526-002                                    Accounts Payable                               438.75    -24,894.75
Check             05/04/2020 EFT          INTUITIVE WEBSITES                   VOID:Duplicate Invoice 5353                   -SPLIT-                               0.00               -24,894.75
Check             05/04/2020 Debit        Staples Business Advantage           Plates and cleaning supplies                  Office Expense                                  66.29    -24,961.04
Check             05/04/2020 DEBIT        Straightalk Phones                                                                 Telephone-Cellular - Office                     47.92    -25,008.96
Check             05/04/2020 Zelle        Jose Murillo                                                                       Travel                                         500.00    -25,508.96
Check             05/04/2020 DC           Construction Norcross                                                              Sales Expense                                  285.33    -25,794.29
Deposit           05/04/2020                                                   Deposit                                       Rosenthal ($1,000,000)           14,500.00               -11,294.29
General Journal   05/04/2020 SQ_5/4                                            539208,539448                                 -SPLIT-                           1,829.69                -9,464.60
Bill Pmt -Check   05/05/2020              ROYAL WINDOWS INC                    QuickBooks generated zero amount transaction Accounts
                                                                                                                            for bill payment
                                                                                                                                        Payable
                                                                                                                                             stub                  0.00                -9,464.60
Bill Pmt -Check   05/05/2020              ROYAL WINDOWS INC                    QuickBooks generated zero amount transaction Accounts
                                                                                                                            for bill payment
                                                                                                                                        Payable
                                                                                                                                             stub                  0.00                -9,464.60
Bill Pmt -Check   05/05/2020              ROYAL WINDOWS INC                    QuickBooks generated zero amount transaction Accounts
                                                                                                                            for bill payment
                                                                                                                                        Payable
                                                                                                                                             stub                  0.00                -9,464.60
Bill Pmt -Check   05/05/2020              ROYAL WINDOWS INC                    QuickBooks generated zero amount transaction Accounts
                                                                                                                            for bill payment
                                                                                                                                        Payable
                                                                                                                                             stub                  0.00                -9,464.60
Deposit           05/05/2020                                                   Deposit                                       Rosenthal ($1,000,000)           14,800.00                5,335.40
Deposit           05/05/2020                                                   VOID: Deposit                                 Vehicle Fuel - Installers             0.00                5,335.40
Deposit           05/05/2020                                                   Deposit                                       Due from DCI Partners             9,100.00               14,435.40
Deposit           05/05/2020                                                   VOID: Deposit                                 Shutters                              0.00               14,435.40




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Bill Pmt -Check   05/05/2020 Wired     ROYAL WINDOWS INC             92676500                                      Accounts Payable                      4,985.88    9,449.52
Check             05/05/2020 Wire      Regions Bank                                                                Bank & Credit Fees                      15.00     9,434.52
Check             05/05/2020 Wire      Regions Bank                  Returned Item Fee                             Bank & Credit Fees                      72.00     9,362.52
Check             05/05/2020 Wire      Regions Bank                  Paid overdraft item Fee                       Bank & Credit Fees                     288.00     9,074.52
General Journal   05/05/2020 Bank_PA                                                                               Accounts Payable         12,849.15               21,923.67
General Journal   05/05/2020 Bank_PA                                                                               Accounts Payable          3,957.74               25,881.41
General Journal   05/05/2020 SQ_5/5                                  537891                                        -SPLIT-                    482.35                26,363.76
Bill Pmt -Check   05/06/2020 Debit     Spectrum-Dallas WHS (2429)    8260 13 023 2282429                           Accounts Payable                        97.60    26,266.16
Bill Pmt -Check   05/06/2020 1009      Kathryn Blanchard                                                           Accounts Payable                       200.00    26,066.16
Bill Pmt -Check   05/06/2020 DEBIT     Duke Energy-Raleigh 5126      2908645126                                    Accounts Payable                       103.15    25,963.01
Bill Pmt -Check   05/06/2020 Debit     WORLDWIDE EXPRESS (new)                                                     Accounts Payable                       805.67    25,157.34
Bill Pmt -Check   05/06/2020 Debit     Longhorn Business Park                                                      Accounts Payable                      3,620.40   21,536.94
Bill Pmt -Check   05/06/2020           Longhorn Business Park        QuickBooks generated zero amount transaction Accounts
                                                                                                                  for bill payment
                                                                                                                              Payable
                                                                                                                                   stub          0.00               21,536.94
Bill Pmt -Check   05/06/2020 Wired     ROYAL WINDOWS INC             92676500                                      Accounts Payable                      8,039.27   13,497.67
Deposit           05/06/2020                                         Deposit                                       Rosenthal ($1,000,000)   15,600.00               29,097.67
Bill Pmt -Check   05/06/2020 WIRED     US POLYMERS INC                                                             Accounts Payable                     12,849.15   16,248.52
Bill Pmt -Check   05/06/2020 Wired     Window Products                                                             Accounts Payable                      3,978.00   12,270.52
Bill Pmt -Check   05/06/2020 DEBIT     Comcast-Ft Myers 5002         8535100360305002                              Accounts Payable                       153.58    12,116.94
Check             05/06/2020 Wire      Regions Bank                                                                Bank & Credit Fees                      15.00    12,101.94
Check             05/06/2020 Debit     Big Bite Dumpster             Empty storage unit                            Trash                                  250.00    11,851.94
Bill Pmt -Check   05/06/2020 DEBIT     Wex Bank (Fleet Fuel)***      0496-00-556698-9                              Accounts Payable                      1,099.49   10,752.45
Bill Pmt -Check   05/07/2020 Debit     UnitedHealtcare                                                             Accounts Payable                      5,755.95    4,996.50
Bill Pmt -Check   05/07/2020 Debit     NOVATECH                      206575                                        Accounts Payable                        53.25     4,943.25
Bill Pmt -Check   05/07/2020 Debit     UnitedHealtcare                                                             Accounts Payable                      5,755.95     -812.70
Check             05/07/2020 Debit     FED EX* ( acct 3032-9327-2)   Debit card purchase                           -SPLIT-                                 90.94      -903.64
Check             05/07/2020 Starter   US POLYMERS INC                                                             Accounts Payable                     12,849.15   -13,752.79
Deposit           05/07/2020                                         Deposit                                       Bank & Credit Fees          72.00                -13,680.79
Deposit           05/07/2020                                         Deposit                                       Bank & Credit Fees         288.00                -13,392.79
Deposit           05/07/2020                                         Deposit                                       Due from DCI Partners     1,100.00               -12,292.79
Deposit           05/07/2020                                         Deposit                                       Due from DCI Partners    27,000.00               14,707.21
Deposit           05/07/2020                                         Deposit                                       Rosenthal ($1,000,000)   17,000.00               31,707.21
Check             05/07/2020 Wired     TriNet                                                                      Accrued Payroll                      26,661.64    5,045.57
Bill Pmt -Check   05/07/2020 Debit     Wex Bank (Fleet Fuel)***      0496-00-556698-9                              Accounts Payable                      3,957.74    1,087.83
Bill Pmt -Check   05/07/2020 Wired     ROYAL WINDOWS INC             92676500                                      Accounts Payable                      4,970.53    -3,882.70
Check             05/07/2020 Debit     Candlewood Suites             Jerry Jax                                     hotel                                   89.27     -3,971.97
Bill Pmt -Check   05/07/2020 Wired     SNI Companies                 338294                                        Accounts Payable                      1,000.00    -4,971.97
Check             05/07/2020 Wire      Regions Bank                                                                Bank & Credit Fees                      15.00     -4,986.97
Check             05/08/2020 Wire      Regions Bank                                                                Bank & Credit Fees                      15.00     -5,001.97
Bill Pmt -Check   05/08/2020           UnitedHealtcare               QuickBooks generated zero amount transaction Accounts
                                                                                                                  for bill payment
                                                                                                                              Payable
                                                                                                                                   stub          0.00                -5,001.97
Bill Pmt -Check   05/08/2020 Debit     Arc Best                      761526-002                                    Accounts Payable                       438.75     -5,440.72
Check             05/08/2020 Wire      Regions Bank                  Overdraft Fee                                 Bank & Credit Fees                      36.00     -5,476.72




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Bill Pmt -Check   05/08/2020 Wired     ROYAL WINDOWS INC                   92676500                                      Accounts Payable                     13,171.96   -18,648.68
Deposit           05/08/2020                                               Deposit                                       Rosenthal ($1,000,000)   24,250.00                5,601.32
Deposit           05/08/2020                                               Deposit                                       Due from DCI Partners     2,700.00                8,301.32
General Journal   05/08/2020 SQ_5/8                                        539595                                        -SPLIT-                    959.68                 9,261.00
Check             05/08/2020 ACH       FL DEPT OF REVENUE                  Withdrawal for Florida Sales Tax              Sales Tax Payable                     5,000.00    4,261.00
Bill Pmt -Check   05/08/2020 Debit     American Credit Acceptance                                                        Accounts Payable                      1,450.13    2,810.87
Check             05/08/2020 Debit     Construction Contracting Services                                                 Consulting and Service                1,738.81    1,072.06
Bill Pmt -Check   05/11/2020 Wired     ROYAL WINDOWS INC                   92676500                                      Accounts Payable                      4,316.90    -3,244.84
Check             05/11/2020 Wire      Regions Bank                                                                      Bank & Credit Fees                      15.00     -3,259.84
Check             05/11/2020 Wire      Regions Bank                        Analysis Charge 4-20                          Bank & Credit Fees                     585.00     -3,844.84
Bill Pmt -Check   05/11/2020 Debit     Wex Bank (Fleet Fuel)***            0496-00-556698-9                              Accounts Payable                      3,957.74    -7,802.58
Deposit           05/11/2020                                               Deposit                                       Rosenthal ($1,000,000)   11,500.00                3,697.42
General Journal   05/11/2020 SQ_5/11                                                                                     -SPLIT-                   1,843.92                5,541.34
Check             05/11/2020 ACH       Sunpass Operations                                                                Tolls                                  200.00     5,341.34
Bill Pmt -Check   05/12/2020 DEBIT     Teco-Tampa New account              221007629266                                  Accounts Payable                       150.15     5,191.19
Check             05/12/2020 Wire      Regions Bank                                                                      Bank & Credit Fees                      15.00     5,176.19
Bill Pmt -Check   05/12/2020 Debit     Lincoln Financial                                                                 Accounts Payable                      2,409.76    2,766.43
Bill Pmt -Check   05/12/2020 WIRED     ROYAL WINDOWS INC                   92676500                                      Accounts Payable                     11,325.82    -8,559.39
Deposit           05/12/2020                                               Deposit                                       Rosenthal ($1,000,000)   13,200.00                4,640.61
General Journal   05/12/2020 SQ_5/12                                                                                     -SPLIT-                   1,402.73                6,043.34
Bill Pmt -Check   05/13/2020 Debit     W.B. MASON                                                                        Accounts Payable                       505.69     5,537.65
Bill Pmt -Check   05/13/2020           W.B. MASON                          QuickBooks generated zero amount transaction Accounts
                                                                                                                        for bill payment
                                                                                                                                    Payable
                                                                                                                                         stub          0.00                5,537.65
Bill Pmt -Check   05/13/2020           W.B. MASON                          QuickBooks generated zero amount transaction Accounts
                                                                                                                        for bill payment
                                                                                                                                    Payable
                                                                                                                                         stub          0.00                5,537.65
Bill Pmt -Check   05/13/2020           W.B. MASON                          QuickBooks generated zero amount transaction Accounts
                                                                                                                        for bill payment
                                                                                                                                    Payable
                                                                                                                                         stub          0.00                5,537.65
Bill Pmt -Check   05/13/2020 Debit     WORLDWIDE EXPRESS (new)             Invoiced 3/18/2020                            Accounts Payable                      2,500.00    3,037.65
Bill Pmt -Check   05/13/2020 1012      Kathryn Blanchard                                                                 Accounts Payable                       200.00     2,837.65
Check             05/13/2020 Wired     Wex Bank (Fleet Fuel)***            0496-00-556698-9                              Prepaid Misc                         10,000.00    -7,162.35
Deposit           05/13/2020                                               Deposit                                       Rosenthal ($1,000,000)    6,700.00                 -462.35
Deposit           05/13/2020                                               Deposit                                       Due from DCI Partners    10,000.00                9,537.65
General Journal   05/13/2020 SQ_5/13                                       539256, 539492                                -SPLIT-                    597.78                10,135.43
Check             05/13/2020 Wire      Regions Bank                                                                      Bank & Credit Fees                      15.00    10,120.43
Bill Pmt -Check   05/13/2020 Wired     ROYAL WINDOWS INC                   92676500                                      Accounts Payable                      3,492.11    6,628.32
Bill Pmt -Check   05/13/2020 Debit     WORLDWIDE EXPRESS (new)                                                           Accounts Payable                      4,548.27    2,080.05
General Journal   05/14/2020 SQ_5/14                                       539149                                        -SPLIT-                    298.50                 2,378.55
Bill Pmt -Check   05/14/2020 Debit     WORLDWIDE EXPRESS (new)             Invoiced 3/18/2020                            Accounts Payable                      2,707.60     -329.05
Deposit           05/14/2020                                               Deposit                                       Rosenthal ($1,000,000)   19,000.00               18,670.95
Deposit           05/14/2020                                               Deposit                                       Due from DCI Partners    24,000.00               42,670.95
Bill Pmt -Check   05/14/2020 Wired     ROYAL WINDOWS INC                   92676500                                      Accounts Payable                      6,701.30   35,969.65
Check             05/14/2020 Wired     TriNet                                                                            Accrued Payroll                      28,458.76    7,510.89
Check             05/14/2020 Zelle     Jose Murillo                                                                      Travel                                 100.00     7,410.89
Check             05/14/2020 Wire      Regions Bank                                                                      Bank & Credit Fees                      15.00     7,395.89




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Check             05/14/2020 Wire         Regions Bank                    Analysis Charge                               Bank & Credit Fees                             25.00     7,370.89
Check             05/14/2020 Debit        AMAZON                          Toner                                         Computer Repair/Maint/Supplies                269.38     7,101.51
Bill Pmt -Check   05/14/2020 Wired        Enterprise-new vans             432799                                        Accounts Payable                             3,913.59    3,187.92
Deposit           05/15/2020                                              Deposit                                       Rosenthal ($1,000,000)           17,000.00              20,187.92
Check             05/15/2020 Wire         Regions Bank                                                                  Bank & Credit Fees                             15.00    20,172.92
Bill Pmt -Check   05/18/2020 1014         Stewart Investments                                                           Accounts Payable                              516.00    19,656.92
Deposit           05/18/2020                                              Deposit                                       Rosenthal ($1,000,000)           17,000.00              36,656.92
Bill Pmt -Check   05/18/2020 Wired        ROYAL WINDOWS INC               92676500                                      Accounts Payable                             3,590.30   33,066.62
Bill Pmt -Check   05/18/2020 WIRED        ROYAL WINDOWS INC               92676500                                      Accounts Payable                             7,433.07   25,633.55
Bill Pmt -Check   05/18/2020 Cashier Ck   Wyoming Properties LLC                                                        Accounts Payable                             4,645.00   20,988.55
Check             05/18/2020 DEBIT        Straightalk Phones                                                            Telephone-Cellular - Office                    47.95    20,940.60
Check             05/18/2020 DEBIT        Straightalk Phones                                                            Telephone-Cellular - Office                    47.95    20,892.65
Check             05/18/2020 DEBIT        Straightalk Phones                                                            Telephone-Cellular - Office                    47.95    20,844.70
Check             05/18/2020 Debit        AMAZON                          Warehouse supplies                            Computer Repair/Maint/Supplies                 30.25    20,814.45
Check             05/18/2020 Debit        AMAZON                          Warehouse supplies                            Computer Repair/Maint/Supplies                 29.76    20,784.69
Check             05/18/2020 DEBIT        Straightalk Phones                                                            Telephone-Cellular - Office                    47.92    20,736.77
Check             05/18/2020 DEBIT        Straightalk Phones                                                            Telephone-Cellular - Office                    47.92    20,688.85
Check             05/18/2020 DEBIT        Straightalk Phones                                                            Telephone-Cellular - Office                    47.92    20,640.93
Check             05/18/2020 DC           Craigslist                                                                    Recruiting                                     35.00    20,605.93
Check             05/18/2020 DC           Craigslist                                                                    Recruiting                                     35.00    20,570.93
Check             05/18/2020 Wire         Regions Bank                                                                  Bank & Credit Fees                             15.00    20,555.93
Bill Pmt -Check   05/18/2020 Debit        WORLDWIDE EXPRESS (new)                                                       Accounts Payable                             1,090.61   19,465.32
Check             05/18/2020 Debit        HD SUPPLY                       invoice 9181612224                            Builder Verticals COGS                         81.13    19,384.19
Bill Pmt -Check   05/18/2020 Starter      Acorn Belfort Park LLC                                                        Accounts Payable                             5,022.51   14,361.68
Check             05/18/2020 Debit        Randy Levinson                                                                -SPLIT-                                      2,098.98   12,262.70
General Journal   05/18/2020 SQ_5/18                                                                                    -SPLIT-                            698.43               12,961.13
Bill Pmt -Check   05/18/2020 Debit        Arc Best                        761526-002                                    Accounts Payable                              438.75    12,522.38
Check             05/18/2020 Debit        SIGMA SUPPLY                                                                  Shop Supplies and Small Tools                 233.75    12,288.63
Bill Pmt -Check   05/19/2020 Debit        HighLite, Inc.                  INVOICED 3/20/20                              Accounts Payable                              253.68    12,034.95
Bill Pmt -Check   05/19/2020 DEBIT        American Bolt and Screw                                                       Accounts Payable                              306.90    11,728.05
Bill Pmt -Check   05/19/2020 Debit        WORLDWIDE EXPRESS (new)                                                       Accounts Payable                             1,876.33    9,851.72
Bill Pmt -Check   05/19/2020 Debit        MEDCOM                          invoice # 86057C                              Accounts Payable                               40.00     9,811.72
Deposit           05/19/2020                                              Deposit                                       Rosenthal ($1,000,000)           14,750.00              24,561.72
General Journal   05/19/2020 SQ_5/19                                                                                    -SPLIT-                           1,345.61              25,907.33
Bill Pmt -Check   05/19/2020 Wired        ROYAL WINDOWS INC               92676500                                      Accounts Payable                             6,832.75   19,074.58
Bill Pmt -Check   05/19/2020 DEBIT        RELIANT-DAL-Grand Prairie       8 174 424 - 5                                 Accounts Payable                             1,648.37   17,426.21
Bill Pmt -Check   05/19/2020 Debit        Labor Finders-DAL 21-5-2796     21-5-2796                                     Accounts Payable                              971.58    16,454.63
Check             05/19/2020 Debit        Lowes                           Replace stolen tools from Orlando             Shop Supplies and Small Tools                 522.32    15,932.31
Check             05/19/2020 Wire         Regions Bank                                                                  Bank & Credit Fees                             15.00    15,917.31
Check             05/19/2020 ATM          Regions Bank                                                                  Entertainment & Meals                         300.00    15,617.31
Bill Pmt -Check   05/19/2020              JEA-JAX ELEC                    QuickBooks generated zero amount transaction Accounts
                                                                                                                       for bill payment
                                                                                                                                   Payable
                                                                                                                                        stub                  0.00              15,617.31




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Bill Pmt -Check   05/19/2020 Debit     JEA-JAX ELEC                     2471455933                         Accounts Payable                              693.38    14,923.93
Bill Pmt -Check   05/20/2020 1013      Kathryn Blanchard                                                   Accounts Payable                              200.00    14,723.93
Bill Pmt -Check   05/20/2020 Debit     WORLDWIDE EXPRESS (new)                                             Accounts Payable                             1,861.68   12,862.25
Check             05/20/2020 ACH       FL DEPT OF REVENUE               Withdrawal for Florida Sales Tax   Sales Tax Payable                           14,441.12    -1,578.87
Bill Pmt -Check   05/20/2020 Wired     ROYAL WINDOWS INC                92676500                           Accounts Payable                             8,569.95   -10,148.82
Deposit           05/20/2020                                            Deposit                            Rosenthal ($1,000,000)          11,250.00                1,101.18
Check             05/20/2020 DEBIT     Straightalk Phones                                                  Telephone-Cellular - Office                    47.92     1,053.26
Check             05/20/2020 Wire      Regions Bank                                                        Bank & Credit Fees                             15.00     1,038.26
General Journal   05/20/2020 SQ_5/20                                                                       -SPLIT-                           456.74                 1,495.00
Check             05/21/2020 DEBIT     Straightalk Phones                                                  Telephone-Cellular - Office                    49.04     1,445.96
General Journal   05/21/2020 SQ_5/20                                                                       -SPLIT-                           410.41                 1,856.37
Deposit           05/21/2020                                            Deposit                            Rosenthal ($1,000,000)          16,500.00               18,356.37
Deposit           05/21/2020                                            Deposit                            Due from DCI Partners           17,000.00               35,356.37
Deposit           05/21/2020                                            Deposit                            Due from DCI Partners            3,000.00               38,356.37
Check             05/21/2020 Wired     TriNet                                                              Accrued Payroll                             29,932.03    8,424.34
Check             05/21/2020 DC        Craigslist                                                          Recruiting                                     35.00     8,389.34
Check             05/21/2020 DC        Craigslist                                                          Recruiting                                     35.00     8,354.34
Check             05/21/2020 DC        Craigslist                                                          Recruiting                                     35.00     8,319.34
Check             05/21/2020 DEBIT     Straightalk Phones                                                  Telephone-Cellular - Office                    47.92     8,271.42
Bill Pmt -Check   05/21/2020 DEBIT     Republic Services #794(Dallas)   3-0794-0010843                     Accounts Payable                             1,366.61    6,904.81
Check             05/21/2020 Wire      Regions Bank                                                        Bank & Credit Fees                             15.00     6,889.81
Bill Pmt -Check   05/21/2020 Wire      ROYAL WINDOWS INC                92676500                           Accounts Payable                             5,119.18    1,770.63
Check             05/21/2020 Wire      Regions Bank                     VOID:                              Bank & Credit Fees                   0.00                1,770.63
Check             05/21/2020 DC        Zip Recruiter                                                       Recruiting                                    319.00     1,451.63
Check             05/21/2020 Debit     AMAZON                                                              Office Expense                                 73.22     1,378.41
Bill Pmt -Check   05/22/2020 Debit     City of Raleigh                  5675733462                         Accounts Payable                               42.37     1,336.04
Check             05/22/2020 Debit     Republic Services (Jax)          May 2020                           Trash                                          88.46     1,247.58
Deposit           05/22/2020                                            Deposit                            Rosenthal ($1,000,000)          20,500.00               21,747.58
Check             05/22/2020 VENMO     VENMO                            Team building                      Entertainment & Meals                         500.00    21,247.58
Check             05/22/2020 DEBIT     TECH CHECKS                      Checks for the Regions account     Office Expense                                 89.85    21,157.73
Check             05/22/2020 DEBIT     Straightalk Phones                                                  Telephone-Cellular - Office                    47.92    21,109.81
Check             05/22/2020 DEBIT     Straightalk Phones                                                  Telephone-Cellular - Office                    47.92    21,061.89
General Journal   05/22/2020 SQ_5/22                                                                       -SPLIT-                           563.42                21,625.31
Bill Pmt -Check   05/22/2020 Debit     Enterprise-new vans              432799                             Accounts Payable                             3,913.59   17,711.72
Check             05/22/2020 DEBIT     TECH CHECKS                      Checks for the Regions account     Office Expense                                 28.90    17,682.82
Check             05/22/2020 DEBIT     AT&T - Jax HQ - 343              March & April                      Telephone & Internet - Office                 505.93    17,176.89
Check             05/22/2020 Wire      Regions Bank                                                        Bank & Credit Fees                             15.00    17,161.89
Bill Pmt -Check   05/25/2020 Wired     ROYAL WINDOWS INC                92676500                           Accounts Payable                             6,002.55   11,159.34
Bill Pmt -Check   05/26/2020 Debit     WORLDWIDE EXPRESS (new)                                             Accounts Payable                              673.52    10,485.82
Bill Pmt -Check   05/26/2020 Wired     ROYAL WINDOWS INC                92676500                           Accounts Payable                             9,562.94      922.88
Check             05/26/2020 Wire      Regions Bank                                                        Bank & Credit Fees                             15.00       907.88




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                                                                                  As of June 22, 2020

Bill Pmt -Check   05/26/2020 DEBIT     First Insurance Funding 8277       900-91178277                                  Accounts Payable                               7,458.66    -6,550.78
Check             05/26/2020 Debit     Spectrum Business-Tampa (7601)     79537601                                      Telephone & Internet - Office                    96.98     -6,647.76
Check             05/26/2020 DEBIT     Straightalk Phones                                                               Telephone-Cellular - Office                      47.92     -6,695.68
Check             05/26/2020 DEBIT     Straightalk Phones                                                               Telephone-Cellular - Office                      47.92     -6,743.60
Check             05/26/2020 DEBIT     Straightalk Phones                                                               Telephone-Cellular - Office                      47.92     -6,791.52
Deposit           05/26/2020                                              Deposit                                       Rosenthal ($1,000,000)           15,750.00                  8,958.48
Bill Pmt -Check   05/26/2020 Debit     WORLDWIDE EXPRESS (new)                                                          Accounts Payable                               2,548.68     6,409.80
General Journal   05/26/2020 SQ_5/26                                                                                    -SPLIT-                            658.99                   7,068.79
Bill Pmt -Check   05/27/2020 DEBIT     Waste Connections - Tampa          0078-103414                                   Accounts Payable                                223.00      6,845.79
Bill Pmt -Check   05/27/2020 DEBIT     Ricoh - Rent                       1590041-3625516                               Accounts Payable                                283.44      6,562.35
Bill Pmt -Check   05/27/2020 Debit     FED EX* ( acct 3032-9327-2)        3032-9327-2                                   Accounts Payable                                189.26      6,373.09
Bill Pmt -Check   05/27/2020           FED EX* ( acct 3032-9327-2)        QuickBooks generated zero amount transaction Accounts
                                                                                                                       for bill payment
                                                                                                                                   Payable
                                                                                                                                        stub                  0.00                  6,373.09
Bill Pmt -Check   05/27/2020 DEBIT     W.B. MASON                                                                       Accounts Payable                               1,110.59     5,262.50
Check             05/27/2020 DEBIT     HOME DEPOT                         Ladder and Blade                              Installation Supplies                            40.42      5,222.08
Bill Pmt -Check   05/27/2020 1015      Kathryn Blanchard                                                                Accounts Payable                                200.00      5,022.08
Deposit           05/27/2020                                              Deposit                                       SBA EIDL Loan                   149,900.00                154,922.08
Deposit           05/27/2020                                              Deposit                                       SBA EIDL Loan                    10,000.00                164,922.08
Deposit           05/27/2020                                              Deposit                                       Rosenthal ($1,000,000)            9,200.00                174,122.08
Deposit           05/27/2020                                              Deposit                                       Due from DCI Partners                        160,000.00    14,122.08
General Journal   05/27/2020 SQ_5/27                                                                                    -SPLIT-                           2,112.94                 16,235.02
Check             05/27/2020 DC        ONLINE LABELS                      Labels for Bill                               Shop Supplies and Small Tools                   360.61     15,874.41
Check             05/27/2020 EFT       National Indemnity Company/GEICO   March and April Texas Auto Insurance          Insurance                                      3,037.12    12,837.29
Bill Pmt -Check   05/27/2020 DEBIT     ROYAL WINDOWS INC                  92676500                                      Accounts Payable                               6,460.44     6,376.85
Check             05/27/2020 Wire      Regions Bank                                                                     Bank & Credit Fees                               15.00      6,361.85
Bill Pmt -Check   05/28/2020 Wired     ROYAL WINDOWS INC                  92676500                                      Accounts Payable                               6,178.56      183.29
Bill Pmt -Check   05/28/2020 Debit     WORLDWIDE EXPRESS (new)                                                          Accounts Payable                               2,026.73    -1,843.44
Check             05/28/2020 Wire      Regions Bank                                                                     Bank & Credit Fees                               15.00     -1,858.44
Check             05/28/2020 Wired     TriNet                                                                           Accrued Payroll                               28,425.12   -30,283.56
Deposit           05/28/2020                                              Deposit                                       Rosenthal ($1,000,000)            7,100.00                -23,183.56
Deposit           05/28/2020                                              Deposit                                       Due from DCI Partners            28,000.00                  4,816.44
Check             05/28/2020 Debit     Costco.com                         Warehouse supplies-Plates,Utensil             Office Expense                                   90.65      4,725.79
General Journal   05/28/2020 SQ_5/28                                                                                    -SPLIT-                            738.76                   5,464.55
Check             05/29/2020 Debit     AMAZON                             Annual Membership                             Dues & Subscriptions                            119.95      5,344.60
Bill Pmt -Check   05/29/2020 1100      Wyoming Properties LLC             April 2020                                    Accounts Payable                               2,317.50     3,027.10
Bill Pmt -Check   05/29/2020 Debit     Wex Bank (Fleet Fuel)***           0496-00-556698-9                              Accounts Payable                               1,500.00     1,527.10
Bill Pmt -Check   05/29/2020 Wired     ROYAL WINDOWS INC                  92676500                                      Accounts Payable                               8,916.87    -7,389.77
Bill Pmt -Check   05/29/2020 Debit     WORLDWIDE EXPRESS (new)                                                          Accounts Payable                                744.61     -8,134.38
Deposit           05/29/2020                                              Deposit                                       Rosenthal ($1,000,000)            5,000.00                 -3,134.38
Deposit           05/29/2020                                              Deposit                                       Due from DCI Partners             4,500.00                  1,365.62
Check             05/29/2020 Wire      Regions Bank                                                                     Bank & Credit Fees                               15.00      1,350.62
Check             05/29/2020 Wire      Regions Bank                       VOID:                                         Bank & Credit Fees                    0.00                  1,350.62




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Bill Pmt -Check   05/29/2020 Debit      The Griggs Group/Pivot CPA'S        713789- 2017 Tax Preparation   Accounts Payable                               500.00       850.62
Bill Pmt -Check   05/30/2020 DEBIT      Spectrum- Orlando                   0050207695-02                  Accounts Payable                               253.94       596.68
Bill Pmt -Check   05/31/2020 Debit      Penske Rentals                                                     Accounts Payable                               210.61       386.07
Bill Pmt -Check   05/31/2020 Debit      Duke Energy-Raleigh 5126            2908645126                     Accounts Payable                                98.57       287.50
Bill Pmt -Check   05/31/2020 DEBIT      Duke Energy - Orlando 6511          6023216511                     Accounts Payable                               120.80       166.70
Bill Pmt -Check   05/31/2020 Debit      City of Grand Prairie               245534-053585                  Accounts Payable                               490.83      -324.13
Bill Pmt -Check   06/01/2020 1101       Kirkland/Lampe Management-Raleigh   Unit 317103                    Accounts Payable                              6,774.00    -7,098.13
Check             06/01/2020 Cashiers   Thames, Markey and Heekin                                          Prepaid Expenses                             20,000.00   -27,098.13
Check             06/01/2020 DEBIT      Straightalk Phones                                                 Telephone-Cellular - Office                     47.92    -27,146.05
Check             06/01/2020 DEBIT      Straightalk Phones                                                 Telephone-Cellular - Office                     47.92    -27,193.97
Check             06/01/2020 DEBIT      Straightalk Phones                                                 Telephone-Cellular - Office                     47.92    -27,241.89
Check             06/01/2020 DEBIT      Straightalk Phones                                                 Telephone-Cellular - Office                     47.92    -27,289.81
Check             06/01/2020 DEBIT      Straightalk Phones                                                 Telephone-Cellular - Office                     47.92    -27,337.73
Check             06/01/2020 DEBIT      Straightalk Phones                                                 Telephone-Cellular - Office                     47.92    -27,385.65
Bill Pmt -Check   06/01/2020 Debit      RELIANT-AUS-0117                    71019011-7                     Accounts Payable                               146.68    -27,532.33
Check             06/01/2020 Debit      Dan's Seafood                                                      EE Meals - 100% deduct                          41.41    -27,573.74
Check             06/01/2020 Debit      SIGMA SUPPLY                                                       Shop Supplies and Small Tools                   85.00    -27,658.74
Check             06/01/2020 DC         Office Depot                                                       Office Expense                                  64.31    -27,723.05
Bill Pmt -Check   06/01/2020 Wired      Enterprise-new vans                 432799                         Accounts Payable                              3,913.59   -31,636.64
Deposit           06/01/2020                                                Deposit                        Due from DCI Partners            20,000.00               -11,636.64
Deposit           06/01/2020                                                Deposit                        Due from DCI Partners             7,000.00                -4,636.64
Check             06/01/2020 Debit      InTouch GPS                                                        Vehicle Tracking - Installers                  460.00     -5,096.64
Check             06/01/2020 Debit      UNITED AIRLINES                     Mo to Tampa to pick up van.    air fare                                       448.60     -5,545.24
General Journal   06/01/2020 SQ_6/1                                                                        -SPLIT-                            330.79                 -5,214.45
Check             06/01/2020 DEBIT      Straightalk Phones                                                 Telephone-Cellular - Office                     47.92     -5,262.37
Bill Pmt -Check   06/01/2020 Debit      WORLDWIDE EXPRESS (new)                                            Accounts Payable                              1,885.62    -7,147.99
Bill Pmt -Check   06/02/2020 Debit      MEDCOM                                                             Accounts Payable                                40.00     -7,187.99
Bill Pmt -Check   06/02/2020 Debit      MEDCOM                                                             Accounts Payable                                40.00     -7,227.99
Bill Pmt -Check   06/02/2020 Debit      NC Dumpster, LLC                                                   Accounts Payable                               250.00     -7,477.99
Bill Pmt -Check   06/02/2020 Debit      ROYAL WINDOWS INC                   92676500                       Accounts Payable                              9,030.26   -16,508.25
Bill Pmt -Check   06/02/2020 Debit      WORLDWIDE EXPRESS (new)                                            Accounts Payable                              1,678.05   -18,186.30
Check             06/02/2020 Wired      CUSTOM BLINDS AND COMPONENTS        OA-256317                      Vertical Stock                                8,232.05   -26,418.35
Check             06/02/2020 Wire       Regions Bank                                                       Bank & Credit Fees                              15.00    -26,433.35
Check             06/02/2020 DC         WALGREENS                                                          Travel                                          36.00    -26,469.35
Check             06/02/2020 DC         Microsoft online                                                   Computer Repair/Maint/Supplies                  25.00    -26,494.35
Check             06/02/2020 DC         Construction Norcross                                              Sales Expense                                  285.33    -26,779.68
Deposit           06/02/2020                                                Deposit                        Rosenthal ($1,000,000)           33,000.00                6,220.32
Check             06/02/2020 EFT        INTUITIVE WEBSITES                                                 -SPLIT-                                        125.00     6,095.32
Check             06/02/2020 Debit      Lowes                                                              Shop Supplies and Small Tools                  169.34     5,925.98
General Journal   06/02/2020 SQ_6/2                                                                        -SPLIT-                            690.05                 6,616.03
Bill Pmt -Check   06/03/2020 1016       Kathryn Blanchard                                                  Accounts Payable                               200.00     6,416.03




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Check             06/03/2020 DC       PUBLIX                                                                     EE Meals - 100% deduct                         94.19     6,321.84
Bill Pmt -Check   06/03/2020 1102     Guardian Insurance                                                         Accounts Payable                              754.33     5,567.51
Deposit           06/03/2020                                       Deposit                                       Rosenthal ($1,000,000)          11,200.00               16,767.51
Bill Pmt -Check   06/03/2020 Wired    ROYAL WINDOWS INC            92676500                                      Accounts Payable                             7,262.93    9,504.58
Bill Pmt -Check   06/03/2020 Debit    Comcast- Belfort 9698                                                      Accounts Payable                              252.18     9,252.40
Bill Pmt -Check   06/03/2020 Debit    HYPHEN SOLUTIONS             1057344                                       Accounts Payable                             1,080.00    8,172.40
Check             06/03/2020 Debit    Candlewood Suites            Jerry Jax                                     hotel                                          89.27     8,083.13
Check             06/03/2020 ACH      Sunpass Operations                                                         Tolls                                         200.00     7,883.13
Bill Pmt -Check   06/03/2020 Debit    Auto-Owners Insurance        018009057                                     Accounts Payable                              112.68     7,770.45
Check             06/03/2020 Wire     Regions Bank                                                               Bank & Credit Fees                             15.00     7,755.45
Bill Pmt -Check   06/03/2020 Debit    The Scarlett Group LLC                                                     Accounts Payable                             6,700.01    1,055.44
Bill Pmt -Check   06/04/2020          ROYAL WINDOWS INC            QuickBooks generated zero amount transaction Accounts
                                                                                                                for bill payment
                                                                                                                            Payable
                                                                                                                                 stub                 0.00                1,055.44
Bill Pmt -Check   06/04/2020          ROYAL WINDOWS INC            QuickBooks generated zero amount transaction Accounts
                                                                                                                for bill payment
                                                                                                                            Payable
                                                                                                                                 stub                 0.00                1,055.44
Bill Pmt -Check   06/04/2020          ROYAL WINDOWS INC            QuickBooks generated zero amount transaction Accounts
                                                                                                                for bill payment
                                                                                                                            Payable
                                                                                                                                 stub                 0.00                1,055.44
Deposit           06/04/2020                                       Deposit                                       Rosenthal ($1,000,000)          23,000.00               24,055.44
Deposit           06/04/2020                                       Deposit                                       Due from DCI Partners           15,000.00               39,055.44
General Journal   06/04/2020 SQ_6/3                                                                              -SPLIT-                          1,829.68               40,885.12
General Journal   06/04/2020 SQ_6/4                                                                              -SPLIT-                          1,480.17               42,365.29
Bill Pmt -Check   06/04/2020 Wired    ROYAL WINDOWS INC            92676500                                      Accounts Payable                             2,630.05   39,735.24
Check             06/04/2020 Wired    TriNet                                                                     Accrued Payroll                             28,971.34   10,763.90
Check             06/04/2020 Wired    WILLIAM STEPP-EMPLOYEE                                                     -SPLIT-                                       513.89    10,250.01
Bill Pmt -Check   06/04/2020 Debit    WEX-Enterprise               0463-00-903879-5                              Accounts Payable                             2,000.00    8,250.01
Check             06/04/2020 VENMO    VENMO                        Team building                                 Entertainment & Meals                         500.00     7,750.01
Check             06/04/2020 Debit    PRICELINE                                                                  hotel                                         129.96     7,620.05
Check             06/04/2020 Debit    Omni Hotel                   Randy Orlando                                 hotel                                         414.50     7,205.55
Check             06/04/2020 Debit    Omni Hotel                   Randy Orlando                                 hotel                                         185.50     7,020.05
Check             06/04/2020 Debit    SIGMA SUPPLY                                                               Shop Supplies and Small Tools                 185.94     6,834.11
Check             06/04/2020 DEBIT    Simple Sales Tracking                                                      Sales Expense                                 150.00     6,684.11
Bill Pmt -Check   06/04/2020 Debit    Spectrum-Dallas WHS (2429)   8260 13 023 2282429                           Accounts Payable                               97.60     6,586.51
Bill Pmt -Check   06/04/2020 Debit    WORLDWIDE EXPRESS (new)                                                    Accounts Payable                             3,998.40    2,588.11
Check             06/04/2020 Debit    HD SUPPLY                    Invoice 9182132497                            Builder Verticals COGS                        324.51     2,263.60
Bill Pmt -Check   06/05/2020 1106     Acorn Belfort Park LLC                                                     Accounts Payable                             5,022.51    -2,758.91
Bill Pmt -Check   06/05/2020 1107     T-Mobile Hotspot             967174446                                     Accounts Payable                               55.98     -2,814.89
Bill Pmt -Check   06/05/2020 1108     DFW Propane Exchange         002471                                        Accounts Payable                              231.60     -3,046.49
Bill Pmt -Check   06/05/2020 WIRED    ROYAL WINDOWS INC            92676500                                      Accounts Payable                             7,003.71   -10,050.20
Check             06/05/2020 Wired    Randy Levinson               92676500                                      -SPLIT-                                      2,088.66   -12,138.86
Bill Pmt -Check   06/05/2020          Coverwallet                  QuickBooks generated zero amount transaction Accounts
                                                                                                                for bill payment
                                                                                                                            Payable
                                                                                                                                 stub                 0.00               -12,138.86
Bill Pmt -Check   06/05/2020          Coverwallet                  QuickBooks generated zero amount transaction Accounts
                                                                                                                for bill payment
                                                                                                                            Payable
                                                                                                                                 stub                 0.00               -12,138.86
Check             06/05/2020 Debit    TGIF                                                                       EE Meals - 100% deduct                         69.65    -12,208.51
Bill Pmt -Check   06/05/2020 Debit    WORLDWIDE EXPRESS (new)                                                    Accounts Payable                             1,870.27   -14,078.78
Deposit           06/05/2020                                       Deposit                                       Rosenthal ($1,000,000)          18,500.00                4,421.22




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Check             06/05/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                             15.00     4,406.22
Bill Pmt -Check   06/08/2020 Debit     JEA-JAX ELEC                           2471455933                               Accounts Payable                              257.51     4,148.71
Check             06/08/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                             15.00     4,133.71
Bill Pmt -Check   06/08/2020 Debit     WORLDWIDE EXPRESS (new)                                                         Accounts Payable                             1,663.18    2,470.53
Bill Pmt -Check   06/08/2020 Wired     ROYAL WINDOWS INC                      92676500                                 Accounts Payable                             8,134.25    -5,663.72
Bill Pmt -Check   06/08/2020 Debit     Star2Star - FL 359462                  359462                                   Accounts Payable                              573.10     -6,236.82
Check             06/08/2020 Debit     AMAZON                                 INK- PAtty                               Dues & Subscriptions                           42.79     -6,279.61
Check             06/08/2020 Debit     HD SUPPLY                                                                       Builder Verticals COGS                        324.51     -6,604.12
Check             06/08/2020 Wired     TriNet                                 PTO Pay out for Prestons's tremination   Accrued Payroll                               250.29     -6,854.41
Bill Pmt -Check   06/09/2020 Debit     FED EX* ( acct 3032-9327-2)            3032-9327-2                              Accounts Payable                              212.02     -7,066.43
Bill Pmt -Check   06/09/2020 DEBIT     FIRST ADVANTAGE BACKGROUND SCREENING
                                                                         936917
                                                                            SERV                                       Accounts Payable                              150.85     -7,217.28
Bill Pmt -Check   06/09/2020 1115      Kathryn Blanchard                                                               Accounts Payable                              200.00     -7,417.28
Bill Pmt -Check   06/09/2020 DEBIT     WORLDWIDE EXPRESS (new)                                                         Accounts Payable                             1,152.24    -8,569.52
Bill Pmt -Check   06/09/2020 Wired     ROYAL WINDOWS INC                      92676500                                 Accounts Payable                             7,451.56   -16,021.08
Check             06/09/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                             15.00    -16,036.08
Check             06/09/2020 Wire      Regions Bank                           Analysis Charge                          Bank & Credit Fees                            495.00    -16,531.08
Check             06/09/2020 CHECK 0   FL DEPT OF REVENUE                     3-0794-0010843                           Sales Tax Payable                            5,000.00   -21,531.08
Deposit           06/09/2020                                                  Deposit                                  Rosenthal ($1,000,000)          15,900.00                -5,631.08
General Journal   06/09/2020 SQ_6/9                                                                                    -SPLIT-                          1,385.68                -4,245.40
Deposit           06/10/2020                                                  Deposit                                  Rosenthal ($1,000,000)          10,375.00                6,129.60
Check             06/10/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                             15.00     6,114.60
Check             06/10/2020 Debit     SIGMA SUPPLY                                                                    Shop Supplies and Small Tools                 159.38     5,955.22
Bill Pmt -Check   06/10/2020 DEBIT     NOVATECH                               206575                                   Accounts Payable                               11.89     5,943.33
Bill Pmt -Check   06/10/2020 DEBIT     WORLDWIDE EXPRESS (new)                                                         Accounts Payable                              729.72     5,213.61
Bill Pmt -Check   06/10/2020 Wired     ROYAL WINDOWS INC                      92676500                                 Accounts Payable                            10,633.81    -5,420.20
Bill Pmt -Check   06/10/2020 Debit     Teco-Tampa New account                 221007629266                             Accounts Payable                              125.75     -5,545.95
Check             06/10/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                             36.00     -5,581.95
Check             06/10/2020 Wire      Regions Bank                                                                    Bank & Credit Fees                             15.00     -5,596.95
Bill Pmt -Check   06/10/2020 Wired     MLG/PF Breckenridge Investment LLC                                              Accounts Payable                             7,500.00   -13,096.95
Check             06/10/2020 Wired     Texas Comptroller of Public Accounts   1-XX-XXXXXXX-0                           Sales Tax Payable                            6,718.66   -19,815.61
Deposit           06/10/2020                                                  Deposit                                  Due from DCI Partners            5,000.00               -14,815.61
Deposit           06/10/2020                                                  Deposit                                  Due from DCI Partners            7,100.00                -7,715.61
General Journal   06/10/2020 SQ_6/10                                                                                   -SPLIT-                           288.54                 -7,427.07
Check             06/10/2020 Wired     Construction Contracting Services                                               Consulting and Service                       1,738.81    -9,165.88
Deposit           06/11/2020                                                  Deposit                                  Rosenthal ($1,000,000)           8,500.00                 -665.88
Bill Pmt -Check   06/11/2020 Wired     ROYAL WINDOWS INC                      92676500                                 Accounts Payable                             5,476.26    -6,142.14
General Journal   06/11/2020 SQ_6/11                                                                                   -SPLIT-                          1,923.67                -4,218.47
Deposit           06/11/2020                                                  Deposit                                  Due from DCI Partners           16,000.00               11,781.53
Deposit           06/11/2020                                                  Deposit                                  Rosenthal ($1,000,000)          20,750.00               32,531.53
Check             06/11/2020 Wired     TriNet                                                                          Accrued Payroll                             29,064.85    3,466.68
Bill Pmt -Check   06/11/2020 Debit     American Bolt and Screw                                                         Accounts Payable                              306.90     3,159.78




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Accrual Basis                                                           General Ledger
                                                                          As of June 22, 2020

Check             06/11/2020 Debit     AMAZON                      Gloves                                          Office Expense                                  18.93     3,140.85
Check             06/11/2020 Debit     AMAZON                      Gloves                                          Office Expense                                  17.49     3,123.36
Check             06/11/2020 Wire      Regions Bank                                                                Bank & Credit Fees                              15.00     3,108.36
Check             06/12/2020 Wire      Regions Bank                                                                Bank & Credit Fees                              15.00     3,093.36
Check             06/12/2020 DEBIT     EZ Hinge Corporation                                                        Installation Supplies                          712.74     2,380.62
Check             06/12/2020 Debit     AMAZON                      Gloves                                          Office Expense                                  17.49     2,363.13
Check             06/12/2020 Debit     AMAZON                      Gloves                                          Office Expense                                  18.67     2,344.46
Bill Pmt -Check   06/12/2020 Wired     ROYAL WINDOWS INC           92676500                                        Accounts Payable                              7,135.97   -4,791.51
Check             06/12/2020 Debit     PRICELINE                   Jerry Orlando                                   hotel                                           70.97    -4,862.48
General Journal   06/12/2020 SQ_6/12                                                                               -SPLIT-                            1,804.57              -3,057.91
Deposit           06/12/2020                                       Deposit                                         Rosenthal ($1,000,000)             8,600.00               5,542.09
Check             06/12/2020 DEBIT     Straightalk Phones                                                          Telephone-Cellular - Office                     47.92     5,494.17
Check             06/12/2020 DEBIT     Straightalk Phones                                                          Telephone-Cellular - Office                     47.92     5,446.25
Check             06/12/2020 DEBIT     Straightalk Phones                                                          Telephone-Cellular - Office                     47.92     5,398.33
Check             06/12/2020 DEBIT     Straightalk Phones                                                          Telephone-Cellular - Office                     47.92     5,350.41
Check             06/13/2020 Wire      Regions Bank                                                                Bank & Credit Fees                              15.00     5,335.41
Bill Pmt -Check   06/15/2020 WIRED     ROYAL WINDOWS INC           92676500                                        Accounts Payable                              6,735.52   -1,400.11
Bill Pmt -Check   06/15/2020 DEBIT     WORLDWIDE EXPRESS (new)                                                     Accounts Payable                              1,630.97   -3,031.08
Bill Pmt -Check   06/15/2020 DEBIT     WORLDWIDE EXPRESS (new)                                                     Accounts Payable                              1,158.58   -4,189.66
Bill Pmt -Check   06/15/2020 DEBIT     Wex Bank (Fleet Fuel)***    0496-00-556698-9                                Accounts Payable                              2,000.00   -6,189.66
Check             06/15/2020 DEBIT     Straightalk Phones          Two new phones for Orlando                      Telephone-Cellular - Office                    224.99    -6,414.65
Deposit           06/15/2020                                       Deposit                                         Rosenthal ($1,000,000)            12,250.00               5,835.35
Check             06/15/2020 Debit     AMAZON                      INK                                             Office Expense                                  48.68     5,786.67
Check             06/15/2020 ACH       EDGE OF ARLINGTON                                                           Maintenance & Repairs Equipment                654.24     5,132.43
Check             06/15/2020 DC        ONLINE LABELS               Labels for Bill                                 Shop Supplies and Small Tools                  318.92     4,813.51
Check             06/15/2020 Debit     Slidebooks                                                                  Consulting and Service                         499.00     4,314.51
Check             06/15/2020 EFT       Regions Bank                Internation Services                            Bank & Credit Fees                              14.97     4,299.54
General Journal   06/15/2020 SQ_6/15                                                                               -SPLIT-                            1,005.03               5,304.57
Bill Pmt -Check   06/16/2020 1116      Kathryn Blanchard                                                           Accounts Payable                               200.00     5,104.57
Bill Pmt -Check   06/16/2020           EDGE OF ARLINGTON           QuickBooks generated zero amount transaction Accounts
                                                                                                                for bill payment
                                                                                                                            Payable
                                                                                                                                 stub                     0.00               5,104.57
Deposit           06/16/2020                                       Deposit                                         Rosenthal ($1,000,000)             9,000.00              14,104.57
Check             06/16/2020 DEBIT     Straightalk Phones                                                          Telephone-Cellular - Office                     47.92    14,056.65
Check             06/16/2020 DEBIT     Straightalk Phones                                                          Telephone-Cellular - Office                     47.92    14,008.73
Check             06/16/2020 Wire      Regions Bank                                                                Bank & Credit Fees                              15.00    13,993.73
Check             06/16/2020 Wired     TriNet                      Travis Langford reissue ck via direct deposit   Accrued Payroll                                503.03    13,490.70
Bill Pmt -Check   06/16/2020 Wired     ROYAL WINDOWS INC           92676500                                        Accounts Payable                              5,707.47    7,783.23
General Journal   06/16/2020 SQ_6/16                                                                               -SPLIT-                             966.58                8,749.81
Bill Pmt -Check   06/17/2020 Wired     ROYAL WINDOWS INC           92676500                                        Accounts Payable                              6,549.28    2,200.53
Bill Pmt -Check   06/17/2020 Debit     WORLDWIDE EXPRESS (new)                                                     Accounts Payable                              1,630.92      569.61
Bill Pmt -Check   06/17/2020 DEBIT     Ricoh - Rent                1590041-3625516                                 Accounts Payable                               173.10       396.51
Bill Pmt -Check   06/17/2020 Debit     RELIANT-DAL-Grand Prairie   8 174 424 - 5                                   Accounts Payable                              1,850.62   -1,454.11




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Accrual Basis                                                           General Ledger
                                                                                 As of June 22, 2020

Bill Pmt -Check   06/17/2020           UnitedHealtcare                    QuickBooks generated zero amount transaction Accounts
                                                                                                                       for bill payment
                                                                                                                                   Payable
                                                                                                                                        stub                    0.00                   -1,454.11
Bill Pmt -Check   06/17/2020 Debit     FED EX* ( acct 3032-9327-2)        3032-9327-2                                   Accounts Payable                                    115.72     -1,569.83
Bill Pmt -Check   06/17/2020 Debit     W.B. MASON                         $73.48 $30 CREDIT                             Accounts Payable                                     43.48     -1,613.31
Deposit           06/17/2020                                              Deposit                                       Rosenthal ($1,000,000)            15,800.00                   14,186.69
Check             06/17/2020 Wire      Regions Bank                                                                     Bank & Credit Fees                                   15.00    14,171.69
Check             06/17/2020 Wired     TriNet                             Jason reissue ck via direct deposit           Accrued Payroll                                     535.57    13,636.12
Check             06/17/2020 Debit     SIGMA SUPPLY                                                                     Shop Supplies and Small Tools                       276.25    13,359.87
Check             06/17/2020 EFT       National Indemnity Company/GEICO   May Texas Auto Insurance                      Insurance                                           764.86    12,595.01
General Journal   06/17/2020 SQ_6/17                                                                                    -SPLIT-                             3,479.15                  16,074.16
Bill Pmt -Check   06/18/2020 Wired     Enterprise-new vans                432799                                        Accounts Payable                                   6,948.51    9,125.65
Bill Pmt -Check   06/18/2020           UHC Allsavers                      QuickBooks generated zero amount transaction Accounts
                                                                                                                       for bill payment
                                                                                                                                   Payable
                                                                                                                                        stub                    0.00                   9,125.65
Deposit           06/18/2020                                              Deposit                                       Rosenthal ($1,000,000)            17,500.00                   26,625.65
Check             06/18/2020 Wired     WILLIAM STEPP-EMPLOYEE                                                           -SPLIT-                                             513.29    26,112.36
Check             06/18/2020 Wired     TriNet                                                                           Accrued Payroll                                  28,952.86     -2,840.50
Check             06/18/2020 Wire      Regions Bank                                                                     Bank & Credit Fees                                   15.00     -2,855.50
Check             06/18/2020 ACH       FL DEPT OF REVENUE                 Withdrawal for Florida Sales Tax              Sales Tax Payable                                  7,258.26   -10,113.76
Check             06/19/2020 Wire      Regions Bank                                                                     Bank & Credit Fees                                   15.00    -10,128.76
Deposit           06/19/2020                                              Deposit                                       Rosenthal ($1,000,000)              9,600.00                    -528.76
Check             06/19/2020 ACH       Sunpass Operations                                                               Tolls                                                  1.93     -530.69
Check             06/19/2020 DEBIT     Straightalk Phones                                                               Telephone-Cellular - Office                          47.92      -578.61
Check             06/19/2020 DEBIT     Straightalk Phones                                                               Telephone-Cellular - Office                          47.92      -626.53
Bill Pmt -Check   06/19/2020 Wired     ROYAL WINDOWS INC                  92676500                                      Accounts Payable                                   6,829.77    -7,456.30
Deposit           06/22/2020                                              Deposit                                       Due from DCI Partners             15,000.00                    7,543.70
Bill Pmt -Check   06/22/2020 WIRED     ROYAL WINDOWS INC                  92676500                                      Accounts Payable                                 10,369.09     -2,825.39
Bill Pmt -Check   06/22/2020 Wired     ROYAL WINDOWS INC                  92676500                                      Accounts Payable                                    571.43     -3,396.82
Bill Pmt -Check   06/22/2020 Debit     WORLDWIDE EXPRESS (new)                                                          Accounts Payable                                   2,319.19    -5,716.01
                                                                                                                                                        1,971,417.84   1,977,133.85    -5,716.01




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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      CBB Acquisition Company, LLC                                                                              Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 DCI Investment Partners, LLC                                                                                                    100% ownership interest
 152B The Greens Way
 Jacksonville Beach, FL 32250


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date June 24, 2020                                                          Signature /s/ Randolph M. Levinson
                                                                                            Randolph M. Levinson

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      CBB Acquisition Company, LLC                                                                Case No.
                                                                                 Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CBB Acquisition Company, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 DCI Investment Partners, LLC
 152B The Greens Way
 Jacksonville Beach, FL 32250




 None [Check if applicable]




 June 24, 2020                                                       /s/ Richard R. Thames
 Date                                                                Richard R. Thames
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for CBB Acquisition Company, LLC
                                                                     Thames Markey & Heekin, PA
                                                                     50 North Laura Street
                                                                     Suite 1600
                                                                     Jacksonville, FL 32202
                                                                     904-358-4000 Fax:904-358-4001
                                                                     abd@tmhlaw.net




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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      CBB Acquisition Company, LLC                                                             Case No.
                                                                                 Debtor(s)           Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       June 24, 2020                                            /s/ Randolph M. Levinson
                                                                      Randolph M. Levinson/Manager
                                                                      Signer/Title




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CBB Acquisition Company, LLC            Andrew J. Mongelluzzi, Esq.          Beaches Energy
7950 Belfort Pkwy., #1600               Clearwater Business Law, LLC         P.O. Box 51389
Jacksonville, FL 32256                  1799 N. Belcher Rd., #B              Jacksonville Beach, FL 32240
                                        Clearwater, FL 33765


Richard R. Thames                       Area Communication Company           Belfort 3 Partners, LLC
Thames Markey & Heekin, PA              P.O. Box 1300                        c/o NAI / Hallmark
50 North Laura Street                   Orange Park, FL 32067                6675 Corporate Center Pkwy., #100
Suite 1600                                                                   Jacksonville, FL 32216
Jacksonville, FL 32202

A Ventures, Inc.                        Arrow Personnel                      Ben J. Whitman, Esq.
P.O. Box 1379                           Bridgeport Capital, LLC              Clark, Fountain, La Vista, Prather
Palm City, FL 34991                     P.O. Box 101004                      1919 N. Flagler Dr., 2nd Fl.
                                        Atlanta, GA 30392-1004               West Palm Beach, FL 33407


Accounting Principals                   Astra Products                       Blinds, etc.
Dept. CH 14031                          7154 SR 88                           9559 Center Ave., #G
Palatine, IL 60055                      Ravenna, OH 44266                    Rancho Cucamonga, CA 91730



Advanced Propane, Inc.                  AT&T Dallas Whs - 1245               BM3
P.O. Box 507                            P.O. Box 0191168.79                  1165 S. Stemmons Frwy., #105
Hendersonville, TN 37077-0507           Carol Stream, IL 60197-5019          Lewisville, TX 75067



Allan M. Stein, Esq.                    Attorney General of the U.S.         Builders Blinds CA, LLC
Rosenfeld Stein Batta, P.A.             950 Pennsylvania Ave. NW
21490 W. Dixie Hwy.                     Washington, DC 20530
Aventura, FL 33180


Allegiance Staffing                     Ballantree Consulting                Builders Blinds, LLC
P.O. Box 4356, Dept. 1903               55 Sofia Dr.                         f/k/a NC Investment Partners, LLC
Houston, TX 77210-4356                  Blackwood, NJ 08012



Altman & Company, LLC                   Barker Cypress 5.5 Ltd.              C. Hugh Blanton, Jr., Esq.
258 Main St., #205                      233 Hull Ln.                         Kosto & Rotella, P.A.
Milford, MA 01757                       Sugar Land, TX 77498                 301 W. Bay St., #1410
                                                                             Jacksonville, FL 32202


Anago of Jacksonville                   Baseline                             C. Hugh Blanton, Jr., Esq.
7563 Philips Hwy.                       1955 Cotswold Dr., #A                Kosto & Rotella, P.A.
Bldg. 300, #301                         Orlando, FL 32825                    P.O. Box 4759
Jacksonville, FL 32256                                                       Jacksonville, FL 32201
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CalAtlantic Group, Inc. Las Vegas     Crowell Moring                       Elegant Windows / STA Internation
9275 W. Russell Rd., #240             P.O. Box 75509                       225 Broadhollow Rd., #150
Las Vegas, NV 89148                   Baltimore, MD 21275-5509             Melville, NY 11747-4822



Career Employment Professionals       CSC - 8190528                        Enterprise FM Trust
 d/b/a Trace Staffing Solutions       P.O. Box 13397                       Enterprise Fleet Management
1010 E. Adams St., #220               Philadelphia, PA 19101-3397          P.O. Box 8000089
Jacksonville, FL 32202                                                     Kansas City, MO 64180-0089


City of Grand Prairie                 CSC - Corporation Service Company    FedEx
317 W. College St.                    P.O. Box 13397                       P.O. Box 660481
Grand Prairie, TX 75050               Philadelphia, PA 19101-3397          Dallas, TX 75266-0481



City of North Las Vegas               CT Corporation                       FedEx Freight
Utilities Department                  P.O. Box 4349                        Dept. CH
P.O. Box 360118                       Carol Stream, IL 60197-4349          P.O. Box 10306
North Las Vegas, NV 89036-0118                                             Palatine, IL 60055-0306


Colfin-Cobalt I-II Owner, LLC         Custom Blinds and Components         First Advantage Background
7575 Dr. Phillips Blvd., #130         12330 Colony Ave.                     Screening Services
Orlando, FL 32819                     Chino, CA 91710                      P.O. Box 403532
                                                                           Atlanta, GA 30384


Colony Capital                        Dallas County Tax Office             First Coast Business Machines
7575 Dr. Phillips Blvd., #130         John R. Ames, CTA                    370 Park St.
Orlando, FL 32819                     P.O. Box 139066                      Jacksonville, FL 32204
                                      Dallas, TX 75313-9066


Concrete Pay Services, LLC            DCI Investment Partners, LLC         First Insurance
P.O. Box 573                          152B The Greens Way                  P.O. Box 7000
Garner, NC 27529                      Jacksonville Beach, FL 32250         Carol Stream, IL 60197-7000



Constellation New Energy, Inc.        Duval County Tax Collector           First Insurance Funding
P.O. Box 5471                         231 E. Forsyth St.                   P.O. Box 7000
Carol Stream, IL 60197-5471           Jacksonville, FL 32202               Carol Stream, IL 60197-7000



Construction Contractor Services,     East Coast Builders                  FL Dept. of Revenue
1501 S. Belcher Rd., #B5              10413 Chablis Ln.                    5050 W. Tennessee St.
Largo, FL 33771                       Frisco, TX 75035                     Tallahassee, FL 32399
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FL Dept. of State                      Hillsborough County Tax Collector     Jackson Lewis, P.C.
Clifton Building                       P.O. Box 30012                        P.O. Box 416019
2661 Executive Center Dr.              Tampa, FL 33630-3012                  Boston, MA 02241-6019
Tallahassee, FL 32301


Galaxy Custom Home Brokers, Inc.       Hire Quest, LLC d/b/a Trojan Labor    Jim Overton, Duval County Tax C
15302 Baisley Blvd.                    P.O. Box 890714                       P.O. Box 44009
Jamaica, NY 11434                      Charlotte, NC 28289-0714              Jacksonville, FL 32231-4009



Glorian Maziarka, Esq.                 Home Builders Association of Ralei    Joel B. Blumberg, Esq.
1010 E. Adams St., #131                5580 Centerview Dr., #115             Joel B. Blumberg, P.A.
Jacksonville, FL 32202                 Raleigh, NC 27606                     200 Butler St., #307
                                                                             West Palm Beach, FL 33407-9036


Graystone Partners, LLC                Houston Shutters                      John Beck Insurance Agency, Inc.
Commercial Debt Recovery               Attn: Heather Poston                  8726 Atlantic Blvd.
5151 N. Oracle Rd., #209               7000 Grand Blvd.                      Jacksonville, FL 32211
Tucson, AZ 85704                       Houston, TX 77054


Guardian Insurance                     Inpro Corporation                     Joseph C. Crawford, Esq.
PNC Bank                               S80 W18766 Apollo Dr.                 Smith Gambrell & Russell, LLP
P.O. Box 677458                        Muskego, WI 53150                     50 N. Laura St., #2600
Dallas, TX 75267-7458                                                        Jacksonville, FL 32202


Hardy Properties at Intercontinent     Inrpo Corporation                     Kirkland / Lampe Management
Dept. 297                              P.O. Box 720                          Kirkland Road Industrial Park
P.O. Box 4346                          Muskego, WI 53150                     1517 Kirkland Rd.
Houston, TX 77210                                                            Raleigh, NC 27603


HBA of Raleigh - Wake County           Internal Revenue Service              L.C. Personnel, Inc. d/b/a
5580 Centerview Dr., #115              P.O. Box 7346                         Labor Finders (Dallas)
Raleigh, NC 27606                      Philadelphia, PA 19101-7346           P.O. Box 83353
                                                                             Richardson, TX 75083-3353


HCC Surety Group                       Ivey Self Storage, Inc.               Labor Finders
P.O. Box 4312                          P.O. Box 608                          LFI Fort Pierce, Inc.
Woodland Hills, CA 91365-4312          Smithfield, NC 27577                  1617 N. Federal Hwy.
                                                                             Lake Worth, FL 33460


Heather Gray                           J.B. Hunt Transport, Inc.             Labor Finders Las Vegas
1530 Cross Stone Ct.                   P.O. Box 847977                       2550 S. Rainbow Blvd.
Houston, TX 77089                      Dallas, TX 75284-7977                 Las Vegas, NV 89146
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Labor Finders Orlando                Lutron Electronics Company, Inc.         Northeast Florida Builders Assoc.
Robert Deck, Inc.                    P.O. Box 643782                          103 Century 21 Dr., #100
P.O. Box 560992                      Pittsburgh, PA 15264-3782                Jacksonville, FL 32216
Orlando, FL 32856


Labor Max Staffing                   Marc D. Chapman, Esq.                    Overhead Door Pros
P.O. Box 900                         Dean Mead                                2100 S. Great SW Pkwy., #305
971 Premier Dr.                      420 S. Orange Ave., #700                 Grand Prairie, TX 75051
Kearney, MO 64060                    Orlando, FL 32801


Landstar Global Logistics            MLG/PF Breckenridge Investment LLC       Pam Sibley
P.O. Box 784302                      c/o MLG/PF III Manager, LLC              12811 Pacifica Pl.
Philadelphia, PA 19178-4302          13400 Bishop's Ln., #270                 Tampa, FL 33625
                                     Brookfield, WI 53005


Landstar Ranger                      MLG/PF Breckenridge Investment, LL       Park 720 / Kirby Family Ltd.
P.O. Box 784293                      P.O. Box 775516                          1406 SE 46th Ln., #4
Philadelphia, PA 19178-4293          Chicago, IL 60677-5516                   Cape Coral, FL 33904



Landstar Ranger, Inc.                NC Dumpster, LLC                         Parth Capital Group, LLC
13410 Sutton Park Dr. S              P.O. Box 215                             c/o Longhorn Business Park/CSA M
Jacksonville, FL 32224               Holly Springs, NC 27540-1050             8305 Shoal Creek Blvd.
                                                                              Austin, TX 78757


Lawrence J. Roberts, Esq.            NEFBA                                    Penske Truck Leasing Co., L.P.
Lawrence J. Roberts & Associates,    6747 Southpoint Pkwy.                    P.O. Box 532658
249 Catalonia Ave.                   Jacksonville, FL 32216                   Atlanta, GA 30353-2658
Coral Gables, FL 33134


LFI Fort Pierce, Inc., d/b/a         Neighborhood Storage #1                  People Ready
Labor Finders Tampa                  310 NE 25th Ave.                         P.O. Box 74035
5501 W. Waters Ave., #407            Ocala, FL 34470                          Atlanta, GA 30374-0435
Tampa, FL 33634


Longhorn Business Park               North Carolina Dept. of Revenue          Phase II Products, Inc.
8305 Shoal Creek Blvd.               P.O. Box 25000                           501 W. Broadway, #2090
Austin, TX 78757                     Raleigh, NC 27640                        San Diego, CA 92101



Lotus & Windoware Inc.               North Texas Tolling Authority            Pivot CPAs, f/k/a The Griggs Grou
4444 S. Mendenhall Rd., #14          P.O. Box 660244                          238 Ponte Vedra Park Dr., #201
Memphis, TN 38141                    Dallas, TX 75266-0244                    Ponte Vedra Beach, FL 32082
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Pradera SFR, LLC                       Regions Bank                         Rosenthal & Rosenthal, Inc.
2115 Stephens Pl., #400                4422 Southside Blvd.                 1370 Broadway
New Braunfels, TX 78130                Jacksonville, FL 32216               New York, NY 10018



Pradera SFR, LLC                       Reliant                              Royal Windows, Inc.
AHV Communications                     P.O. Box 650475                      606 Fountain Pkwy.
18881 Von Karman Ave., #420            Dallas, TX 75265                     Grand Prairie, TX 75050
Irvine, CA 92612


Pure Health Solutions, Inc.            Republic Services                    Russell Byers
P.O. Box 644006                        P.O. Box 78829                       68 Forest Ave., #3
Cincinnati, OH 45264-4006              Phoenix, AZ 85062-8829               Locust Valley, NY 11560



R&L Carriers, Inc.                     Republic Waste Services              Saia Motor Freight Line, LLC
Credit & Collections                   Duncan Disposal #794                 P.O. Box 730532
Attn: Cherene                          P.O. Box 78829                       Dallas, TX 75373-0532
600 Gillam Rd.                         Phoenix, AZ 85062-8829
Wilmington, OH 45177

Randolph Levinson                      Richard Hochman                      Salvatore Zizza
7950 Belfort Pkwy., #1600              641 Lexington Ave., 17th Fl.         641 Lexington Ave., 17th Fl.
Jacksonville, FL 32256                 New York, NY 10022                   New York, NY 10022



Randstad Mail Code 5602                Richard P. Joblove, Esq.             Samco Enterprise
P.O. Box 105046                        12372 Southwest 82nd Ave.            1525-A The Greens Way
Atlanta, GA 30348-5046                 Miami, FL 33156                      Jacksonville Beach, FL 32250



Randstad North America, Inc.           Richard S. Loudermilk, Esq.          SignZoo
P.O. Box 742689                        Loudermilk Law Firm, P.A.            4139 N. Washington Blvd.
Atlanta, GA 30374-2689                 1800 Second St., #717                Sarasota, FL 34234
                                       Sarasota, FL 34236


Ravi Batta, Esq.                       Ricoh USA, Inc.                      Skillsoft
Rosenfeld Stein Batta, P.A.            P.O. Box 827577                      107 Northeastern Blvd.
21490 W. Dixie Hwy.                    Philadelphia, PA 19182-7577          Nashua, NH 03062
Aventura, FL 33180


Regal Temporary Services               Ricoh USA, Inc.                      SNI Companies
424 E. Lamar Blvd.                     70 Valley Stream Pkwy.               P.O. Box 840912
Arlington, TX 76011                    Malvern, PA 19355                    Dallas, TX 75284-0912
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SNI Companies Corp.                  Stewart Investments, LLC                U.S. Small Business Administration
5220 Belfort Rd.                     d/b/a Advanced Lakeside Storage         2120 Riverfront Dr., #100
Jacksonville, FL 32256               7790-B Hwy. 109N                        Little Rock, AR 72202
                                     Lebanon, TN 37090


Southeastern Freight Lines           Superior Solutions Staffing Servic      U.S. Small Business Administration
P.O. Box 100104                      P.O. Box 1577                           North Florida District Office
Columbia, SC 29202-3104              Gainesville, TX 76241-1577              7825 Baymeadows Way, #100-B
                                                                             Jacksonville, FL 32256


Southeastern Freight Lines, Inc.     Teco - Tampa Electric                   U.S. Small Business Administration
P.O. Box 1691                        P.O. Box 31318                          Attn: Lisa Still, Esq.
Lexington, SC 29073                  Tampa, FL 33631                         7825 Baymeadows Way, #100-B
                                                                             Jacksonville, FL 32256


Southeastern Logistics Solutions     Tennessee Dept. of Revenue              UHaul
1C Trotter Rd.                       500 Deaderick St.                       1900 S. Decatur Blvd.
West Columbia, SC 29169              Nashville, TN 37242                     Las Vegas, NV 89102



SouthWest Materials Handling Co.     Texas Comptroller of Public Accoun      UHC Allsavers
4719 Almond St.                      P.O. Box 149359                         3100 AMD Blvd.
Dallas, TX 75247-6499                Austin, TX 78714-9359                   P.O. Box 19032
                                                                             Green Bay, WI 54307-9032


Star2Star Communications - Dallas    The Scarlett Group, LLC                 Uline Shipping Supply
P.O. Box 97231                       1532 Kingsley Ave., #110                P.O. Box 88741
Las Vegas, NV 89193-7231             Orange Park, FL 32073                   Chicago, IL 60680-1741



Star2Star Communications - FL        Thermal Engineers, Inc.                 United Healthcare
P.O. Box 97231                       12489 San Jose Blvd., #1                Premium Billing
Las Vegas, NV 89193-7231             Jacksonville, FL 32223                  P.O. Box 94017
                                                                             Palatine, IL 60094-4017


State of Florida, Dept. of Revenue   TotalSource                             United HealthCare Services
Jacksonville Service Center          10407 Centurian Pkwy. N                 P.O. Box 88106
921 N. Davis St., #250A              Jacksonville, FL 32256                  Chicago, IL 60680-1106
Jacksonville, FL 32209-6825


Steven Tuttleman                     U.S. Small Business Administration      United States Attorneys' Office
145 Hudston St., #401                409 3rd St. SW, 2nd Fl.                 Middle District of Florida
New York, NY 10013                   Washington, DC 20024                    Attn: Civil Process Clerk
                                                                             300 N. Hogan St., #700
                                                                             Jacksonville, FL 32202
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UPS                                    XPO Logistics
P.O. Box 7247-0244                     Bethune & Associates
Philadelphia, PA 19171                 14435 N. 7th St., #201
                                       Phoenix, AZ 85022-4327


Verizon Wireless 09
P.O. Box 660108
Dallas, TX 75266-0108



Verizon Wireless 20
P.O. Box 660108
Dallas, TX 75266-0108



Wex Bank - Enterprise
P.O. Box 6293
Carol Stream, IL 60197-6293



Wex Bank - Fleet Fuel
P.O. Box 4337
Carol Stream, IL 60197-4337



Wolters Kluwer
11454 Woodviolet Dr.
Houston, TX 77089



World Bright International Limited
P.O. Box 315
Road Town
Tortola, British Virgin Island


Worldwide Express
P.O. Box 733360
Dallas, TX 75373



Wyoming Properties, LLC
P.O. Box 530104
Orlando, FL 32853
